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                                           #:389


    1     CLARK HILL PLC
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          San Diego, CA 92101
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    5

    6     Attorneys for Defendant 1 HOTEL WEST
          HOLLYWOOD, L.L.C.
    7

    8                             UNITED STATES DISTRICT COURT
    9                          CENTRAL DISTRICT OF CALIFORNIA
   10

   11
         SUNNY KHACHATRYAN, AN              Case No. 2:23-cv-10829
   12    INDIVIDUAL; TATEVIK
         KHACHATRYAN, AN INDIVIDUAL; DECLARATION OF MYRIAH V.
   13    B.A.J., A MINOR; AND I.M., A       JAWORSKI IN SUPPORT OF
         MINOR,                             DEFENDANT’S MOTION TO
   14                                       COMPEL PLAINTIFFS’
                                Plaintiffs, DISCOVERY RESPONSES AND
   15                                       THE DEPOSITION OF PLAINTIFF
              v.                            SUNNY KHACHATRYAN
   16
         1 HOTEL WEST HOLLYWOOD,
   17    L.L.C.,                                        Discovery Cut-Off: 11/25/2024
                                                        Pre-Trial Conference: 4/7/2025
   18                                  Defendant.       Trial: 4/29/2025
                                                        Hearing Date: 9/13/2024
   19                                                   Time: 9:30 a.m.
   20

   21   I, Myriah V. Jaworski, declare under penalty of perjury as follow:
   22            1.   I am a resident of the State of California.
   23            2.   I am an attorney representing 1 Hotel West Hollywood, LLC (“1
   24   Hotel”) in this matter.
   25            3.   I am of sound mind, I have personal knowledge of the matters set forth
   26   in this Declaration, and I have authority to make this Declaration on behalf of 1
   27   Hotel.
   28

                                                    1                    CASE NO.: 2:23-CV-10829
                                    DECLARATION OF MYRIAH V. JAWORSKI
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    1         4.       I attempted to confer with Plaintiffs’ counsel regarding the relief sought
    2   in the present motion on numerous occasions, over a period of time ranging from at
    3   least May 9, 2024, through July 30, 2024.
    4   I.   Federal Rule 26(a)(1)(A)(iii) Damages Computation
    5         5.       On May 3, 2024, Plaintiffs issued its first Federal Rule of Civil
    6   Procedure 26(a)(1) Initial Disclosures. Attached hereto as Exhibit 1 is a true and
    7   correct copy of Plaintiffs’ Federal Rule of Civil Procedure 26(a)(1) Initial
    8   Disclosures.
    9         6.       On May 9, 2024, 1 Hotel sent its Local Rule 37-1 pre-filing conference
   10   letter related to Rule 26 disclosure deficiencies to Plaintiffs. Attached hereto as
   11   Exhibit 2 is a true and correct copy of 1 Hotel’s Local Rule 37-1 correspondence
   12   related to Rule 26 Initial Disclosure deficiencies.
   13         7.       I made no less than four (4) additional requests for Plaintiffs to
   14   supplement their deficient Rule 26 disclosures. Attached hereto as Exhibit 3 is a true
   15   and correct copy of an email chain with the most recent email sent by me on June
   16   21, 2024.
   17         8.       On June 21, 2024, Plaintiffs issued its second supplemental Federal
   18   Rule of Civil Procedure 26(a)(1) Initial Disclosures. Attached hereto as Exhibit 4 is
   19
        a true and correct copy of Plaintiffs’ Second Supplemental Federal Rule of Civil
   20
        Procedure 26(a)(1) Initial Disclosures.
   21
              9.       I made an additional request for Plaintiffs to again supplement their
   22
        deficient Rule 26 disclosures to include proper damages calculations, as required by
   23
        Rule 26(a)(1)(A)(iii). Attached hereto as Exhibit 5 is a true and correct copy of an
   24
        email chain with the most recent email sent by me on July 12, 2024.
   25
              10.      Plaintiffs have failed to respond to 1 Hotel’s Local Rule 37-1 requests
   26
        or supplement their Rule 26 damages computation.
   27

   28

                                                    2                     CASE NO.: 2:23-CV-10829
                                   DECLARATION OF MYRIAH V. JAWORSKI
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    1   II. Discovery Requests
    2         A.     Interrogatories
    3         11.    On June 14, 2024, 1 Hotel issued its First Set of Interrogatories.
    4   Attached hereto as Exhibit 6 is a true and correct copy of 1 Hotel’s First of
    5   Interrogatories.
    6         12.    On July 16, 2024, Plaintiffs issued their responses to the
    7   Interrogatories, asserting blanket objections to each individual request. Attached
    8   hereto as Exhibit 7 is a true and correct copy of Plaintiffs’ Responses to 1 Hotel’s
    9   First of Interrogatories.
   10         13.    Plaintiffs have failed to provide substantive responses to all
   11   Interrogatories.
   12         B.     Requests for Production of Documents
   13         14.    On June 14, 2024, 1 Hotel issued its First Set of Requests for
   14   Production. Attached hereto as Exhibit 8 is a true and correct copy of 1 Hotel’s First
   15   of Request for Production.
   16         15.    On July 16, 2024, Plaintiffs issued their responses to the Requests for
   17   Production, asserting blanket objections to each individual request. Attached hereto
   18   as Exhibit 9 is a true and correct copy of Plaintiffs’ Responses to 1 Hotel’s First of
   19
        Request for Production.
   20
              16.    One of Plaintiffs’ blanket objections asserted in response to each
   21
        Request for Production stated that the documents sought are confidential and will
   22
        not be produced prior to the entry of a protective order.
   23
              17.    While 1 Hotel disputes that the information sought is confidential, it
   24
        nonetheless prepared and proposed a draft protective order for Plaintiffs review on
   25
        July 16, 2024 – Plaintiffs did not acknowledge or otherwise respond to the protective
   26
        order. Attached hereto as Exhibit 10 is a true and correct copy of 1 Hotel’s proposed
   27
        protective order.
   28

                                                   3                     CASE NO.: 2:23-CV-10829
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    1         18.    On July 26, 2024, Plaintiffs issued a small document production,
    2   responsive to only one Request for Production with the documents limited to only
    3   Plaintiff I.M, and without any formal response or specification detailing which
    4   request the documents were responsive to.
    5         19.    Plaintiffs have only made the very limited document production on July
    6   26, 2024, with the remainder of the Requests for Production lacking any substantive
    7   response.
    8         20.    As of the date of this Declaration, the Discovery Requests remain
    9   largely unanswered.
   10   III. Notice of Deposition
   11         21.    On July 12, 2024, 1 Hotel issued a Notice of Deposition for Plaintiff
   12   Sunny Khachatryan set for August 7, 2024. Attached hereto as Exhibit 11 is a true
   13   and correct copy of 1 Hotel’s Notice of Deposition issued to Sunny Khachatryan.
   14         22.    Plaintiffs have entirely failed to acknowledge receipt of the Notice of
   15   Deposition and did not present Sunny Khachatryan on August 7th.
   16         23.    Plaintiffs further failed to provide potential alternative dates to present
   17   Sunny Khachatryan for her deposition and the deposition remains outstanding.
   18   IV. C.D. Cal. Local Rule 37-1 Requests for Pre-Filing Conference
   19
              24.    On July 16, 2024, 1 Hotel sent its Local Rule 37-1 pre-filing conference
   20
        letter to Plaintiffs. Attached hereto as Exhibit 12 is a true and correct copy of 1
   21
        Hotel’s Local Rule 37-1 correspondence related to written discovery deficiencies.
   22
              25.    On July 17, 2024, I sent a follow-up request to my July 16, 2024 Local
   23
        Rule 37- letter requesting Plaintiffs’ availability for a pre-filing conference.
   24
              26.    On July 19, 2024, I sent another follow-up request to my July 16, 2024
   25
        Local Rule 37- letter requesting Plaintiffs’ availability for a pre-filing conference.
   26
              27.    On July 30, 2024, I made a final follow-up request to my July 16, 2024
   27
        letter to meet for a pre-filing conference, pursuant to Local Rule 37-1, and Plaintiffs’
   28
        counsel failed to meet or otherwise respond. Attached hereto as Exhibit 13 is a true
                                                   4                     CASE NO.: 2:23-CV-10829
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    1   and correct copy of an email chain with the most recent email sent by me on July 30,
    2   2024.
    3           28.   As of the date of this Declaration, 1 Hotel has received neither
    4   Plaintiffs’ supplemental substantive responses to outstanding Discovery Requests,
    5   nor any response to its requests to meet and confer.
    6           29.   Plaintiffs’ counsel’s refusal to cooperate in the pre-filing conference
    7   procedure necessitates the filing of this Motion pursuant to Local Rule 37-2.4
    8   I declare under penalty of perjury that the above is true and correct.
    9

   10                        AFFIANT FURTHER SAYETH NAUGHT.
   11

   12   Executed this 19th day of August 2024.
   13                                                 /s/ Myriah V. Jaworski
   14                                                 Myriah V. Jaworski
   15                                                 Clark Hill PLC
   16

   17

   18

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                                                  5                     CASE NO.: 2:23-CV-10829
                                 DECLARATION OF MYRIAH V. JAWORSKI
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                                    #:394




                              Exhibit 1
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                                         #:395



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       Telephone: (212) 574-0350
  10 Facsimile: (212) 216-8001
  11 Attorneys for Plaintiffs Sunny
       Khachatryan, Tatevik Khachatryan, B.A.J,
  12 a minor and I.M, a minor
  13
  14
                             UNITED STATES DISTRICT COURT
  15
                           CENTRAL DISTRICT OF CALIFORNIA
  16
       SUNNY KHACHATRYAN, an
  17 individual; TATEVIK                             CASE NO. 2:23-cv-10829-ODW(Ex)
       KHACHATRYAN, an individual; B. A.             PLAINTIFFS SUNNY
  18 J, a minor; and I.M, a minor,
                                                     KHACHATRYAN, AN
  19                  Plaintiffs,                    INDIVIDUAL; TATEVIK
                                                     KHACHATRYAN, AN
  20                      vs.                        INDIVIDUAL; B. A. J, A MINOR;
                                                     AND I.M, A MINOR’S RULE
  21                                                 26(A)(1) INITIAL DISCLOSURES
  22 1 HOTEL WEST HOLLYWOOD,                         Honorable Otis D. Wright II
     L.L.C.; SH GROUP OPERATIONS,                    Honorable Charles F. Eick
  23 L.L.C.; SH GROUP GLOBAL IP
     HOLDINGS, L.L.C; and DOES 1                     Complaint Filed: December 27, 2023
  24 through 70, inclusive,                          Trial Date: April 29, 2025
  25                 Defendants.

  26
  27
  28
                                                    1
       PLAINTIFFS SUNNY KHACHATRYAN, AN INDIVIDUAL; TATEVIK KHACHATRYAN, AN INDIVIDUAL; B. A. J, A
                        MINOR; AND I.M, A MINOR’S RULE 26(A)(1) INITIAL DISCLOSURES
                                                                            Case No. 2:23-cv-10829-ODW-E
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   1         Pursuant to Rule 26(a)(1) of the Federal Rules of Civil Procedure, Plaintiffs
   2 SUNNY        KHACHATRYAN, an individual (“S. Khachatryan”; TATEVIK
   3 KHACHATRYAN, an individual (“T. Khachatryan”); B. A. J, a minor (“B.A.J.”);
   4 and I.M, a minor, (“I.M”, collectively with S. Khachatryan; T. Khachatryan and
   5 B.A.J, known as the “Plaintiffs”), through their counsel, provides the following
   6 initial disclosures. Plaintiffs reserve the right to amend, revise or supplement these
   7 disclosures in supplemental disclosures served under Fed. R. Civ. P. Rules 26(a)(1)
   8 or 26(e)(1), in written discovery responses, in deposition testimony, or by any other
   9 means as the case progresses.
  10 I.      PRELIMINARY STATEMENT
  11         Plaintiffs’ initial disclosures are based on information reasonably available to
  12 Plaintiffs as of the date of these disclosures. Plaintiffs' pre-trial discovery,
  13 investigation, and analysis have not been completed, and it is anticipated further
  14 discovery, investigation, research, as well as the analysis of any existing discovery,
  15 may supply additional facts, add meaning to known facts, or establish entirely new
  16 factual conclusions. Plaintiffs reserve the right to amend or supplement these
  17 disclosures in the event Plaintiffs subsequently discovers additional relevant facts,
  18 information, or documents pursuant to Rule 26(e) of the Federal Rules of Civil
  19 Procedure. By making these disclosures, Plaintiffs do not represent any particular
  20 document exists within their possession, custody, or control.
  21         The lists of witnesses and documents set forth herein are preliminary and are
  22 neither intended nor represented to be final. Plaintiffs expressly reserve the right to
  23 identify and call as witnesses persons in addition to those listed below if during
  24 Plaintiffs' discovery and investigation, Plaintiffs discover additional persons with
  25 knowledge of relevant facts and information.
  26         Plaintiffs do not waive any applicable privileges, and specifically reserves
  27 those privileges including, but not limited to, the attorney-client privilege and the
  28 attorney work product doctrine. These disclosures are made subject to and without
                                              2
       PLAINTIFFS SUNNY KHACHATRYAN, AN INDIVIDUAL; TATEVIK KHACHATRYAN, AN INDIVIDUAL; B. A. J, A
                        MINOR; AND I.M, A MINOR’S RULE 26(A)(1) INITIAL DISCLOSURES
                                                                           Case No. 2:23-cv-10829-ODW(Ex)
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   1 limiting any of the foregoing reservations.
   2 II.     RULE 26(a)(1) INITIAL DISCLOSURES
   3         A.     LIST OF WITNESSES
   4         Pursuant to Rule 26(a)(1)(A)(i)–The name and, if known, the address and
   5 telephone number of each individual likely to have discoverable information–along
   6 with the subjects of that information–that the disclosing party may use to support his
   7 or her claims or defenses, unless the use would be solely for impeachment:
   8       Name of Person              Person’s Address and             Description of What
   9
                                        Telephone Number                 the Person Knows
       Sunny Khachatryan,         c/o TYLER R. DOWDALL,                 • Discoverable
  10   an individual              TARTER KRINSKY &                         Knowledge
  11   (Plaintiff)                DROGIN LLP                               regarding the
                                  2029 Century Park East, Suite            allegations in the
  12                              400N                                     operative
  13                              Los Angeles, CA 90067                    complaint
                                  tdowdall@tarterkrinsky.com
  14
  15
                                  BRIAN BLOOM (pro hac vice)
  16                              bbloom@tarterkrinsky.com
                                  ELIEZER LEKHT (pro hac vice)
  17                              elekht@tarterkrinsky.com
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  18                              DROGIN LLP
                                  1350 Broadway
  19                              New York, New York 10018
                                  Telephone: (212) 574-0350
  20                              Facsimile: (212) 216-8001
  21   Tatevik                    c/o TYLER R. DOWDALL,                 • Discoverable
       Khachatryan, an            TARTER KRINSKY &                        Knowledge
  22                                                                      regarding the
       individual (Plaintiff)     DROGIN LLP                              allegations in the
  23                              2029 Century Park East, Suite           operative complaint
  24                              400N
                                  Los Angeles, CA 90067
  25                              tdowdall@tarterkrinsky.com
  26
  27                              BRIAN BLOOM (pro hac vice)
                                  bbloom@tarterkrinsky.com
  28                              ELIEZER LEKHT (pro hac vice)
                                                    3
       PLAINTIFFS SUNNY KHACHATRYAN, AN INDIVIDUAL; TATEVIK KHACHATRYAN, AN INDIVIDUAL; B. A. J, A
                        MINOR; AND I.M, A MINOR’S RULE 26(A)(1) INITIAL DISCLOSURES
                                                                           Case No. 2:23-cv-10829-ODW(Ex)
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  2                              DROGIN LLP
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  3                              New York, New York 10018
                                 Telephone: (212) 574-0350
  4                              Facsimile: (212) 216-8001
  5
  6   B.A.J., an minor           c/o TYLER R. DOWDALL,                 • Discoverable
      (Plaintiff)                TARTER KRINSKY &                        Knowledge
  7                                                                      regarding the
                                 DROGIN LLP                              allegations in the
  8                              2029 Century Park East, Suite           operative complaint
                                 400N
  9
                                 Los Angeles, CA 90067
 10                              tdowdall@tarterkrinsky.com
 11
 12                              BRIAN BLOOM (pro hac vice)
                                 bbloom@tarterkrinsky.com
 13                              ELIEZER LEKHT (pro hac vice)
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 14                              TARTER KRINSKY &
                                 DROGIN LLP
 15                              1350 Broadway
                                 New York, New York 10018
 16                              Telephone: (212) 574-0350
                                 Facsimile: (212) 216-8001
 17
      I.M., a minor              c/o TYLER R. DOWDALL,                 • Discoverable
 18                                                                      Knowledge
      (Plaintiff)                TARTER KRINSKY &                        regarding the
 19                              DROGIN LLP                              allegations in the
                                 2029 Century Park East, Suite           operative complaint
 20
                                 400N
 21                              Los Angeles, CA 90067
                                 tdowdall@tarterkrinsky.com
 22
 23
                                 BRIAN BLOOM (pro hac vice)
 24                              bbloom@tarterkrinsky.com
                                 ELIEZER LEKHT (pro hac vice)
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 26                              DROGIN LLP
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 27                              New York, New York 10018
                                 Telephone: (212) 574-0350
 28                              Facsimile: (212) 216-8001
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      PLAINTIFFS SUNNY KHACHATRYAN, AN INDIVIDUAL; TATEVIK KHACHATRYAN, AN INDIVIDUAL; B. A. J, A
                       MINOR; AND I.M, A MINOR’S RULE 26(A)(1) INITIAL DISCLOSURES
                                                                          Case No. 2:23-cv-10829-ODW(Ex)
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  1   Person Most          c/o Defendants’ counsel of                  • Discoverable
      Knowledgeable at     record                                        Knowledge
  2                                                                      regarding the
      SH Hotels & Resorts,                                               allegations in the
  3   (Person Most                                                       operative complaint
  4   Knowledgeable for
      Defendants)
  5
  6         B.      LIST OF DOCUMENTS AND THINGS

  7         Plaintiffs identify the following categories of documents that Plaintiffs

  8 presently believe they may use to support their claims. This information is based on
  9 Plaintiffs’ investigation to date, which is ongoing and Plaintiffs specifically reserve
 10 the right to identify additional categories and locations of documents as discovery
 11 proceeds:
 12   Category of Documents                        Location of Documents
 13     • Documents relating to Defendants’                   SH Hotels & Resorts
          defenses.                                            c/o Clark Hill LLP
 14     • Documents relating to Defendants’               600 West Broadway, Suite 500
          posting and use of the photograph;                  San Diego CA 92101
 15     • Inventory and sales of the products
 16       depicted in the photograph
        • Defendants’ internal communications
 17       regarding use of the photographs
 18     • Documents relating to Plaintiffs’             c/o Tarter Krinsky & Drogin, LLP
          modeling work                                2029 Century Park East, Suite 400N
 19                                                          Los Angeles, CA 90067
 20
 21         Plaintiffs expressly reserve the right to amend or supplement these responses
 22 to reflect information acquired through discovery or other means.
 23
            C.      PLAINTIFFS/CLAIMANTS: DAMAGES CALCULATION
 24
            Rule 26(a)(1)(A)(iii)–A computation of each category of damages claimed by
 25
      the disclosing party, who must also make available for inspection and copying as
 26
      under Rule 34 the documents or other evidentiary material (unless privileged or
 27
      protected from disclosure) on which each computation is based, including materials
 28
                                                   5
      PLAINTIFFS SUNNY KHACHATRYAN, AN INDIVIDUAL; TATEVIK KHACHATRYAN, AN INDIVIDUAL; B. A. J, A
                       MINOR; AND I.M, A MINOR’S RULE 26(A)(1) INITIAL DISCLOSURES
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  1 bearing on the nature and extent of injuries suffered:
  2         Plaintiffs seek monetary relief.
  3         D.     DEFENDANT(S): LIABILITY INSURANCE
  4         Rule 26(a)(1)(A)(iv)–For inspection and copying as under Rule 34, any
  5 insurance agreement under which an insurance business may be liable to satisfy all or
  6 part of a possible judgment in the action or to indemnify or reimburse for payments
  7 made to satisfy the judgment:
  8         Plaintiffs are unaware of any insurance.
  9 III.    CERTIFICATION
 10         The undersigned counsel certifies under Rule 26(g)(1)(A) to the best of their
 11 knowledge, information, and belief, formed after a reasonable inquiry, that these
 12 disclosures are complete and correct as of this date.
 13
 14                          (Attorney signatures on following page)
 15
 16
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 23
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 27
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                                                   6
      PLAINTIFFS SUNNY KHACHATRYAN, AN INDIVIDUAL; TATEVIK KHACHATRYAN, AN INDIVIDUAL; B. A. J, A
                       MINOR; AND I.M, A MINOR’S RULE 26(A)(1) INITIAL DISCLOSURES
                                                                          Case No. 2:23-cv-10829-ODW(Ex)
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                                     ID #:401



  1 DATED: May 3, 2024                      TARTER KRINSKY & DROGIN LLP
  2
                                            By:         /s/ Tyler R. Dowdall
  3                                               Tyler R. Dowdall, State Bar No. 258950
  4                                               tdowdall@tarterkrinsky.com
                                                  Renata A. Guidry, State Bar No. 227713
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  8                                               Telephone: (424) 330-8580
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 10                                               Brian Bloom (pro hac vice)
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 11                                               Eliezer Lekht (pro hac vice)
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 13                                               1350 Broadway
 14                                               New York, New York 10018
                                                  Telephone: (212) 574-0350
 15                                               Facsimile: (212) 216-8001
 16
                                            Attorneys for Plaintiffs Sunny Khachatryan,
 17                                         Tatevik Khachatryan, B.A.J, a minor and I.M, a
 18                                         minor
 19
 20
 21
 22
 23
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 25
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                                                    7
      PLAINTIFFS SUNNY KHACHATRYAN, AN INDIVIDUAL; TATEVIK KHACHATRYAN, AN INDIVIDUAL; B. A. J, A
                       MINOR; AND I.M, A MINOR’S RULE 26(A)(1) INITIAL DISCLOSURES
                                                                          Case No. 2:23-cv-10829-ODW(Ex)
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  1                    CERTIFICATE OF SERVICE
           SUNNY KHACHATRYAN, an individual, et al. v. 1 HOTEL WEST
  2
                         HOLLYWOOD, L.L.C
  3
  4
      STATE OF CALIFORNIA, COUNTY OF LOS ANGELES

  5
          At the time of service, I was over 18 years of age and not a party to this
    action. I am employed in the County of Los Angeles, State of California. My
  6 business address is 2029 Century Park East, Suite 400N, Los Angeles, CA 90067.
  7
           On May 3, 2024, I served true copies of the following document(s) described
  8 as PLAINTIFFS SUNNY KHACHATRYAN, AN INDIVIDUAL; TATEVIK
  9 KHACHATRYAN, AN INDIVIDUAL; B. A. J, A MINOR; AND I.M, A
    MINOR’S RULE 26(A)(1) INITIAL DISCLOSURES on the interested parties in
 10 this action as follows:
 11
             CLARK HILL LLP                        Attorneys for Defendants 1
 12          Myriah Jaworski                       HOTEL WESTHOLLYWOOD,
 13          mjaworski@clarkhill.com               L.L.C.; SH GROUP
             One America Plaza                     OPERATIONS, L.L.C.;
 14          600 West Broadway, Suite 500          SH GROUP GLOBAL IP
 15          San Diego, CA 92101                   HOLDINGS, L.L.C.
             Telephone: (619) 557-0404
 16          Facsimile: (619) 557-0460
 17        BY E-MAIL OR ELECTRONIC TRANSMISSION: I caused a copy of
    thedocument(s)   to be sent from e-mail address BGenser@tarterkrinsky.com to the
 18 persons at the e-mail  addresses listed in the Service List. I did not receive, within a
    reasonable  time after the transmission, any electronic message or other indication
 19 that the transmission was   unsuccessful.
 20
           I declare under penalty of perjury under the laws of the State of California that
 21 the foregoing  is true and correct.
 22        Executed on May 3, 2024, at Los Angeles, California.
 23
 24
 25                                               /s/ Brooke M. Genser
                                                  Brooke M. Genser
 26
 27
 28
                                                   8
      PLAINTIFFS SUNNY KHACHATRYAN, AN INDIVIDUAL; TATEVIK KHACHATRYAN, AN INDIVIDUAL; B. A. J, A
                       MINOR; AND I.M, A MINOR’S RULE 26(A)(1) INITIAL DISCLOSURES
                                                                          Case No. 2:23-cv-10829-ODW(Ex)
Case 2:23-cv-10829-ODW-E   Document 49-2 Filed 08/19/24   Page 15 of 136 Page
                                 ID #:403




                             Exhibit 2
Case 2:23-cv-10829-ODW-E             Document 49-2 Filed 08/19/24                Page 16 of 136 Page
                                           ID #:404




Nicolas V. Dolce                                                Clark Hill
D (312) 360-2113                                                130 E. Randolph Street, Suite 3900
Email:ndolce@clarkhill.com                                      Chicago, Illinois 60601
                                                                T (312) 985-5900
                                                                F (312) 985-5999




May 9, 2024


VIA EMAIL ONLY
Tyler R. Dowdall, tdowdall@tarterkrinsky.com
Renata A. Guidry, rguidry@tarterkrinsky.com
Tarter Krinsky & Drogin LLP
2029 Century Park East, Suite 400N
Los Angeles, California 90067

Brian Bloom, bbloom@tarterkrinsky.com
Eliezer Lekht, elekht@tarterkrinsky.com
Tarter Krinsky & Drogin LLP
1350 Boradway
New York, New York 10018

        Re: Discovery Deficiency Correspondence L.R. 37-1 Correspondence
            Sunny Khachatryan, et. al. v. 1 Hotel West Hollywood, LLC, et. al.
            Case No. 2:23-cv-10829-ODW (C.D. Cal.)

Dear Counsel:

We write to pursuant to Local Rule 37-1 and Fed. R. Civ. P. 37, to request Plaintiffs supplementation
of the deficiencies in their Rule 26(a)(1) Initial Disclosures (“Disclosures”) served on Defendants on
May 3, 2024.

Pursuant to Local Rule 37-1, by May 17, 2024, please supplement the necessary initial
information requested in this correspondence.

                                                   ***

Under Fed. R. Civ. P. 26(a)(1)(A)(i), Plaintiffs have a duty to disclose the identity, contact information,
and subjects of information of all potential witnesses with knowledge concerning any allegations
contained in the Complaint. Plaintiffs’ Disclosures are incomplete as provided and fail to fully
disclose all persons who have knowledge relevant to Plaintiffs’ allegations related to third parties
with whom Plaintiffs B.A.J. and I.M. (“Minor Plaintiffs”) purportedly have contractual business
agreements with.


                                                                                              clarkhill.com
Case 2:23-cv-10829-ODW-E             Document 49-2 Filed 08/19/24            Page 17 of 136 Page
                                           ID #:405
Sunny Khachatryan, et. al. v. 1 Hotel West Hollywood, LLC, et. al.
Case No. 2:23-cv-10829-ODW (C.D. Cal.) – L.R. 37-1 Correspondence
May 9, 2024
Page 2



Plaintiffs’ Complaint contains a number of allegations referencing purported branding deals,
modeling contracts, talent representations, endorsements, and more. Specifically, Defendants
request Plaintiffs supplement the following information in accordance with Fed. R. Civ. P. 26(e):

       The identity and contact information of any third-party representative(s) with knowledge of
        the Minor Plaintiffs’ appearance in “television commercials, print ads, and other paid
        commercial uses of their images and likeness”. See Compl. ¶ 5.

       The identity and contact information of any third-party representative(s) from Adidas with
        knowledge of the Minor Plaintiffs’ purported modeling contracts with Adidas. See Compl.
        ¶ 5.

       The identity and contact information of all third-party “talent agents” and “talent
        management” representatives the Minor Plaintiffs have been represented by within the last
        five (5) years. See Compl. ¶ 6.

       The identity and contact information of any third-party representative(s) with knowledge of
        the Minor Plaintiffs’ consideration for a “multi-million-dollar hotel endorsement”. See
        Compl. ¶ 7.

       The identity and contact information of any third-party representative(s) with knowledge of
        the Minor Plaintiffs’ consideration for the alleged multiple modeling contracts for
        “several five-star hotel chains”. See Compl. ¶ 7.

Defendants’ request for supplementation of information required by Rule 26(a)(1) is readily and
easily accessible, and necessary for Defendants to fully investigate Plaintiffs’ claims and alleged
damages. Thus, Plaintiffs’ voluntary provision of this information will avoid unnecessary discovery
costs for both parties. Please supplement this information pursuant to LR 37-1, by no later than May
17, 2024. If you believe conferral is necessary, please propose some dates and times you are
available for the week of May 13, 2024.


                                                    ***


                                                      Sincerely,

                                                      /s/ Nicolas V. Dolce

                                                      Nicolas V. Dolce




                                                                                       clarkhill.com
Case 2:23-cv-10829-ODW-E   Document 49-2 Filed 08/19/24   Page 18 of 136 Page
                                 ID #:406




                             Exhibit 3
        Case 2:23-cv-10829-ODW-E             Document 49-2 Filed 08/19/24               Page 19 of 136 Page
                                                   ID #:407

Dolce, Nicolas

From:                             Jaworski, Myriah
Sent:                             Friday, June 21, 2024 12:25 PM
To:                               Tyler R. Dowdall; Brian A. Bloom; Dolce, Nicolas
Cc:                               Eliezer Lekht; Lisa Niewdach; Patel, Chirag; Brooke Genser
Subject:                          RE: Khachatryan v. SH Group - Defendants' Discovery Deficiency Correspondence


All –

As required by Rule 26(a)(iii), please provide Plain ﬀs computa on of damages to us by COB today.

Thanks,
Myriah

From: Jaworski, Myriah
Sent: Tuesday, June 18, 2024 12:09 PM
To: Tyler R. Dowdall <tdowdall@tarterkrinsky.com>; Brian A. Bloom <bbloom@tarterkrinsky.com>; Dolce, Nicolas
<ndolce@clarkhill.com>
Cc: Eliezer Lekht <elekht@tarterkrinsky.com>; Lisa Niewdach <lniewdach@tarterkrinsky.com>; Patel, Chirag
<cpatel@clarkhill.com>; Brooke Genser <bgenser@tarterkrinsky.com>
Subject: RE: Khachatryan v. SH Group - Defendants' Discovery Deficiency Correspondence

Brian and Tyler,

We are in receipt of the Plain ﬀs updated ini al disclosures, and intend to send out third party discovery this week.

First, I note that none of the disclosures appear to be of hotel chains/brands, as we would have expected in light of
paragraph 7 of the Complaint’s allega on of “mul million dollar hotel endorsement and modeling contracts for several
ﬁve-star hotel chains.” Please conﬁrm that Plain ﬀs do not have any hotel brands or chains to disclose.

Second, Plain ﬀs supplemental disclosures s ll do not comply with Rule 26(a)(iii)’s requirement for a “computa on of
each category of damages claimed.” Please provide this computa on to us not later than this Friday, June 21.

Defendant reserves all rights, including under Rule 37, to move to prohibit the use at trial of any informa on required to
be disclosed by Rule 26(a) that is not properly disclosed.

Thanks,
Myriah




From: Tyler R. Dowdall <tdowdall@tarterkrinsky.com>
Sent: Tuesday, June 11, 2024 12:25 AM
To: Jaworski, Myriah <mjaworski@clarkhill.com>; Brian A. Bloom <bbloom@tarterkrinsky.com>; Dolce, Nicolas
<ndolce@clarkhill.com>
Cc: Eliezer Lekht <elekht@tarterkrinsky.com>; Lisa Niewdach <lniewdach@tarterkrinsky.com>; Patel, Chirag
<cpatel@clarkhill.com>; Brooke Genser <bgenser@tarterkrinsky.com>
Subject: RE: Khachatryan v. SH Group - Defendants' Discovery Deficiency Correspondence
                                                            1
      Case 2:23-cv-10829-ODW-E                    Document 49-2 Filed 08/19/24       Page 20 of 136 Page
                                                        ID #:408

[External Message]


Myriah,

Please see the attached. We’ll formally serve this tomorrow.

                     Tyler R. Dowdall | Partner
                     T: 424-330-8580| F: 212-216-8001
                     tdowdall@tarterkrinsky.com| Bio
                     Tarter Krinsky & Drogin LLP
                     2029 Century Park East, Suite 400N| Los Angeles | CA| 90067
                     www.tarterkrinsky.com| LinkedIn


                     Crain's 2023 best places to work in NYC
From: Jaworski, Myriah <mjaworski@clarkhill.com>
Sent: Monday, June 10, 2024 8:40 AM
To: Brian A. Bloom <bbloom@tarterkrinsky.com>; Tyler R. Dowdall <tdowdall@tarterkrinsky.com>; Dolce, Nicolas
<ndolce@clarkhill.com>
Cc: Eliezer Lekht <elekht@tarterkrinsky.com>; Lisa Niewdach <lniewdach@tarterkrinsky.com>; Patel, Chirag
<cpatel@clarkhill.com>
Subject: [EXT] RE: Khachatryan v. SH Group - Defendants' Discovery Deficiency Correspondence

Brian – we expect the updated supplemental disclosures from plain ﬀs by COB today.

Thanks,
Myriah

From: Brian A. Bloom <bbloom@tarterkrinsky.com>
Sent: Thursday, June 6, 2024 12:24 PM
To: Jaworski, Myriah <mjaworski@clarkhill.com>; Tyler R. Dowdall <tdowdall@tarterkrinsky.com>; Dolce, Nicolas
<ndolce@clarkhill.com>
Cc: Eliezer Lekht <elekht@tarterkrinsky.com>; Lisa Niewdach <lniewdach@tarterkrinsky.com>; Patel, Chirag
<cpatel@clarkhill.com>; Brian A. Bloom <bbloom@tarterkrinsky.com>
Subject: RE: Khachatryan v. SH Group - Defendants' Discovery Deficiency Correspondence

[External Message]


Myriah –

We just received the requested information from our clients this week and will be sending over supplemental
disclosures to you shortly. We apologize for the delay but do not believe your client has been harmed. We
certainly conducted our due diligence before ﬁling our Complaint. Your client certainly did NOT take appropriate
precautions before using our minor client’s images publicly for its own commercial gain.

All rights remain reserved.
All the best,
Brian


                     Brian A. Bloom| Partner
                                                                 2
         Case 2:23-cv-10829-ODW-E               Document 49-2 Filed 08/19/24              Page 21 of 136 Page
                                                      ID #:409
                     T: 212-574-0350| T: 516-464-3570| M: 516-330-8123
                     bbloom@tarterkrinsky.com | Bio
                     Tarter Krinsky & Drogin LLP
                     1350 Broadway| New York| NY | 10018
                     www.tarterkrinsky.com| LinkedIn



                     Crain's 2023 best places to work in NYC
From: Jaworski, Myriah <mjaworski@clarkhill.com>
Sent: Thursday, June 6, 2024 12:19 PM
To: Tyler R. Dowdall <tdowdall@tarterkrinsky.com>; Dolce, Nicolas <ndolce@clarkhill.com>; Brian A. Bloom
<bbloom@tarterkrinsky.com>
Cc: Eliezer Lekht <elekht@tarterkrinsky.com>; Lisa Niewdach <lniewdach@tarterkrinsky.com>; Patel, Chirag
<cpatel@clarkhill.com>
Subject: [EXT] RE: Khachatryan v. SH Group - Defendants' Discovery Deficiency Correspondence

Brian,

One month ago, on May 9, we wrote to you to request that the Khachatryan plain ﬀs update their ini al disclosures to
include the iden es and contact informa on for the branding deals, modeling contracts, and talent agents with whom
the minor children allegedly have contracts – including speciﬁcally the iden ty of those involved in considera on of the
minors’ “mul -million dollar hotel endorsement” and contacts with “several ﬁve star hotel chains.” Comp’l. ¶ 7. As you
know, this informa on is the basis for Plain ﬀs’ claims, and speciﬁcally their calcula on of poten al damages. This
informa on is discoverable, relevant, and fundamental to SH Group’s defenses.

On May 21 we followed up regarding the status of this informa on, and speciﬁcally asked to meet and confer on the
issue. We were told that you were “wai ng for further informa on from the clients” and would respond to us
shortly. On May 27, we followed up again regarding our request, and have not received a response from you.

There is no jus ﬁca on for your failure to provide this informa on to us. First, this informa on should already be known
to you in connec on with your Rule 11 and other ethical obliga ons to conduct due diligences on these third-party
contracts before including such allega ons in the complaint. See Refac Int'l, Ltd. v. Hitachi Ltd., 141 F.R.D. 281 (C.D. Cal.
1991) (ﬁnding that counsel violated its aﬃrma ve duty to inves gate before a paper is ﬁled with the court and sanc ons
were expressly required under Rule 11); see also Truesdell v. S. Calif. Permanente Med. Group, 209 F.R.D. 169, 173-73 (C.D.
Cal. 2002). Thus, this informa on should be within your possession, readily available and capable of disclosure, and not
something that is only now being “run down” by you with your clients.

Second, your failure to mely provide this informa on is also harmful to SH Group, which has the right to inves gate these
allega ons, present a defense, and prepare for trial. As you know, the par es are subject to the Court’s ordered discovery
schedule, which includes a Fall 2024 fact discovery cut-oﬀ date. Among other things, your failure to mely disclose this
informa on is preven ng SH Group from serving necessary third-party document requests, interrogatories and deposi on
no ces.

Thus, I am wri ng for a ﬁnal me to request that Plain ﬀs supplement their ini al disclosures as requested by SH Group’s
May 9 correspondence, no later than close of business on Monday, June 10.

SH Group reserves all rights and remedies regarding this issue, including the right to seek discovery and case-disposi ve
sanc ons and Rule 11 sanc ons against all counsel of record.

Thanks,
Myriah


                                                                3
         Case 2:23-cv-10829-ODW-E                 Document 49-2 Filed 08/19/24      Page 22 of 136 Page
                                                        ID #:410
From: Jaworski, Myriah
Sent: Wednesday, May 29, 2024 1:07 PM
To: Tyler R. Dowdall <tdowdall@tarterkrinsky.com>; Dolce, Nicolas <ndolce@clarkhill.com>; Brian A. Bloom
<bbloom@tarterkrinsky.com>
Cc: Eliezer Lekht <elekht@tarterkrinsky.com>; Lisa Niewdach <lniewdach@tarterkrinsky.com>; Patel, Chirag
<cpatel@clarkhill.com>
Subject: RE: Khachatryan v. SH Group - Defendants' Discovery Deficiency Correspondence

Tyler,

When can we expect this informa on?

Thanks,
Myriah

From: Tyler R. Dowdall <tdowdall@tarterkrinsky.com>
Sent: Tuesday, May 21, 2024 12:14 PM
To: Dolce, Nicolas <ndolce@clarkhill.com>; Brian A. Bloom <bbloom@tarterkrinsky.com>
Cc: Eliezer Lekht <elekht@tarterkrinsky.com>; Lisa Niewdach <lniewdach@tarterkrinsky.com>; Jaworski, Myriah
<mjaworski@clarkhill.com>; Patel, Chirag <cpatel@clarkhill.com>
Subject: RE: Khachatryan v. SH Group - Defendants' Discovery Deficiency Correspondence

[External Message]


Nicolas,

Thanks for the follow up.

We are waiting for further information from the clients and will get back to you.

Thanks,

                     Tyler R. Dowdall | Partner
                     T: 424-330-8580| F: 212-216-8001
                     tdowdall@tarterkrinsky.com| Bio
                     Tarter Krinsky & Drogin LLP
                     2029 Century Park East, Suite 400N| Los Angeles | CA| 90067
                     www.tarterkrinsky.com| LinkedIn


                     Crain's 2023 best places to work in NYC
From: Dolce, Nicolas <ndolce@clarkhill.com>
Sent: Tuesday, May 21, 2024 8:20 AM
To: Brian A. Bloom <bbloom@tarterkrinsky.com>
Cc: Tyler R. Dowdall <tdowdall@tarterkrinsky.com>; Eliezer Lekht <elekht@tarterkrinsky.com>; Lisa Niewdach
<lniewdach@tarterkrinsky.com>; Jaworski, Myriah <mjaworski@clarkhill.com>; Patel, Chirag <cpatel@clarkhill.com>
Subject: [EXT] RE: Khachatryan v. SH Group - Defendants' Discovery Deficiency Correspondence

Counsel,




                                                                 4
         Case 2:23-cv-10829-ODW-E                             Document 49-2 Filed 08/19/24                                Page 23 of 136 Page
                                                                    ID #:411
I am following up on Defendants’ previously issued discovery correspondence, rea ached here for convenience. Given
the lack of response to Defendants’ correspondence, we request to meet and confer on Plain ﬀs’ deﬁcient disclosures.
Please propose some dates and mes that you are available to confer either this week or next.

Respec ully,

Nicolas V. Dolce
Attorney at Law
Clark Hill
130 E. Randolph Street, Suite 3900, Chicago, IL 60601
+1 312.360.2113 (office) | +1 312.517.7580 (fax)
ndolce@clarkhill.com | www.clarkhill.com


From: Dolce, Nicolas
Sent: Thursday, May 9, 2024 12:22 PM
To: Brian A. Bloom <bbloom@tarterkrinsky.com>
Cc: Tyler R. Dowdall <tdowdall@tarterkrinsky.com>; Eliezer Lekht <elekht@tarterkrinsky.com>; Lisa Niewdach
<lniewdach@tarterkrinsky.com>; Jaworski, Myriah <mjaworski@clarkhill.com>; Patel, Chirag <cpatel@clarkhill.com>
Subject: Khachatryan v. SH Group - Defendants' Discovery Deficiency Correspondence

Counsel,

Pursuant to Local Rule 37-1, please ﬁnd a ached Defendants’ discovery correspondence concerning deﬁciencies in
Plain ﬀs’ Rule 26 ini al disclosures.

Respec ully,

Nicolas V. Dolce
Attorney at Law
Clark Hill
130 E. Randolph Street, Suite 3900, Chicago, IL 60601
+1 312.360.2113 (office) | +1 312.517.7580 (fax)
ndolce@clarkhill.com | www.clarkhill.com




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phone at 212-216-8000 with any questions. Thank you in advance for your courtesies.

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Tarter Krinsky & Drogin LLP, Attorneys-at-Law.




                                                                                    5
         Case 2:23-cv-10829-ODW-E                             Document 49-2 Filed 08/19/24                                Page 24 of 136 Page
                                                                    ID #:412

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Tarter Krinsky & Drogin LLP, Attorneys-at-Law.




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anything you send by regular mail or delivery, including issuing remittances electronically. Please contact our receptionist at reception@tarterkrinsky.com or by
phone at 212-216-8000 with any questions. Thank you in advance for your courtesies.

NOTE: If regular mailing or other specific transmission type is required by terms of a contract, order or statute, please comply with those obligations and transmit
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Tarter Krinsky & Drogin LLP, Attorneys-at-Law.




                                                                                    6
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                                 ID #:413




                             Exhibit 4
Case 2:23-cv-10829-ODW-E       Document 49-2 Filed 08/19/24        Page 26 of 136 Page
                                     ID #:414



  1 TYLER R. DOWDALL, State Bar No. 258950
      tdowdall@tarterkrinsky.com
  2 RENATA A. GUIDRY, State Bar No. 227713
      rguidry@tarterkrinsky.com
  3 TARTER KRINSKY & DROGIN LLP
      2029 Century Park East, Suite 400N
  4 Los Angeles, California 90067
      Telephone: (424) 330-8580
  5 Facsimile:   (315) 512-1465
  6 BRIAN BLOOM (pro hac vice)
      bbloom@tarterkrinsky.com
  7 ELIEZER LEKHT (pro hac vice)
      elekht@tarterkrinsky.com
  8 TARTER KRINSKY & DROGIN LLP
      1350 Broadway
  9 New York, New York 10018
      Telephone: (212) 574-0350
 10 Facsimile: (212) 216-8001
 11 Attorneys for Plaintiffs Sunny
      Khachatryan, Tatevik Khachatryan, B.A.J,
 12 a minor and I.M, a minor
 13
 14
                            UNITED STATES DISTRICT COURT
 15
                          CENTRAL DISTRICT OF CALIFORNIA
 16
      SUNNY KHACHATRYAN, an
 17 individual; TATEVIK                            CASE NO. 2:23-cv-10829-ODW(Ex)
      KHACHATRYAN, an individual; B. A.            PLAINTIFFS SUNNY
 18 J, a minor; and I.M, a minor,
                                                   KHACHATRYAN, AN
 19                  Plaintiffs,                   INDIVIDUAL; TATEVIK
                                                   KHACHATRYAN, AN
 20                      vs.                       INDIVIDUAL; B. A. J, A MINOR;
                                                   AND I.M, A MINOR’S SECOND
 21                                                SUPPLEMENTAL RULE 26(A)(1)
                                                   INITIAL DISCLOSURES
 22 1 HOTEL WEST HOLLYWOOD,
    L.L.C.; SH GROUP OPERATIONS,                   Honorable Otis D. Wright II
 23 L.L.C.; SH GROUP GLOBAL IP                     Honorable Charles F. Eick
    HOLDINGS, L.L.C; and DOES 1
 24 through 70, inclusive,                         Complaint Filed: December 27, 2023
                    Defendants.                    Trial Date: April 29, 2025
 25
 26
 27
 28
                                                   1
      PLAINTIFFS SUNNY KHACHATRYAN, AN INDIVIDUAL; TATEVIK KHACHATRYAN, AN INDIVIDUAL; B. A. J, A
           MINOR; AND I.M, A MINOR’S SECOND SUPPLEMENTAL RULE 26(A)(1) INITIAL DISCLOSURES
                                                                           Case No. 2:23-cv-10829-ODW-E
Case 2:23-cv-10829-ODW-E       Document 49-2 Filed 08/19/24        Page 27 of 136 Page
                                     ID #:415



  1         Pursuant to Rule 26(a)(1) of the Federal Rules of Civil Procedure, Plaintiffs
  2 SUNNY        KHACHATRYAN, an individual (“S. Khachatryan”; TATEVIK
  3 KHACHATRYAN, an individual (“T. Khachatryan”); B. A. J, a minor (“B.A.J.”);
  4 and I.M, a minor, (“I.M”, collectively with S. Khachatryan; T. Khachatryan and
  5 B.A.J, known as the “Plaintiffs”), through their counsel, provides the following
  6 initial disclosures. Plaintiffs reserve the right to amend, revise or supplement these
  7 disclosures in supplemental disclosures served under Fed. R. Civ. P. Rules 26(a)(1)
  8 or 26(e)(1), in written discovery responses, in deposition testimony, or by any other
  9 means as the case progresses.
 10 I.      PRELIMINARY STATEMENT
 11         Plaintiffs’ initial disclosures are based on information reasonably available to
 12 Plaintiffs as of the date of these disclosures. Plaintiffs' pre-trial discovery,
 13 investigation, and analysis have not been completed, and it is anticipated further
 14 discovery, investigation, research, as well as the analysis of any existing discovery,
 15 may supply additional facts, add meaning to known facts, or establish entirely new
 16 factual conclusions. Plaintiffs reserve the right to amend or supplement these
 17 disclosures in the event Plaintiffs subsequently discovers additional relevant facts,
 18 information, or documents pursuant to Rule 26(e) of the Federal Rules of Civil
 19 Procedure. By making these disclosures, Plaintiffs do not represent any particular
 20 document exists within their possession, custody, or control.
 21         The lists of witnesses and documents set forth herein are preliminary and are
 22 neither intended nor represented to be final. Plaintiffs expressly reserve the right to
 23 identify and call as witnesses persons in addition to those listed below if during
 24 Plaintiffs' discovery and investigation, Plaintiffs discover additional persons with
 25 knowledge of relevant facts and information.
 26         Plaintiffs do not waive any applicable privileges, and specifically reserves
 27 those privileges including, but not limited to, the attorney-client privilege and the
 28 attorney work product doctrine. These disclosures are made subject to and without
                                             2
      PLAINTIFFS SUNNY KHACHATRYAN, AN INDIVIDUAL; TATEVIK KHACHATRYAN, AN INDIVIDUAL; B. A. J, A
           MINOR; AND I.M, A MINOR’S SECOND SUPPLEMENTAL RULE 26(A)(1) INITIAL DISCLOSURES
                                                                          Case No. 2:23-cv-10829-ODW(Ex)
Case 2:23-cv-10829-ODW-E       Document 49-2 Filed 08/19/24        Page 28 of 136 Page
                                     ID #:416



  1 limiting any of the foregoing reservations.
  2 II.     RULE 26(a)(1) INITIAL DISCLOSURES
  3         A.     LIST OF WITNESSES
  4         Pursuant to Rule 26(a)(1)(A)(i)–The name and, if known, the address and
  5 telephone number of each individual likely to have discoverable information–along
  6 with the subjects of that information–that the disclosing party may use to support his
  7 or her claims or defenses, unless the use would be solely for impeachment:
  8       Name of Person        Person’s Address and Telephone             Description of
  9
                                           Number                         What the Person
                                                                               Knows
 10   Sunny                   c/o TYLER R. DOWDALL                        Discoverable
      Khachatryan, an         tdowdall@tarterkrinsky.com                   Knowledge
 11                           RENATA A. GUIDRY
      individual              rguidry@tarterkrinsky.com                    regarding the
 12   (Plaintiff)             TARTER KRINSKY &                             allegations in the
 13                           DROGIN LLP                                   operative
                              2029 Century Park East, Suite 400N           complaint
 14
                              Los Angeles, CA 90067
 15
                              BRIAN BLOOM (pro hac vice)
 16                           bbloom@tarterkrinsky.com
                              ELIEZER LEKHT (pro hac vice)
 17                           elekht@tarterkrinsky.com
                              TARTER KRINSKY & DROGIN
 18                           LLP
                              1350 Broadway
 19                           New York, New York 10018
                              Telephone: (212) 574-0350
 20                           Facsimile: (212) 216-8001
 21                           c/o TYLER R. DOWDALL                        Discoverable
      Tatevik
 22   Khachatryan, an         tdowdall@tarterkrinsky.com                   Knowledge
                              RENATA A. GUIDRY                             regarding the
      individual              rguidry@tarterkrinsky.com                    allegations in the
 23                                                                        operative
      (Plaintiff)             TARTER KRINSKY &
 24                                                                        complaint
                              DROGIN LLP
 25                           2029 Century Park East, Suite 400N
                              Los Angeles, CA 90067
 26
 27                           BRIAN BLOOM (pro hac vice)
                              bbloom@tarterkrinsky.com
 28                           ELIEZER LEKHT (pro hac vice)
                                                   3
      PLAINTIFFS SUNNY KHACHATRYAN, AN INDIVIDUAL; TATEVIK KHACHATRYAN, AN INDIVIDUAL; B. A. J, A
           MINOR; AND I.M, A MINOR’S SECOND SUPPLEMENTAL RULE 26(A)(1) INITIAL DISCLOSURES
                                                                          Case No. 2:23-cv-10829-ODW(Ex)
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  1                           elekht@tarterkrinsky.com
                              TARTER KRINSKY & DROGIN
  2                           LLP
                              1350 Broadway
  3                           New York, New York 10018
                              Telephone: (212) 574-0350
  4                           Facsimile: (212) 216-8001
  5
  6   B.A.J., an minor        c/o TYLER R. DOWDALL                        Discoverable
      (Plaintiff)             tdowdall@tarterkrinsky.com                   Knowledge
  7                           RENATA A. GUIDRY                             regarding the
                              rguidry@tarterkrinsky.com                    allegations in the
  8                           TARTER KRINSKY &                             operative
                                                                           complaint
  9                           DROGIN LLP
                              2029 Century Park East, Suite 400N
 10                           Los Angeles, CA 90067
 11
 12                           BRIAN BLOOM (pro hac vice)
                              bbloom@tarterkrinsky.com
 13                           ELIEZER LEKHT (pro hac vice)
                              elekht@tarterkrinsky.com
 14                           TARTER KRINSKY & DROGIN
                              LLP
 15                           1350 Broadway
                              New York, New York 10018
 16                           Telephone: (212) 574-0350
                              Facsimile: (212) 216-8001
 17
 18   I.M., a minor           c/o TYLER R. DOWDALL                        Discoverable
      (Plaintiff)             tdowdall@tarterkrinsky.com                   Knowledge
 19                           RENATA A. GUIDRY                             regarding the
                              rguidry@tarterkrinsky.com                    allegations in the
 20                           TARTER KRINSKY &                             operative
                                                                           complaint
                              DROGIN LLP
 21
                              2029 Century Park East, Suite 400N
 22                           Los Angeles, CA 90067
 23
                              BRIAN BLOOM (pro hac vice)
 24                           bbloom@tarterkrinsky.com
                              ELIEZER LEKHT (pro hac vice)
 25                           elekht@tarterkrinsky.com
                              TARTER KRINSKY & DROGIN
 26                           LLP
                              1350 Broadway
 27                           New York, New York 10018
                              Telephone: (212) 574-0350
 28                           Facsimile: (212) 216-8001
                                                   4
      PLAINTIFFS SUNNY KHACHATRYAN, AN INDIVIDUAL; TATEVIK KHACHATRYAN, AN INDIVIDUAL; B. A. J, A
           MINOR; AND I.M, A MINOR’S SECOND SUPPLEMENTAL RULE 26(A)(1) INITIAL DISCLOSURES
                                                                          Case No. 2:23-cv-10829-ODW(Ex)
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                                     ID #:418



  1   Stephanie Berland       DDO Agency                                  Discoverable
      – Publicis New          Att: Marlene Sutton                          Knowledge
  2                                                                        regarding the
      York                    VIA E-MAIL:                                  allegations in the
  3                           marlene@ddoagency.com                        operative
                                                                           complaint
  4
      Recess Studios          Recess Studios LLC                          Discoverable
  5   LLC                     350 SE Mill St.                              Knowledge
                                                                           regarding the
  6                           Portland, OR 97214                           allegations in the
                                                                           operative
  7                                                                        complaint
  8                                                                       Discoverable
      Dick’s Sporting         Principal/Mailing Address:
  9   Goods, Inc.             345 Court Street                             Knowledge
                                                                           regarding the
                              Coraopolis, PA 15108                         allegations in the
 10                                                                        operative
 11                           California Registered Agent SOP:             complaint
                              1505 Corporation
 12
                              CSC - LAWYERS
 13                           INCORPORATING SERVICE
                              2710 GATEWAY OAKS DRIVE,
 14
                              SACRAMENTO, CA
 15
      The Gap, Inc.           Principal:                                  Discoverable
 16                                                                        Knowledge
                              2 Folsom Street                              regarding the
 17                           San Francisco, California 94105              allegations in the
                                                                           operative
 18                                                                        complaint
                              Mailing Address:
 19                           PO Box 27809; Attn: Annual
 20
                              Reports
                              Albuquerque, New Mexico 87125
 21
 22
                              CA Agent SOP:
                              1505 Corporation
 23                           CT Corporation System
 24                           330 N. Brand Blvd.
                              Glendale, California
 25
 26   Talent Agent:           Contact information unknown;                Discoverable
      Celith Santiago         Plaintiff will supplement this               Knowledge
 27
                                                                           regarding the
                              disclosure should contact                    allegations in the
 28                           information be obtained.                     operative
                                                   5
      PLAINTIFFS SUNNY KHACHATRYAN, AN INDIVIDUAL; TATEVIK KHACHATRYAN, AN INDIVIDUAL; B. A. J, A
           MINOR; AND I.M, A MINOR’S SECOND SUPPLEMENTAL RULE 26(A)(1) INITIAL DISCLOSURES
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  1                                                                        complaint
  2   Boot Barn, Inc.         Principal/Mailing Address:                  Discoverable
                              15345 Barranca Parkway                       Knowledge
  3                                                                        regarding the
                              Irvine, CA 92618                             allegations in the
  4                           Phone: 949.453.4400                          operative
                              Fax: 949.453.4401                            complaint
  5
  6                           CA Agent SOP:
  7                           1505 Corporation
                              CSC - LAWYERS
  8                           INCORPORATING SERVICE
  9                           2710 Gateway Oaks Drive
                              Sacramento, CA
 10
 11   Levi Strauss & Co.      Principal/Mailing Address:                  Discoverable
                              1155 Battery Street                          Knowledge
 12                                                                        regarding the
                              San Francisco, California 94111              allegations in the
 13                                                                        operative
                                                                           complaint
 14
      Mhair Zeitounian,       Reload Management                           Discoverable
 15   Reload                  (818) 636-6813                               Knowledge
                                                                           regarding the
      Management              mhair@reloadmanagement.com                   allegations in the
 16
                                                                           operative
 17                                                                        complaint

 18   Abercrombie &           Principal/Mailing Address:                  Discoverable
      Fitch Management        6301 Fitch Path                              Knowledge
 19                                                                        regarding the
      Co.                     New Albany, Ohio 43054                       allegations in the
 20                                                                        operative
                              CA Agent SOP:                                complaint
 21                           330 N. Brand Blvd.
 22                           Glendale, California
 23   What’s Your             Principal/Mailing Address/CA Agent  Discoverable
      Starch LLC as           SOP:                                 Knowledge
 24                                                                regarding the
      agent for Starch        1010 W. 17th St.                     allegations in the
 25   Creative, LT,           Costa Mesa, California 92627         operative
      Adidas, and other                                            complaint
 26
      third party
 27
      companies
 28
                                                   6
      PLAINTIFFS SUNNY KHACHATRYAN, AN INDIVIDUAL; TATEVIK KHACHATRYAN, AN INDIVIDUAL; B. A. J, A
           MINOR; AND I.M, A MINOR’S SECOND SUPPLEMENTAL RULE 26(A)(1) INITIAL DISCLOSURES
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  1   Amsel, Eisenstadt, Katie Kessler                                    Discoverable
      Frazier & Hinojosa Assistant to Nicole Jolley, Milton                Knowledge
  2                                                                        regarding the
      Inc (“AEFH”)       Perea & Katelyn Giroux                            allegations in the
  3                      Amsel, Eisenstadt, Frazier &                      operative
                         Hinojosa Inc.                                     complaint
  4
                         5055 Wilshire Blvd. Suite 865
  5                      Los Angeles, CA 90036
  6                      o- 323-939-1188 x.1021
                         f- 323-939-0630
  7                      assistant@aefhtalent.com
  8
                              CA Agent SOP:
  9                           Michael E. Eisenstadt
 10                           5055 Wilshire Blvd. Suite 865
                              Los Angeles, CA 90036
 11
 12   LA MODELS               Jackie Hau                                  Discoverable
      JUNIOR                  Director | Junior Division                   Knowledge
 13                                                                        regarding the
                              7700 West Sunset Blvd.                       allegations in the
 14                           Los Angeles, CA 90046                        operative
                              P: 323 436 7700                              complaint
 15                           C: 323 352 4187
 16
      LA TALENT               Jeremy Apody / Director of Youth            Discoverable
 17                           Talent                                       Knowledge
                                                                           regarding the
 18                           7700 W Sunset Blvd                           allegations in the
                              Los Angeles, CA 90046                        operative
 19                           P: 323-436-7777 Ext. 2046 F: 323-            complaint
 20                           436-7788
                              japody@latalent.com
 21
 22   PALOMA                  Paloma Jackson                   Discoverable
      MODELS AND              323-800-7500                      Knowledge
 23                                                             regarding the
      TALENT                  paloma@palomamodelandtalent.com allegations in the
 24                                                             operative
                                                                complaint
 25   DDO KIDS                Bri Curtis                       Discoverable
                              Youth Division Agent              Knowledge
 26                                                             regarding the
                              P:323-462-8000                    allegations in the
 27                           bri@ddoagency.com                 operative
                                                                complaint
 28
                                                   7
      PLAINTIFFS SUNNY KHACHATRYAN, AN INDIVIDUAL; TATEVIK KHACHATRYAN, AN INDIVIDUAL; B. A. J, A
           MINOR; AND I.M, A MINOR’S SECOND SUPPLEMENTAL RULE 26(A)(1) INITIAL DISCLOSURES
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  1                           4605 Lankershim Blvd, Suite 340,
  2
                              North Hollywood, CA 91602

  3
  4   Person Most             c/o Defendants’ counsel of record           Discoverable
      Knowledgeable at                                                     Knowledge
  5
                                                                           regarding the
      SH Hotels &                                                          allegations in the
  6   Resorts, (Person                                                     operative
      Most                                                                 complaint
  7   Knowledgeable for
  8   Defendants)

  9         B.     LIST OF DOCUMENTS AND THINGS
 10         Plaintiffs identify the following categories of documents that Plaintiffs
 11 presently believe they may use to support their claims. This information is based on
 12 Plaintiffs’ investigation to date, which is ongoing and Plaintiffs specifically reserve
 13 the right to identify additional categories and locations of documents as discovery
 14 proceeds:
 15
      Category of Documents                        Location of Documents
 16
        Documents relating to Defendants’                   SH Hotels & Resorts
 17      defenses.                                            c/o Clark Hill LLP
        Documents relating to Defendants’               600 West Broadway, Suite 500
 18
         posting and use of the photograph;                  San Diego CA 92101
 19     Inventory and sales of the products
 20      depicted in the photograph
        Defendants’ internal
 21      communications regarding use of
 22      the photographs
 23     Documents relating to Plaintiffs’              c/o Tarter Krinsky & Drogin, LLP
         modeling work                                 2029 Century Park East, Suite 400N
 24                                                          Los Angeles, CA 90067
 25
 26         Plaintiffs expressly reserve the right to amend or supplement these responses
 27 to reflect information acquired through discovery or other means.
 28
                                                   8
      PLAINTIFFS SUNNY KHACHATRYAN, AN INDIVIDUAL; TATEVIK KHACHATRYAN, AN INDIVIDUAL; B. A. J, A
           MINOR; AND I.M, A MINOR’S SECOND SUPPLEMENTAL RULE 26(A)(1) INITIAL DISCLOSURES
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  1         C.     PLAINTIFFS/CLAIMANTS: DAMAGES CALCULATION
  2         Rule 26(a)(1)(A)(iii)–A computation of each category of damages claimed by
  3 the disclosing party, who must also make available for inspection and copying as
  4 under Rule 34 the documents or other evidentiary material (unless privileged or
  5 protected from disclosure) on which each computation is based, including materials
  6 bearing on the nature and extent of injuries suffered:
  7         Plaintiffs seek monetary relief of actual damages in the amount of $2,000,000.
  8         D.     DEFENDANT(S): LIABILITY INSURANCE
  9         Rule 26(a)(1)(A)(iv)–For inspection and copying as under Rule 34, any
 10 insurance agreement under which an insurance business may be liable to satisfy all or
 11 part of a possible judgment in the action or to indemnify or reimburse for payments
 12 made to satisfy the judgment:
 13         Plaintiffs are unaware of any insurance.
 14 III.    CERTIFICATION
 15         The undersigned counsel certifies under Rule 26(g)(1)(A) to the best of their
 16 knowledge, information, and belief, formed after a reasonable inquiry, that these
 17 disclosures are complete and correct as of this date.
 18
 19                          (Attorney signatures on following page)
 20
 21
 22
 23
 24
 25
 26
 27
 28
                                                   9
      PLAINTIFFS SUNNY KHACHATRYAN, AN INDIVIDUAL; TATEVIK KHACHATRYAN, AN INDIVIDUAL; B. A. J, A
           MINOR; AND I.M, A MINOR’S SECOND SUPPLEMENTAL RULE 26(A)(1) INITIAL DISCLOSURES
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                                     ID #:423



  1 DATED: June 21, 2024                    TARTER KRINSKY & DROGIN LLP
  2
  3
  4
                                            By:         /s/ Brian Bloom
                                                  Tyler R. Dowdall, State Bar No. 258950
  5                                               tdowdall@tarterkrinsky.com
  6                                               Renata A. Guidry, State Bar No. 227713
                                                  rguidry@tarterkrinsky.com
  7                                               TARTER KRINSKY & DROGIN LLP
  8                                               2029 Century Park East, Suite 400N
                                                  Los Angeles, California 90067
  9                                               Telephone: (424) 330-8580
 10                                               Facsimile:    (315) 512-1465
 11                                               Brian Bloom (pro hac vice)
 12                                               bbloom@tarterkrinsky.com
                                                  Eliezer Lekht (pro hac vice)
 13                                               elekht@tarterkrinsky.com
 14                                               TARTER KRINSKY & DROGIN LLP
                                                  1350 Broadway
 15                                               New York, New York 10018
 16                                               Telephone: (212) 574-0350
                                                  Facsimile: (212) 216-8001
 17
 18                                         Attorneys for Plaintiffs Sunny Khachatryan,
                                            Tatevik Khachatryan, B.A.J, a minor and I.M, a
 19                                         minor
 20
 21
 22
 23
 24
 25
 26
 27
 28
                                                   10
      PLAINTIFFS SUNNY KHACHATRYAN, AN INDIVIDUAL; TATEVIK KHACHATRYAN, AN INDIVIDUAL; B. A. J, A
           MINOR; AND I.M, A MINOR’S SECOND SUPPLEMENTAL RULE 26(A)(1) INITIAL DISCLOSURES
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  1                    CERTIFICATE OF SERVICE
           SUNNY KHACHATRYAN, an individual, et al. v. 1 HOTEL WEST
  2
                         HOLLYWOOD, L.L.C
  3
  4
      STATE OF CALIFORNIA, COUNTY OF LOS ANGELES

  5
          At the time of service, I was over 18 years of age and not a party to this
    action. I am employed in the County of Los Angeles, State of California. My
  6 business address is 2029 Century Park East, Suite 400N, Los Angeles, CA 90067.
  7
          On June 21, 2024, I served true copies of the following document(s)
  8 described as PLAINTIFFS SUNNY KHACHATRYAN, AN INDIVIDUAL;
  9 TATEVIK KHACHATRYAN, AN INDIVIDUAL; B. A. J, A MINOR; AND
    I.M, A MINOR’S SECOND SUPPLEMENTAL RULE 26(A)(1) INITIAL
 10 DISCLOSURES on the interested parties in this action as follows:
 11
             CLARK HILL LLP                        Attorneys for Defendants 1
 12          Myriah Jaworski                       HOTEL WESTHOLLYWOOD,
 13          mjaworski@clarkhill.com               L.L.C.; SH GROUP
             One America Plaza                     OPERATIONS, L.L.C.;
 14          600 West Broadway, Suite 500          SH GROUP GLOBAL IP
 15          San Diego, CA 92101                   HOLDINGS, L.L.C.
             Telephone: (619) 557-0404
 16          Facsimile: (619) 557-0460
 17        BY E-MAIL OR ELECTRONIC TRANSMISSION: I caused a copy of
    the document(s)  to be sent from e-mail address BGenser@tarterkrinsky.com to the
 18 persons at the e-mail  addresses listed in the Service List. I did not receive, within a
    reasonable  time after the transmission, any electronic message or other indication
 19 that the transmission was   unsuccessful.
 20
           I declare under penalty of perjury under the laws of the State of California that
 21 the foregoing  is true and correct.
 22        Executed on June 21, 2024, at Los Angeles, California.
 23
 24
 25                                               /s/ Brooke M. Genser
                                                  Brooke M. Genser
 26
 27
 28
                                                   11
      PLAINTIFFS SUNNY KHACHATRYAN, AN INDIVIDUAL; TATEVIK KHACHATRYAN, AN INDIVIDUAL; B. A. J, A
           MINOR; AND I.M, A MINOR’S SECOND SUPPLEMENTAL RULE 26(A)(1) INITIAL DISCLOSURES
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                             Exhibit 5
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                                                    ID #:426

Dolce, Nicolas

From:                              Jaworski, Myriah
Sent:                              Friday, July 12, 2024 10:43 AM
To:                                Tyler R. Dowdall; Brian A. Bloom; Dolce, Nicolas
Cc:                                Eliezer Lekht; Lisa Niewdach; Patel, Chirag; Brooke Genser
Subject:                           Khachatryan v. SH Group - Discovery, Disclosures, Notice of Depo
Attachments:                       SH Group- Dep Notice_S.Khachatryan.pdf


Counsel,

First, we look forward to Plain ﬀs responses and produc on to defendants discovery demands, which are due July 15.

Next, a ached is a no ce of deposi on for Sunny Khachatryan, which is being served today. We would like to schedule
her deposi on in early August. Please provide us with some proposed dates.

Last, Plain ﬀs’ damages disclosures under Rule 26(a)(1)(A)(iii) remain incomplete.

Plain ﬀs’ Second Supplemental Rule 26 Ini al Disclosures simply states: “Plain ﬀs seek monetary relief of actual
damages in the amount of $2,000,000” – this is defec ve under law. Spin Master, Ltd. v. Zobmondo Ent., LLC, No.
CV063459ABCPLAX, 2011 WL 13127349, n.12 (C.D. Cal. Sept. 15, 2011), on reconsidera on in part, No.
CV063459ABCPLAX, 2011 WL 13127211 (C.D. Cal. Oct. 13, 2011) (“category of 'actual damages’ is meaningless as a
‘category’ because it says nothing about the type of actual damages sought.”).

Rule 26 computa ons require that the Plain ﬀ provide an analysis of alleged damages; enough so that the opposing
party can “understand the contours of its poten al exposure and make informed decisions as to se lement and
discovery.” City & Cty. of San Francisco v. Tutor-Saliba Corp., 218 F.R.D. 219, 221 (N.D. Cal. 2003); see also Frontline Med.
Assocs., Inc. v. Coventry Health Care, 263 F.R.D. 567, 570 (C.D. Cal. 2009) (ﬁnding insuﬃcient disclosure of damages
based on “lost referrals” because the plain ﬀ provided “no computa on whatsoever” for that category).

The lump sum total provided by Plain ﬀs is improper, and Defendant is unable to properly analyze the alleged claims
and damages exposure – an approach which has been explicitly rejected by courts. See Tutor-Saliba Corp., 218 F.R.D. at
221–22 (rejec ng plain ﬀs' aggrega on of all compensatory damages for all claims, requiring instead that the plain ﬀs
distribute their damages among the several contracts at issue and among their separate claims).

Please provide Defendants with a complete and suﬃcient damages computa on, outlining the exact damages Plain ﬀs
seek, to us not later than this Wednesday, July 12.

Defendants reserve all rights, including under Rule 37, to move to prohibit the use at trial of any informa on required to
be disclosed by Rule 26(a) that is not properly disclosed.

Thanks,
Myriah

From: Tyler R. Dowdall <tdowdall@tarterkrinsky.com>
Sent: Tuesday, June 11, 2024 12:25 AM
To: Jaworski, Myriah <mjaworski@clarkhill.com>; Brian A. Bloom <bbloom@tarterkrinsky.com>; Dolce, Nicolas
<ndolce@clarkhill.com>
Cc: Eliezer Lekht <elekht@tarterkrinsky.com>; Lisa Niewdach <lniewdach@tarterkrinsky.com>; Patel, Chirag

                                                              1
      Case 2:23-cv-10829-ODW-E                    Document 49-2 Filed 08/19/24       Page 39 of 136 Page
                                                        ID #:427
<cpatel@clarkhill.com>; Brooke Genser <bgenser@tarterkrinsky.com>
Subject: RE: Khachatryan v. SH Group - Defendants' Discovery Deficiency Correspondence

[External Message]


Myriah,

Please see the attached. We’ll formally serve this tomorrow.

                     Tyler R. Dowdall | Partner
                     T: 424-330-8580| F: 212-216-8001
                     tdowdall@tarterkrinsky.com| Bio
                     Tarter Krinsky & Drogin LLP
                     2029 Century Park East, Suite 400N| Los Angeles | CA| 90067
                     www.tarterkrinsky.com| LinkedIn


                     Crain's 2023 best places to work in NYC
From: Jaworski, Myriah <mjaworski@clarkhill.com>
Sent: Monday, June 10, 2024 8:40 AM
To: Brian A. Bloom <bbloom@tarterkrinsky.com>; Tyler R. Dowdall <tdowdall@tarterkrinsky.com>; Dolce, Nicolas
<ndolce@clarkhill.com>
Cc: Eliezer Lekht <elekht@tarterkrinsky.com>; Lisa Niewdach <lniewdach@tarterkrinsky.com>; Patel, Chirag
<cpatel@clarkhill.com>
Subject: [EXT] RE: Khachatryan v. SH Group - Defendants' Discovery Deficiency Correspondence

Brian – we expect the updated supplemental disclosures from plain ﬀs by COB today.

Thanks,
Myriah

From: Brian A. Bloom <bbloom@tarterkrinsky.com>
Sent: Thursday, June 6, 2024 12:24 PM
To: Jaworski, Myriah <mjaworski@clarkhill.com>; Tyler R. Dowdall <tdowdall@tarterkrinsky.com>; Dolce, Nicolas
<ndolce@clarkhill.com>
Cc: Eliezer Lekht <elekht@tarterkrinsky.com>; Lisa Niewdach <lniewdach@tarterkrinsky.com>; Patel, Chirag
<cpatel@clarkhill.com>; Brian A. Bloom <bbloom@tarterkrinsky.com>
Subject: RE: Khachatryan v. SH Group - Defendants' Discovery Deficiency Correspondence

[External Message]


Myriah –

We just received the requested information from our clients this week and will be sending over supplemental
disclosures to you shortly. We apologize for the delay but do not believe your client has been harmed. We
certainly conducted our due diligence before ﬁling our Complaint. Your client certainly did NOT take appropriate
precautions before using our minor client’s images publicly for its own commercial gain.

All rights remain reserved.
All the best,
Brian

                                                                 2
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                                                      ID #:428

                     Brian A. Bloom| Partner
                     T: 212-574-0350| T: 516-464-3570| M: 516-330-8123
                     bbloom@tarterkrinsky.com | Bio
                     Tarter Krinsky & Drogin LLP
                     1350 Broadway| New York| NY | 10018
                     www.tarterkrinsky.com| LinkedIn


                     Crain's 2023 best places to work in NYC
From: Jaworski, Myriah <mjaworski@clarkhill.com>
Sent: Thursday, June 6, 2024 12:19 PM
To: Tyler R. Dowdall <tdowdall@tarterkrinsky.com>; Dolce, Nicolas <ndolce@clarkhill.com>; Brian A. Bloom
<bbloom@tarterkrinsky.com>
Cc: Eliezer Lekht <elekht@tarterkrinsky.com>; Lisa Niewdach <lniewdach@tarterkrinsky.com>; Patel, Chirag
<cpatel@clarkhill.com>
Subject: [EXT] RE: Khachatryan v. SH Group - Defendants' Discovery Deficiency Correspondence

Brian,

One month ago, on May 9, we wrote to you to request that the Khachatryan plain ﬀs update their ini al disclosures to
include the iden es and contact informa on for the branding deals, modeling contracts, and talent agents with whom
the minor children allegedly have contracts – including speciﬁcally the iden ty of those involved in considera on of the
minors’ “mul -million dollar hotel endorsement” and contacts with “several ﬁve star hotel chains.” Comp’l. ¶ 7. As you
know, this informa on is the basis for Plain ﬀs’ claims, and speciﬁcally their calcula on of poten al damages. This
informa on is discoverable, relevant, and fundamental to SH Group’s defenses.

On May 21 we followed up regarding the status of this informa on, and speciﬁcally asked to meet and confer on the
issue. We were told that you were “wai ng for further informa on from the clients” and would respond to us
shortly. On May 27, we followed up again regarding our request, and have not received a response from you.

There is no jus ﬁca on for your failure to provide this informa on to us. First, this informa on should already be known
to you in connec on with your Rule 11 and other ethical obliga ons to conduct due diligences on these third-party
contracts before including such allega ons in the complaint. See Refac Int'l, Ltd. v. Hitachi Ltd., 141 F.R.D. 281 (C.D. Cal.
1991) (ﬁnding that counsel violated its aﬃrma ve duty to inves gate before a paper is ﬁled with the court and sanc ons
were expressly required under Rule 11); see also Truesdell v. S. Calif. Permanente Med. Group, 209 F.R.D. 169, 173-73 (C.D.
Cal. 2002). Thus, this informa on should be within your possession, readily available and capable of disclosure, and not
something that is only now being “run down” by you with your clients.

Second, your failure to mely provide this informa on is also harmful to SH Group, which has the right to inves gate these
allega ons, present a defense, and prepare for trial. As you know, the par es are subject to the Court’s ordered discovery
schedule, which includes a Fall 2024 fact discovery cut-oﬀ date. Among other things, your failure to mely disclose this
informa on is preven ng SH Group from serving necessary third-party document requests, interrogatories and deposi on
no ces.

Thus, I am wri ng for a ﬁnal me to request that Plain ﬀs supplement their ini al disclosures as requested by SH Group’s
May 9 correspondence, no later than close of business on Monday, June 10.

SH Group reserves all rights and remedies regarding this issue, including the right to seek discovery and case-disposi ve
sanc ons and Rule 11 sanc ons against all counsel of record.

Thanks,
Myriah

                                                                3
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                                                        ID #:429
From: Jaworski, Myriah
Sent: Wednesday, May 29, 2024 1:07 PM
To: Tyler R. Dowdall <tdowdall@tarterkrinsky.com>; Dolce, Nicolas <ndolce@clarkhill.com>; Brian A. Bloom
<bbloom@tarterkrinsky.com>
Cc: Eliezer Lekht <elekht@tarterkrinsky.com>; Lisa Niewdach <lniewdach@tarterkrinsky.com>; Patel, Chirag
<cpatel@clarkhill.com>
Subject: RE: Khachatryan v. SH Group - Defendants' Discovery Deficiency Correspondence

Tyler,

When can we expect this informa on?

Thanks,
Myriah

From: Tyler R. Dowdall <tdowdall@tarterkrinsky.com>
Sent: Tuesday, May 21, 2024 12:14 PM
To: Dolce, Nicolas <ndolce@clarkhill.com>; Brian A. Bloom <bbloom@tarterkrinsky.com>
Cc: Eliezer Lekht <elekht@tarterkrinsky.com>; Lisa Niewdach <lniewdach@tarterkrinsky.com>; Jaworski, Myriah
<mjaworski@clarkhill.com>; Patel, Chirag <cpatel@clarkhill.com>
Subject: RE: Khachatryan v. SH Group - Defendants' Discovery Deficiency Correspondence

[External Message]


Nicolas,

Thanks for the follow up.

We are waiting for further information from the clients and will get back to you.

Thanks,

                     Tyler R. Dowdall | Partner
                     T: 424-330-8580| F: 212-216-8001
                     tdowdall@tarterkrinsky.com| Bio
                     Tarter Krinsky & Drogin LLP
                     2029 Century Park East, Suite 400N| Los Angeles | CA| 90067
                     www.tarterkrinsky.com| LinkedIn


                     Crain's 2023 best places to work in NYC
From: Dolce, Nicolas <ndolce@clarkhill.com>
Sent: Tuesday, May 21, 2024 8:20 AM
To: Brian A. Bloom <bbloom@tarterkrinsky.com>
Cc: Tyler R. Dowdall <tdowdall@tarterkrinsky.com>; Eliezer Lekht <elekht@tarterkrinsky.com>; Lisa Niewdach
<lniewdach@tarterkrinsky.com>; Jaworski, Myriah <mjaworski@clarkhill.com>; Patel, Chirag <cpatel@clarkhill.com>
Subject: [EXT] RE: Khachatryan v. SH Group - Defendants' Discovery Deficiency Correspondence

Counsel,




                                                                 4
         Case 2:23-cv-10829-ODW-E                             Document 49-2 Filed 08/19/24                                Page 42 of 136 Page
                                                                    ID #:430
I am following up on Defendants’ previously issued discovery correspondence, rea ached here for convenience. Given
the lack of response to Defendants’ correspondence, we request to meet and confer on Plain ﬀs’ deﬁcient disclosures.
Please propose some dates and mes that you are available to confer either this week or next.

Respec ully,

Nicolas V. Dolce
Attorney at Law
Clark Hill
130 E. Randolph Street, Suite 3900, Chicago, IL 60601
+1 312.360.2113 (office) | +1 312.517.7580 (fax)
ndolce@clarkhill.com | www.clarkhill.com


From: Dolce, Nicolas
Sent: Thursday, May 9, 2024 12:22 PM
To: Brian A. Bloom <bbloom@tarterkrinsky.com>
Cc: Tyler R. Dowdall <tdowdall@tarterkrinsky.com>; Eliezer Lekht <elekht@tarterkrinsky.com>; Lisa Niewdach
<lniewdach@tarterkrinsky.com>; Jaworski, Myriah <mjaworski@clarkhill.com>; Patel, Chirag <cpatel@clarkhill.com>
Subject: Khachatryan v. SH Group - Defendants' Discovery Deficiency Correspondence

Counsel,

Pursuant to Local Rule 37-1, please ﬁnd a ached Defendants’ discovery correspondence concerning deﬁciencies in
Plain ﬀs’ Rule 26 ini al disclosures.

Respec ully,

Nicolas V. Dolce
Attorney at Law
Clark Hill
130 E. Randolph Street, Suite 3900, Chicago, IL 60601
+1 312.360.2113 (office) | +1 312.517.7580 (fax)
ndolce@clarkhill.com | www.clarkhill.com




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anything you send by regular mail or delivery, including issuing remittances electronically. Please contact our receptionist at reception@tarterkrinsky.com or by
phone at 212-216-8000 with any questions. Thank you in advance for your courtesies.

NOTE: If regular mailing or other specific transmission type is required by terms of a contract, order or statute, please comply with those obligations and transmit
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be disclosed to any person without our authority. If you are not the intended recipient, or a person responsible for delivering it to the intended recipient, you are not
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Tarter Krinsky & Drogin LLP, Attorneys-at-Law.




                                                                                    5
         Case 2:23-cv-10829-ODW-E                             Document 49-2 Filed 08/19/24                                Page 43 of 136 Page
                                                                    ID #:431

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anything you send by regular mail or delivery, including issuing remittances electronically. Please contact our receptionist at reception@tarterkrinsky.com or by
phone at 212-216-8000 with any questions. Thank you in advance for your courtesies.

NOTE: If regular mailing or other specific transmission type is required by terms of a contract, order or statute, please comply with those obligations and transmit
the materials by the means set forth in the agreement, order or statute as well as by email.

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(addressee(s). This information may be subject to attorney/client privilege or may otherwise be protected by work product privilege or other legal rules. It must not
be disclosed to any person without our authority. If you are not the intended recipient, or a person responsible for delivering it to the intended recipient, you are not
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anything you send by regular mail or delivery, including issuing remittances electronically. Please contact our receptionist at reception@tarterkrinsky.com or by
phone at 212-216-8000 with any questions. Thank you in advance for your courtesies.

NOTE: If regular mailing or other specific transmission type is required by terms of a contract, order or statute, please comply with those obligations and transmit
the materials by the means set forth in the agreement, order or statute as well as by email.

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(addressee(s). This information may be subject to attorney/client privilege or may otherwise be protected by work product privilege or other legal rules. It must not
be disclosed to any person without our authority. If you are not the intended recipient, or a person responsible for delivering it to the intended recipient, you are not
authorized to disclose, and must not disclose, copy, distribute, or retain this message or any part of it.

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Tarter Krinsky & Drogin LLP, Attorneys-at-Law.




                                                                                    6
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                                 ID #:432




                             Exhibit 6
Case 2:23-cv-10829-ODW-E       Document 49-2 Filed 08/19/24           Page 45 of 136 Page
                                     ID #:433


   1    CLARK HILL LLP
        Myriah Jaworski (SBN 336898)
   2    mjaworski@clarkhill.com
        One America Plaza
   3    600 West Broadway, Suite 500
        San Diego, CA 92101
   4    Telephone: (619) 557-0404
        Facsimile: (619) 557-0460
   5
        Attorneys for Defendants 1 HOTEL WEST
   6    HOLLYWOOD, L.L.C.; SH GROUP OPERATIONS,
        L.L.C.; SH GROUP GLOBAL IP HOLDINGS, L.L.C.
   7

   8                           UNITED STATES DISTRICT COURT
   9                          CENTRAL DISTRICT OF CALIFORNIA
  10

  11
       SUNNY KHACHATRYAN, AN                            Case No. 2:23-cv-10829-ODW-E
  12   INDIVIDUAL; TATEVIK
       KHACHATRYAN, AN INDIVIDUAL;
  13   BRAVE ANGELO JOHNSON, A                          DEFENDANTS 1 HOTEL WEST
       MINOR; AND ISABELLA MURRAY,                      HOLLYWOOD, L.L.C.; SH GROUP
  14   A MINOR,                                         OPERATIONS, L.L.C.; SH GROUP
                                                        GLOBAL IP HOLDINGS, L.L.C.’S
  15                                  Plaintiffs,       FIRST SET OF INTERROGATORIES
                                                        TO PLAINTIFF SUNNY
  16          v.                                        KHACHATRYAN
  17   1 HOTEL WEST HOLLYWOOD,
       L.L.C.; SH GROUP OPERATIONS,
  18   L.L.C.; SH GROUP GLOBAL IP
       HOLDINGS, L.L.C.; AND DOES 1
  19   THROUGH 70, INCLUSIVE,
  20                               Defendants.
  21

  22         Pursuant to Rule 33 of the Federal Rules of Civil Procedure, Defendants
  23   1Hotel West Hollywood, L.L.C.; SH Group Operations, L.L.C.; and SH Group
  24   Global IP Holdings, L.L.C. (collectively, “Defendants”), through its counsel,
  25   requires that Plaintiff Sunny Khachatryan provide full and complete answers, in
  26   writing and under oath, to the following interrogatories within 30 days of the date of
  27   service hereof:
  28
                                                    1                 CASE NO.: 2:23-CV-10829-ODW-E
  30
        DEFENDANTS 1 HOTEL WEST HOLLYWOOD, L.L.C.; SH GROUP OPERATIONS, L.L.C.; SH GROUP GLOBAL IP
  31         HOLDINGS, L.L.C.’S FIRST SET OF INTERROGATORIES TO PLAINTIFF SUNNY KHACHATRYAN

  32
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                                     ID #:434


   1                                         INSTRUCTIONS
   2         A.     All interrogatories shall be answered as required by Rule 33 of the
   3   Federal Rules of Civil Procedure within thirty (30) days of service of these
   4   interrogatories.
   5         B.     In responding to these requests and interrogatories, you are required to
   6   divulge all information and/or documents which are in the possession, custody, or
   7   control of You, Your attorneys, investigators, agents, employees, or other
   8   representatives, or their agents or persons or entities acting or purporting to act on
   9   Your or their behalf. In responding, you must furnish all information available.
  10         C.     If you cannot answer any interrogatory set forth herein in full, after
  11   exercising due diligence to secure the information, so state and answer to the fullest
  12   extent possible, specifying the reasons for Your inability to answer the remainder
  13   and stating whatever information or knowledge You have concerning the
  14   unanswered portion.
  15         D.     If an answer or portion thereof to any request or interrogatory set forth
  16   herein is based upon information and belief, rather than actual knowledge, the
  17   answer should so state, and the source or sources upon which such information and
  18   belief are based should be specifically described and identified.
  19         E.     If You object to any request or interrogatory set forth herein, state the
  20   reasons for the objection with specificity.
  21         F.     If you object to any interrogatory or any portion of an interrogatory on
  22   the ground that the answer reflects or would reveal the substance of a privileged
  23   communication, identify:
  24           (a) the nature of the privilege claimed;
  25           (b) the person who made the communication, whether oral or in writing;
  26           (c) if the communication was oral, all persons present while the
  27                communication was made;
  28           (d) if the communication was written, the author, addressees, and any other
                                                     2                CASE NO.: 2:23-CV-10829-ODW-E
  30
        DEFENDANTS 1 HOTEL WEST HOLLYWOOD, L.L.C.; SH GROUP OPERATIONS, L.L.C.; SH GROUP GLOBAL IP
  31         HOLDINGS, L.L.C.’S FIRST SET OF INTERROGATORIES TO PLAINTIFF SUNNY KHACHATRYAN

  32
Case 2:23-cv-10829-ODW-E         Document 49-2 Filed 08/19/24         Page 47 of 136 Page
                                       ID #:435


   1                  recipients;
   2              (e) the relationship of the author of the communication to each recipient;
   3              (f) the relationship of the persons present to the person who made the
   4                  communication;
   5              (g) the date and place of the communication; and
   6              (h) the general subject matter of the communication.
   7         G.       If you respond to an interrogatory by reference to documents pursuant
   8   to Federal Rule of Civil Procedure 33(d), identify the documents with specificity,
   9   including by identifying the applicable Bates Number range to the extent the
  10   documents are produced in response to document requests in this proceeding.
  11         H.       Where reference is made to any date or figure, in addition to the date or
  12   figure specified, the reference is intended to connote an approximation unless
  13   otherwise stated.
  14         I.       Wherever the singular form of a noun is used, it is intended to and does
  15   apply as well to the plural form of the noun. Whenever the plural form of a noun is
  16   used, it is intended to and does apply as well to the singular form of the noun unless
  17   otherwise specified.
  18         J.       Where an individual interrogatory calls for an answer which involves
  19   more than one part, each part of the answer should be clearly set out so that it is
  20   understandable.
  21         K.       For the convenience of the parties, each interrogatory should be quoted
  22   in full immediately preceding the response.
  23         L.       These interrogatories are continuing requests and require that You
  24   supplement Your answers setting forth any and all information within the scope of
  25   each request and interrogatory as may be acquired by You, Your agents, attorneys
  26   or representatives following the service of Your original answers.
  27

  28
                                                    3                 CASE NO.: 2:23-CV-10829-ODW-E
  30
        DEFENDANTS 1 HOTEL WEST HOLLYWOOD, L.L.C.; SH GROUP OPERATIONS, L.L.C.; SH GROUP GLOBAL IP
  31         HOLDINGS, L.L.C.’S FIRST SET OF INTERROGATORIES TO PLAINTIFF SUNNY KHACHATRYAN

  32
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                                      ID #:436


   1                                        DEFINITIONS
   2          1.     “Defendants” means Defendants 1Hotel West Hollywood, L.L.C., SH
   3   Group Operations, L.L.C., and SH Group Global IP Holdings, L.L.C., the
   4   Defendants in the above-captioned proceeding.
   5          2.     “Plaintiff”, “you,” or “your” means Plaintiff Sunny Khachatryan.
   6          3.     “Plaintiffs” means Plaintiffs Sunny Khachatryan, Tatevik Khachatryan,
   7   B.A.J., and I.M.
   8          4.     “Concerning” means consisting of, referring to, relating to, reflecting,
   9   or being in any way logically or factually connected with the matter discussed.
  10          5.     “Communication” means the transmittal of information (in the form of
  11   facts, ideas, inquiries, or otherwise).
  12          6.     “Date” means the exact day, month, and year if ascertainable, or, if not,
  13   the best available approximation (including relationship to other events).
  14          7.     “Describe” means set forth fully and unambiguously every fact relevant
  15   to the subject of the interrogatory, of which you (including your agents and
  16   representatives) have knowledge or information.
  17          8.     “Document” is synonymous in meaning and equal in scope to its usage
  18   in Federal Rule of Civil Procedure 34(a)(1)(A). The term “document” refers to any
  19   document now or at any time in Plaintiff’s possession, custody, or control. A person
  20   is deemed in control of a document if the person has any ownership, possession, or
  21   custody of the document, or the right to secure the document or a copy thereof from
  22   any person or public or private entity having physical possession thereof.
  23          9.     “Identify” with respect to a person who is an individual means to state
  24   that person’s full name, present or last known address, and current or last known
  25   place of employment.
  26          10.    “Identify” with respect to a person that is not an individual means to
  27   state its: full name, legal form, date of organization, state of incorporation or
  28   organization or other business or license authority, present or last known address and
                                                     4                 CASE NO.: 2:23-CV-10829-ODW-E
  30
         DEFENDANTS 1 HOTEL WEST HOLLYWOOD, L.L.C.; SH GROUP OPERATIONS, L.L.C.; SH GROUP GLOBAL IP
  31          HOLDINGS, L.L.C.’S FIRST SET OF INTERROGATORIES TO PLAINTIFF SUNNY KHACHATRYAN

  32
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   1   telephone number, and the identity of its chief executive officer, partners, or persons
   2   in equivalent positions.
   3         11.      “Identify” with respect to a document means to give, to the extent
   4   known, the (a) type of document; (b) general subject matter; (c) date of the
   5   document; and (d) author(s), addressee(s) and recipient(s). In the alternative, the
   6   responding party may produce the documents, together with identifying information
   7   sufficient to satisfy Rule 33 of the Federal Rules of Civil Procedure.
   8         12.      “Identify” with respect to communications means to give, to the extent
   9   known, (a) a description of the substance of the communication; (b) the form of the
  10   communication (e.g., telephone, facsimile, email, etc.); (c) the identity of each
  11   person that was a party to and/or present at the time of the communication, as well
  12   as the full name, present or last known address, and the current or last known place
  13   of employment of each person; (d) the identity of the person whom you contend
  14   initiated the communication; and (e) the time, date, and place of the communication.
  15         13.      “Minor Plaintiffs” means Plaintiffs B.A.J., a minor, and I.M, a minor.
  16         14.      “Photograph” means the photograph created on or about January 3,
  17   2021, and at issue in the Complaint. See Compl. ¶16, et. seq.
  18         15.      The term “person” means any natural person or any legal entity,
  19   including, but not limited to, any business or governmental entity, organization, or
  20   association.
  21         16.      The terms “and” and “or” shall be construed either conjunctively or
  22   disjunctively as necessary to bring within the scope of the interrogatory all responses
  23   that might otherwise fall outside the scope of this interrogatory.
  24         17.      The term “identity” refers to any attribute of an individual to an
  25   ordinary, reasonable viewer or listener, including but not limited to (i) name, (ii)
  26   signature, (iii) photograph, (iv) (v) signature, (vi) photograph, (vii) image, (viii)
  27   address, or (ix) family member identity information.
  28         18.      The terms “all,” “any,” or “each” encompass any and all of the matter
                                                    5                 CASE NO.: 2:23-CV-10829-ODW-E
  30
        DEFENDANTS 1 HOTEL WEST HOLLYWOOD, L.L.C.; SH GROUP OPERATIONS, L.L.C.; SH GROUP GLOBAL IP
  31         HOLDINGS, L.L.C.’S FIRST SET OF INTERROGATORIES TO PLAINTIFF SUNNY KHACHATRYAN

  32
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   1   discussed.
   2         19.     The use of singular form includes plural, and vice versa.
   3         20.     The use of present tense includes past tense, and vice versa.
   4         21.     The masculine form shall also be construed to include the feminine and
   5   vice versa.
   6                                   INTERROGATORIES
   7         1.      State the full name, current residence address, date of birth, current
   8   telephone number, and Social Security number of the persons responding to these
   9   interrogatories.
  10   RESPONSE:
  11         2.      Identify all documents which concern, refer or relate to, or support the
  12   allegations of the Complaint.
  13   RESPONSE:
  14         3.      As to all damages Plaintiffs claim they has incurred:
  15                 a.    state in detail the factual basis and amount, and
  16                 b.    identify all documents which support Plaintiffs claims for
  17                       statutory damages, attorneys’ fees, litigation expenses, and costs
  18                       of suit.
  19                 c.    identify all documents which support Plaintiffs claims for actual
  20                       damages.
  21   RESPONSE:
  22         4.      Identify all persons who may have any personal knowledge regarding
  23   the allegations contained in the Complaint and state the substance of each person’s
  24   knowledge.
  25   RESPONSE:
  26         5.      Identify all persons whom Plaintiffs intend to call as a witness at trial,
  27   any hearing or deposition in this matter, and for each person identified, identify the
  28   matters about which the witness will testify.
                                                    6                 CASE NO.: 2:23-CV-10829-ODW-E
  30
        DEFENDANTS 1 HOTEL WEST HOLLYWOOD, L.L.C.; SH GROUP OPERATIONS, L.L.C.; SH GROUP GLOBAL IP
  31         HOLDINGS, L.L.C.’S FIRST SET OF INTERROGATORIES TO PLAINTIFF SUNNY KHACHATRYAN

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                                     ID #:439


   1   RESPONSE:
   2         6.     Has Plaintiff ever been a party to any lawsuit? If so, list the name, court
   3   number, jurisdiction and outcome for all such lawsuits, including but not limited to
   4   all bankruptcy filings that Plaintiff has filed within the last ten years, including the
   5   case number and jurisdiction for each such filing and the dates each bankruptcy was
   6   closed.
   7   RESPONSE:
   8         7.     Has Plaintiff ever been convicted of:
   9                a.     crime punishable by imprisonment in excess of 1 year, or
  10                b.     a crime involving dishonesty or false statement? If yes, please
  11                       list the case name, number, jurisdiction and outcome.
  12                c.     A bankruptcy or tax proceeding? If yes, please list the case name,
  13                       number, jurisdiction and outcome.
  14   RESPONSE:
  15         8.     Identify each and every person involved in posting the Photograph to
  16   Instagram as alleged in Paragraph 19 of Plaintiff’s Complaint.
  17   RESPONSE:
  18         9.     Describe all facts supporting the allegations in Paragraph 20 of
  19   Plaintiffs’ Complaint that the Photograph contained “copyright management
  20   information”.
  21   RESPONSE:
  22         10.    Identify each and every person involved in the Instagram messaging
  23   communications with Defendants contained in Paragraphs 7 through 10 of
  24   Defendants’ Affirmative Defenses.
  25   RESPONSE:
  26         11.    Describe all facts supporting the allegations contained in Paragraph 5
  27   of Plaintiffs’ Complaint regarding Minor Plaintiffs’ appearance in “television
  28   commercials, print ads, and other paid commercial uses of their images and
                                                    7                 CASE NO.: 2:23-CV-10829-ODW-E
  30
        DEFENDANTS 1 HOTEL WEST HOLLYWOOD, L.L.C.; SH GROUP OPERATIONS, L.L.C.; SH GROUP GLOBAL IP
  31         HOLDINGS, L.L.C.’S FIRST SET OF INTERROGATORIES TO PLAINTIFF SUNNY KHACHATRYAN

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Case 2:23-cv-10829-ODW-E       Document 49-2 Filed 08/19/24           Page 52 of 136 Page
                                     ID #:440


   1   likeness.” State with specificity each commercial, ad or other paid use of their
   2   image(s) from January 1, 2020 through present day, and provide the relevant
   3   payment and terms for each.
   4   RESPONSE:
   5         12.    Describe all facts supporting the allegations contained in Paragraph 5
   6   of Plaintiffs’ Complaint regarding Minor Plaintiffs’ modeling contracts with Adidas.
   7   RESPONSE:
   8         13.    Describe all facts supporting the allegations contained in Paragraph 17
   9   of Plaintiffs’ Complaint regarding Minor Plaintiffs’ multiple modeling contracts for
  10   “several five-star hotel chains” and consideration for a “multi-million-dollar hotel
  11   endorsement”.
  12   RESPONSE:
  13         14.    State all social media accounts that You have had from January 1, 2020,
  14   through the present (e.g. Facebook, Twitter (or X), Instagram, Snapchat, Google+,
  15   etc.) and, for each, state when You first created the account.
  16   RESPONSE:
  17         15.    State all social media accounts that Minor Plaintiffs have had from
  18   January 1, 2020, through the present (e.g. Facebook, Twitter (or X), Instagram,
  19   Snapchat, Google+, etc.) and, for each, state when and who first created the account.
  20   RESPONSE:
  21         16.    Describe each and every website or social media account that You own,
  22   operate, or which is operated on Plaintiffs behalf.
  23   RESPONSE:
  24         17.    Describe in detail how and when Plaintiffs first identified the
  25   Photograph on Defendants’ website.
  26   RESPONSE:
  27         18.    Describe in detail any and all profits, wages, or other compensation
  28   Minor Plaintiffs have received from January 1, 2020, through present.
                                                    8                 CASE NO.: 2:23-CV-10829-ODW-E
  30
        DEFENDANTS 1 HOTEL WEST HOLLYWOOD, L.L.C.; SH GROUP OPERATIONS, L.L.C.; SH GROUP GLOBAL IP
  31         HOLDINGS, L.L.C.’S FIRST SET OF INTERROGATORIES TO PLAINTIFF SUNNY KHACHATRYAN

  32
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   1   RESPONSE:
   2

   3   Dated: June 14, 2024                      CLARK HILL LLP
   4

   5                                             By: /s/ Myriah V. Jaworski
                                                     Myriah V. Jaworski (SBN 336898)
   6

   7                                                    Attorneys for Defendants 1 HOTEL
                                                        WEST HOLLYWOOD, L.L.C.; SH
   8                                                    GROUP OPERATIONS, L.L.C.; SH
                                                        GROUP GLOBAL IP HOLDINGS,
   9                                                    L.L.C
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  28
                                                    9                 CASE NO.: 2:23-CV-10829-ODW-E
  30
        DEFENDANTS 1 HOTEL WEST HOLLYWOOD, L.L.C.; SH GROUP OPERATIONS, L.L.C.; SH GROUP GLOBAL IP
  31         HOLDINGS, L.L.C.’S FIRST SET OF INTERROGATORIES TO PLAINTIFF SUNNY KHACHATRYAN

  32
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                             Exhibit 7
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 10 Facsimile: (212) 216-8001
 11 Attorneys for Plaintiffs Sunny
      Khachatryan, Tatevik Khachatryan, B.A.J,
 12 a minor and I.M, a minor
 13
                             UNITED STATES DISTRICT COURT
 14
                           CENTRAL DISTRICT OF CALIFORNIA
 15
      SUNNY KHACHATRYAN, an
 16 individual; TATEVIK                               CASE NO. 2:23-cv-10829-ODW(Ex)
      KHACHATRYAN, an individual; B. A.               PLAINTIFF SUNNY
 17 J, a minor; and I.M, a minor,
                                                      KHACHATRYAN, AN
 18                    Plaintiffs,                    INDIVIDUAL, RESPONSES TO
                                                      DEFENDANTS 1 HOTEL WEST
 19                       vs.                         HOLLYWOOD, L.L.C.; SH GROUP
                                                      OPERATIONS, L.L.C.; SH GROUP
 20                                                   GLOBAL IP HOLDINGS, L.L.C.'S
                                                      FIRST SET OF
 21 1 HOTEL WEST HOLLYWOOD,                           INTERROGATORIES TO
    L.L.C.; SH GROUP OPERATIONS,                      PLAINTIFF SUNNY
 22 L.L.C.; SH GROUP GLOBAL IP                        KHACHATRYAN
    HOLDINGS, L.L.C; and DOES 1
 23 through 70, inclusive,
 24                  Defendants.

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 26
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                                                     1
         PLAINTIFF SUNNY KHACHATRYAN, AN INDIVIDUAL, RESPONSES TO DEFENDANTS 1 HOTEL WEST
      HOLLYWOOD, L.L.C.; SH GROUP OPERATIONS, L.L.C.; SH GROUP GLOBAL IP HOLDINGS, L.L.C.'S FIRST SET
                          OF INTERROGATORIES TO PLAINTIFF SUNNY KHACHATRYAN
                                                                              Case No. 2:23-cv-10829-ODW-E
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  1 PROPOUNDING PARTY:                   1 HOTEL WEST HOLLYWOOD, L.L.C.; SH
  2                                      GROUP OPERATIONS, L.L.C.; SH GROUP
  3                                      GLOBAL IP HOLDINGS, L.L.C
  4 RESPONDING PARTY:                    PLAINTIFF SUNNY KHACHATRYAN, AN
  5                                      INDIVIDUAL
  6 SET NO.:                             ONE
  7 INTERROGATORY NOS.:                  1–18
  8          Pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure, Plaintiff
  9 Sunny Khachatryan (“Responding Party”) hereby submits these objections and
 10 responses to the First Set of Interrogatories propounded by Defendants 1Hotel West
 11 Hollywood, L.L.C.; SH Group Operations, L.L.C.; and SH Group Global IP Holdings,
 12 L.L.C. (collectively, "Defendants") (“Propounding Party”) as follows:
 13                              PRELIMINARY STATEMENT
 14          Responding Party’s investigation, discovery and analysis are ongoing, and
 15 Responding Party’s response to each of these Interrogatories is based on information
 16 and documents presently available to Responding Party after reasonable inquiry.
 17 Responding Party reserves the right to supplement or amend these responses in the
 18 event further information and/or documents are disclosed or discovered. In addition,
 19 Responding Party’s responses are given without prejudice to its right to introduce as
 20 evidence at trial any subsequently discovered or unintentionally omitted information
 21 and/or documents.
 22          Specific objections to each of these Interrogatories are made on an individual
 23 basis in the responses below. In addition to these specific objects, Responding Party
 24 makes certain continuing objections (“General Objections”) to the Interrogatories.
 25 These General Objections are hereby incorporated by reference into the responses
 26 made with respect to each separate interrogatory. For particular emphasis,
 27 Responding Party has, from time to time, expressly included one or more of the
 28 General Objections in certain of its response below. Responding Party’s response to
                                                2
         PLAINTIFF SUNNY KHACHATRYAN, AN INDIVIDUAL, RESPONSES TO DEFENDANTS 1 HOTEL WEST
      HOLLYWOOD, L.L.C.; SH GROUP OPERATIONS, L.L.C.; SH GROUP GLOBAL IP HOLDINGS, L.L.C.'S FIRST SET
                          OF INTERROGATORIES TO PLAINTIFF SUNNY KHACHATRYAN
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  1 each individual interrogatory is submitted without prejudice to, and without in any
  2 respect waiving, any General Objections not expressly set forth in that response.
  3 Accordingly, the inclusion of any specific objection in a response to an interrogatory
  4 below is neither intended as, nor shall in any way be deemed to be, a waiver of any
  5 General Objections or of any specific objection made herein or that may be asserted
  6 at a later date. In addition, the failure to include at this time any continuing or specific
  7 objection to an interrogatory is neither intended as, nor shall in any way be deemed
  8 to be, a waiver of Responding Party’s right to assert that or any other objection at a
  9 later date.
 10          No incidental or implied admissions are intended by the responses herein.
 11 Responding Party’s response and/or objections to a particular interrogatory shall not
 12 be taken as an admission that Responding Party accepts or admits the existence of
 13 any “fact” set forth in or assumed by that interrogatory.
 14                                 GENERAL OBJECTIONS
 15          Responding Party makes the following General Objections to Defendants’
 16 Interrogatories, including without limitation, the Instructions and Definitions set
 17 forth therein, whether or not separately set forth in each response to each individual
 18 interrogatory:
 19          1.     Responding Party objects to the Interrogatories to the extent they seek
 20 information protected by any relevant privilege or legal protection, including,
 21 without limitation, the attorney-client privilege, the work product doctrine, the joint
 22 defense privilege, the settlement or settlement negotiation privilege, settlement
 23 materials, or trial preparation materials. Any statement herein to the effect that
 24 Responding Party will provide information in response to an interrogatory is limited
 25 to information that does not fall within the scope of any relevant privilege.
 26          2.     Responding Party objects to any requirement that it identify or provide
 27 a list of any materials withheld from discovery pursuant to either the attorney-client
 28 communications privilege and/or the attorney work product immunity and which
                                             3
         PLAINTIFF SUNNY KHACHATRYAN, AN INDIVIDUAL, RESPONSES TO DEFENDANTS 1 HOTEL WEST
      HOLLYWOOD, L.L.C.; SH GROUP OPERATIONS, L.L.C.; SH GROUP GLOBAL IP HOLDINGS, L.L.C.'S FIRST SET
                          OF INTERROGATORIES TO PLAINTIFF SUNNY KHACHATRYAN
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  1 materials were created on or after December 27, 2023, the date on which this lawsuit
  2 was filed. Such a requirement would be unduly burdensome and would interfere with
  3 Responding Party’s defense of this lawsuit by deterring the creation of such
  4 documents.
  5          3.     Responding Party objects to the Interrogatories to the extent they seek
  6 information that is irrelevant to any claim or defense and not reasonably calculated
  7 to lead to the discovery of admissible evidence.
  8          4.     Responding Party objects to the Interrogatories on the grounds that they
  9 are vague, ambiguous, and use unlimited, undefined, subjective or open-ended terms
 10 or phrases.
 11          5.     Responding Party objects to the Interrogatories to the extent that the
 12 purported benefit of the discovery sought by the Interrogatories is outweighed by the
 13 burden and expense of responding to the Interrogatories pursuant to Rules 26(b)(1)
 14 and 26(b)(2) of the Federal Rules of Civil Procedure.
 15          6.     Responding Party objects to the Interrogatories to the extent they
 16 purport to require complete responses from Responding Party within 30 days of
 17 service. Responding Party’s investigation of the claims and defenses at issue in this
 18 Action is continuing, and Responding Party expressly reserves the right to
 19 supplement these responses as necessary.
 20          7.     Responding Party objects to the Interrogatories to the extent they
 21 attempt to impose burdens on Responding Party inconsistent with, or in excess of,
 22 the requirements of the Federal Rules of Civil Procedure, the Central District of
 23 California Local Rules, or any applicable orders of this Court.
 24          8.     Responding Party objects to the Interrogatories to the extent they seek
 25 information unknown to Responding Party, that refers to persons, entities or events
 26 not known to Responding Party, or that relates to documents not within Responding
 27 Party’s possession, custody, or control. Such a requirement would exceed
 28 Responding Party’s obligations under the Federal Rules and applicable Local Rules
                                              4
         PLAINTIFF SUNNY KHACHATRYAN, AN INDIVIDUAL, RESPONSES TO DEFENDANTS 1 HOTEL WEST
      HOLLYWOOD, L.L.C.; SH GROUP OPERATIONS, L.L.C.; SH GROUP GLOBAL IP HOLDINGS, L.L.C.'S FIRST SET
                          OF INTERROGATORIES TO PLAINTIFF SUNNY KHACHATRYAN
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  1 and would subject Responding Party to unreasonable and undue oppression, burden
  2 and expense. In responding to these Interrogatories, Responding Party shall respond
  3 only on behalf of itself and shall not undertake the burden and expense of attempting
  4 to provide information presently unknown to Responding Party or relating to
  5 documents outside Responding Party’s possession, custody, or control.
  6          9.     Responding Party objects to the Interrogatories to the extent that they
  7 seek publicly-available information, or information that is equally available to
  8 Plaintiff from sources other than Responding Party, on the grounds that such
  9 Interrogatories are unduly burdensome, oppressive, and harassing.
 10          10.    Responding Party objects to the Interrogatories to the extent they call
 11 for legal conclusions or contain express or implied assumptions of fact or law with
 12 respect to matters at issue in this Action. Nothing in Responding Party’s responses
 13 or objections may be construed to reflect an agreement or concurrence by
 14 Responding Party with Plaintiff’s characterizations of any factual or legal issues.
 15 Responding Party expressly reserves the right to contest any such characterization as
 16 inaccurate and to provide and supplement its legal contentions in an appropriate
 17 format on an appropriate schedule.
 18          11.    Responding Party objects to the Interrogatories to the extent they fail to
 19 specify a relevant time period, or to the extent any specified time period is irrelevant
 20 to any claim or defense at issue in this Action, on the grounds that the Interrogatories
 21 are overly broad, unduly burdensome, and seek information that is neither relevant
 22 nor reasonably calculated to lead to the discovery of admissible evidence.
 23          12.    Responding Party objects to the Interrogatories to the extent they fail to
 24 specify a relevant geographic area, or to the extent any specified geographic area is
 25 irrelevant to any claim or defense at issue in this Action, on the grounds that the
 26 Interrogatories are overly broad, unduly burdensome, and seek information that is
 27 neither relevant nor reasonably calculated to lead to the discovery of admissible
 28 evidence.
                                                     5
         PLAINTIFF SUNNY KHACHATRYAN, AN INDIVIDUAL, RESPONSES TO DEFENDANTS 1 HOTEL WEST
      HOLLYWOOD, L.L.C.; SH GROUP OPERATIONS, L.L.C.; SH GROUP GLOBAL IP HOLDINGS, L.L.C.'S FIRST SET
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  1          13.    Responding Party objects to the Interrogatories to the extent they seek
  2 “all” documents or communications relating to a particular topic or category of
  3 information on the grounds that the Interrogatories are overly broad, unduly
  4 burdensome, and seek information that is neither relevant nor reasonably calculated
  5 to lead to the discovery of admissible evidence.
  6          14.    Responding Party objects to Plaintiff’s definition of the terms “YOU”
  7 and “YOUR” as vague and ambiguous, especially to the extent it seeks discovery
  8 regarding Responding Party’s “including its agents, attorneys, investigators,
  9 affiliates and/or representatives, and any other person or entity who at any time has
 10 acted or purported to act on behalf of Responding Party Sunny Khachatryan, and any
 11 person answering these Requests.” Responding Party also objects to this definition
 12 as overly broad and exceeding the scope of allowable discovery to the extent it
 13 includes entities and individuals not named as parties (some of whom may be
 14 unknown to Responding Party) in the instant Action, and over whom Responding
 15 Party exercises no control. In responding to these Interrogatories, Responding Party
 16 shall interpret the terms “YOU” and “YOUR” to refer only to Responding Party
 17 Sunny Khachatryan.
 18          15.    Responding Party objects to each interrogatory to the extent that they
 19 seek confidential, proprietary business documents and information. Responding
 20 Party notes that no protective order has yet been entered by the Court. Until such
 21 time as a protective order is entered, Responding Party shall withhold production of
 22 all documents so that they may be endorsed with the appropriate level of
 23 confidentiality at the time of production.
 24          16.    Responding Party’s response to any specific interrogatory below is not
 25 an admission that responsive, non-privileged information or documents exist in its
 26 possession, custody, or control.
 27          17.    Each and all of these General Objections shall be deemed incorporated
 28 by reference into each and every objection made herein to a specific interrogatory.
                                               6
         PLAINTIFF SUNNY KHACHATRYAN, AN INDIVIDUAL, RESPONSES TO DEFENDANTS 1 HOTEL WEST
      HOLLYWOOD, L.L.C.; SH GROUP OPERATIONS, L.L.C.; SH GROUP GLOBAL IP HOLDINGS, L.L.C.'S FIRST SET
                          OF INTERROGATORIES TO PLAINTIFF SUNNY KHACHATRYAN
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  1                         RESPONSES TO INTERROGATORIES
  2 INTERROGATORY NO. 1:
  3          State the full name, current residence address, date of birth, current telephone
  4 number, and Social Security number of the persons responding to these
  5 interrogatories.
  6 RESPONSE TO INTERROGATORY NO. 1:
  7          Plaintiffs object to this Interrogatory as vague, indefinite, and overly broad,
  8 particularly with respect to the terms “persons responding to these interrogatories.”
  9          Plaintiffs further object to this Interrogatory to the extent it requests
 10 information that is not relevant to any party’s claims or defenses and is not
 11 proportional to the needs of the case.
 12          Plaintiffs object to this Interrogatory to the extent that it seeks production of
 13 confidential information prior to the entry of a protective order by the Court. Plaintiffs
 14 further object to this Interrogatory because it seeks information that is neither relevant
 15 nor necessary to the claims and defenses in the instant Action.
 16          Plaintiffs object to this Interrogatory to the extent that it calls for information
 17 that is protected by the attorney-client privilege and/or work product doctrine.
 18          As phrased, Plaintiffs cannot discern what non-privileged information
 19 Defendant is specifically seeking in this Interrogatory that is relevant to any claim or
 20 defense, and proportional to the needs of the case at this stage in the action, and
 21 therefore cannot provide a further response unless and until Defendant provides a
 22 more particularized Interrogatory.
 23
 24 INTERROGATORY NO. 2:
 25          Identify all documents which concern, refer or relate to, or support the
 26 allegations of the Complaint.
 27
 28
                                                     7
         PLAINTIFF SUNNY KHACHATRYAN, AN INDIVIDUAL, RESPONSES TO DEFENDANTS 1 HOTEL WEST
      HOLLYWOOD, L.L.C.; SH GROUP OPERATIONS, L.L.C.; SH GROUP GLOBAL IP HOLDINGS, L.L.C.'S FIRST SET
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  1 RESPONSE TO INTERROGATORY NO. 2:
  2          Plaintiffs object to this Interrogatory as vague, indefinite, and overly broad,
  3 particularly with respect to the terms “all documents” and “concern, refer or relate to,
  4 or support.”
  5          Plaintiffs further object to this Interrogatory to the extent it requests
  6 information that is not relevant to any party’s claims or defenses and is not
  7 proportional to the needs of the case.
  8          Plaintiffs object to this Interrogatory to the extent that it seeks production of
  9 confidential information prior to the entry of a protective order by the Court. Plaintiffs
 10 further object to this Interrogatory because it seeks information that is neither relevant
 11 nor necessary to the claims and defenses in the instant Action.
 12          Plaintiffs object to this Interrogatory to the extent that it calls for information
 13 that is protected by the attorney-client privilege and/or work product doctrine.
 14          As phrased, Plaintiffs cannot discern what non-privileged information
 15 Defendant is specifically seeking in this Interrogatory that is relevant to any claim or
 16 defense, and proportional to the needs of the case at this stage in the action, and
 17 therefore cannot provide a further response unless and until Defendant provides a
 18 more particularized Interrogatory.
 19
 20 INTERROGATORY NO. 3:
 21          3.     As to all damages Plaintiffs claim they has incurred:
 22                 a.     state in detail the factual basis and amount, and
 23                 b.     identify all documents which support Plaintiffs claims for
 24                 statutory damages, attorneys' fees, litigation expenses, and costs of suit.
 25                 c.     identify all documents which support Plaintiffs claims for actual
 26                 damages.
 27
 28
                                                     8
         PLAINTIFF SUNNY KHACHATRYAN, AN INDIVIDUAL, RESPONSES TO DEFENDANTS 1 HOTEL WEST
      HOLLYWOOD, L.L.C.; SH GROUP OPERATIONS, L.L.C.; SH GROUP GLOBAL IP HOLDINGS, L.L.C.'S FIRST SET
                          OF INTERROGATORIES TO PLAINTIFF SUNNY KHACHATRYAN
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  1 RESPONSE TO INTERROGATORY NO. 3:
  2          Plaintiffs object to this Interrogatory as vague, indefinite, and overly broad,
  3 particularly with respect to the terms “persons responding to these interrogatories.”
  4          Plaintiffs further object to this Interrogatory to the extent it requests
  5 information that is not relevant to any party’s claims or defenses and is not
  6 proportional to the needs of the case.
  7          Plaintiffs object to this Interrogatory to the extent that it seeks production of
  8 confidential information prior to the entry of a protective order by the Court. Plaintiffs
  9 further object to this Interrogatory because it seeks highly confidential, commercially
 10 sensitive and trade secret information that is neither relevant nor necessary to the
 11 claims and defenses in the instant Action.
 12          Plaintiffs object to this Interrogatory to the extent that it calls for information
 13 that is protected by the attorney-client privilege and/or work product doctrine.
 14          As phrased, Plaintiffs cannot discern what non-privileged information
 15 Defendant is specifically seeking in this Interrogatory that is relevant to any claim or
 16 defense, and proportional to the needs of the case at this stage in the action, and
 17 therefore cannot provide a further response unless and until Defendant provides a
 18 more particularized Interrogatory.
 19
 20 INTERROGATORY NO. 4:
 21          Identify all persons who may have any personal knowledge regarding the
 22 allegations contained in the Complaint and state the substance of each person's
 23 knowledge.
 24 RESPONSE TO INTERROGATORY NO. 4:
 25          Plaintiffs object to this Interrogatory as vague, indefinite, and overly broad,
 26 particularly with respect to the terms “all persons” and “any personal knowledge.”
 27
 28
                                                     9
         PLAINTIFF SUNNY KHACHATRYAN, AN INDIVIDUAL, RESPONSES TO DEFENDANTS 1 HOTEL WEST
      HOLLYWOOD, L.L.C.; SH GROUP OPERATIONS, L.L.C.; SH GROUP GLOBAL IP HOLDINGS, L.L.C.'S FIRST SET
                          OF INTERROGATORIES TO PLAINTIFF SUNNY KHACHATRYAN
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  1          Plaintiffs further object to this Interrogatory to the extent it requests
  2 information that is not relevant to any party’s claims or defenses and is not
  3 proportional to the needs of the case.
  4          Plaintiffs object to this Interrogatory to the extent that it seeks production of
  5 confidential information prior to the entry of a protective order by the Court. Plaintiffs
  6 further object to this Interrogatory because it seeks highly confidential, commercially
  7 sensitive and trade secret information that is neither relevant nor necessary to the
  8 claims and defenses in the instant Action.
  9          Plaintiffs object to this Interrogatory to the extent that it calls for information
 10 that is protected by the attorney-client privilege and/or work product doctrine.
 11          As phrased, Plaintiffs cannot discern what non-privileged information
 12 Defendant is specifically seeking in this Interrogatory that is relevant to any claim or
 13 defense, and proportional to the needs of the case at this stage in the action, and
 14 therefore cannot provide a further response unless and until Defendant provides a
 15 more particularized Interrogatory.
 16
 17 INTERROGATORY NO. 5:
 18          Identify all persons who may have any personal knowledge regarding the
 19 allegations contained in the Complaint and state the substance of each person's
 20 knowledge.
 21 RESPONSE TO INTERROGATORY NO. 5:
 22          Plaintiffs object to this Interrogatory as vague, indefinite, and overly broad,
 23 particularly with respect to the terms “all persons” and “any personal knowledge.”
 24          Plaintiffs further object to this Interrogatory to the extent it requests
 25 information that is not relevant to any party’s claims or defenses and is not
 26 proportional to the needs of the case.
 27          Plaintiffs object to this Interrogatory to the extent that it seeks production of
 28 confidential information prior to the entry of a protective order by the Court. Plaintiffs
                                                 10
         PLAINTIFF SUNNY KHACHATRYAN, AN INDIVIDUAL, RESPONSES TO DEFENDANTS 1 HOTEL WEST
      HOLLYWOOD, L.L.C.; SH GROUP OPERATIONS, L.L.C.; SH GROUP GLOBAL IP HOLDINGS, L.L.C.'S FIRST SET
                          OF INTERROGATORIES TO PLAINTIFF SUNNY KHACHATRYAN
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  1 further object to this Interrogatory because it seeks highly confidential, commercially
  2 sensitive and trade secret information that is neither relevant nor necessary to the
  3 claims and defenses in the instant Action.
  4          Plaintiffs object to this Interrogatory to the extent that it calls for information
  5 that is protected by the attorney-client privilege and/or work product doctrine.
  6          Plaintiffs object to this Request as unduly burdensome to the extent that it is
  7 duplicative of Request No. 4. Subject to the foregoing specific objections and the
  8 General Objections, Plaintiffs refer to its Response to Request No. 4.
  9
 10 INTERROGATORY NO. 6:
 11          Has Plaintiff ever been a party to any lawsuit? If so, list the name, court number,
 12 jurisdiction and outcome for all such lawsuits, including but not limited to all
 13 bankruptcy filings that Plaintiff has filed within the last ten years, including the case
 14 number and jurisdiction for each such filing and the dates each bankruptcy was closed.
 15 RESPONSE TO INTERROGATORY NO. 6:
 16          Plaintiffs object to this Interrogatory as vague, indefinite, and overly broad,
 17 particularly with respect to the terms “ever been” and “any lawsuit.”
 18          Plaintiffs further object to this Interrogatory to the extent it requests
 19 information that is not relevant to any party’s claims or defenses and is not
 20 proportional to the needs of the case.
 21          Plaintiffs object to this Interrogatory to the extent that it seeks production of
 22 confidential information prior to the entry of a protective order by the Court. Plaintiffs
 23 further object to this Interrogatory because it seeks information that is neither relevant
 24 nor necessary to the claims and defenses in the instant Action.
 25          Plaintiffs object to this Interrogatory to the extent that it calls for information
 26 that is protected by the attorney-client privilege and/or work product doctrine.
 27          As phrased, Plaintiffs cannot discern what non-privileged information
 28 Defendant is specifically seeking in this Interrogatory that is relevant to any claim or
                                                11
         PLAINTIFF SUNNY KHACHATRYAN, AN INDIVIDUAL, RESPONSES TO DEFENDANTS 1 HOTEL WEST
      HOLLYWOOD, L.L.C.; SH GROUP OPERATIONS, L.L.C.; SH GROUP GLOBAL IP HOLDINGS, L.L.C.'S FIRST SET
                          OF INTERROGATORIES TO PLAINTIFF SUNNY KHACHATRYAN
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  1 defense, and proportional to the needs of the case at this stage in the action, and
  2 therefore cannot provide a further response unless and until Defendant provides a
  3 more particularized Interrogatory.
  4
  5 INTERROGATORY NO. 7:
  6 Has Plaintiff ever been convicted of:
  7          a.     crime punishable by imprisonment in excess of 1 year, or
  8          b.     a crime involving dishonesty or false statement? If yes, please list the
  9          case name, number, jurisdiction and outcome.
 10          c.     A bankruptcy or tax proceeding? If yes, please list the case name,
 11          number, jurisdiction and outcome.
 12 RESPONSE TO INTERROGATORY NO. 7:
 13          Plaintiffs object to this Interrogatory as vague, indefinite, and overly broad,
 14 particularly with respect to the terms “ever been” and “any lawsuit.”
 15          Plaintiffs further object to this Interrogatory to the extent it requests
 16 information that is not relevant to any party’s claims or defenses and is not
 17 proportional to the needs of the case.
 18          Plaintiffs object to this Interrogatory to the extent that it seeks production of
 19 confidential information prior to the entry of a protective order by the Court. Plaintiffs
 20 further object to this Interrogatory because it seeks information that is neither relevant
 21 nor necessary to the claims and defenses in the instant Action.
 22          Plaintiffs object to this Interrogatory to the extent that it calls for information
 23 that is protected by the attorney-client privilege and/or work product doctrine.
 24          As phrased, Plaintiffs cannot discern what non-privileged information
 25 Defendant is specifically seeking in this Interrogatory that is relevant to any claim or
 26 defense, and proportional to the needs of the case at this stage in the action, and
 27 therefore cannot provide a further response unless and until Defendant provides a
 28 more particularized Interrogatory.
                                                     12
         PLAINTIFF SUNNY KHACHATRYAN, AN INDIVIDUAL, RESPONSES TO DEFENDANTS 1 HOTEL WEST
      HOLLYWOOD, L.L.C.; SH GROUP OPERATIONS, L.L.C.; SH GROUP GLOBAL IP HOLDINGS, L.L.C.'S FIRST SET
                          OF INTERROGATORIES TO PLAINTIFF SUNNY KHACHATRYAN
                                                                             Case No. 2:23-cv-10829-ODW(Ex)
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  1          Plaintiffs object to this Request as unduly burdensome to the extent that it is
  2 duplicative of Request No. 6. Subject to the foregoing specific objections and the
  3 General Objections, Plaintiffs refer to its Response to Request No. 6.
  4
  5 INTERROGATORY NO. 8:
  6          Identify each and every person involved in posting the Photograph to Instagram
  7 as alleged in Paragraph 19 of Plaintiff's Complaint.
  8 RESPONSE TO INTERROGATORY NO. 8:
  9          Plaintiffs object to this Interrogatory as vague, indefinite, and overly broad,
 10 particularly with respect to the terms “each and every” and “involved in posting.”
 11          Plaintiffs further object to this Interrogatory to the extent it requests
 12 information that is not relevant to any party’s claims or defenses and is not
 13 proportional to the needs of the case.
 14          Plaintiffs object to this Interrogatory to the extent that it seeks production of
 15 confidential information prior to the entry of a protective order by the Court. Plaintiffs
 16 further object to this Interrogatory because it seeks information that is neither relevant
 17 nor necessary to the claims and defenses in the instant Action.
 18          Plaintiffs object to this Interrogatory to the extent that it calls for information
 19 that is protected by the attorney-client privilege and/or work product doctrine.
 20          As phrased, Plaintiffs cannot discern what non-privileged information
 21 Defendant is specifically seeking in this Interrogatory that is relevant to any claim or
 22 defense, and proportional to the needs of the case at this stage in the action, and
 23 therefore cannot provide a further response unless and until Defendant provides a
 24 more particularized Interrogatory.
 25
 26 INTERROGATORY NO. 9:
 27          Describe all facts supporting the allegations in Paragraph 20 of Plaintiffs'
 28 Complaint that the Photograph contained "copyright management information".
                                             13
         PLAINTIFF SUNNY KHACHATRYAN, AN INDIVIDUAL, RESPONSES TO DEFENDANTS 1 HOTEL WEST
      HOLLYWOOD, L.L.C.; SH GROUP OPERATIONS, L.L.C.; SH GROUP GLOBAL IP HOLDINGS, L.L.C.'S FIRST SET
                          OF INTERROGATORIES TO PLAINTIFF SUNNY KHACHATRYAN
                                                                             Case No. 2:23-cv-10829-ODW(Ex)
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  1 RESPONSE TO INTERROGATORY NO. 9:
  2          Plaintiffs object to this Interrogatory as vague, indefinite, and overly broad,
  3 particularly with respect to the terms “all facts”.
  4          Plaintiffs further object to this Interrogatory to the extent it requests
  5 information that is not relevant to any party’s claims or defenses and is not
  6 proportional to the needs of the case.
  7          Plaintiffs object to this Interrogatory to the extent that it seeks production of
  8 confidential information prior to the entry of a protective order by the Court. Plaintiffs
  9 further object to this Interrogatory because it seeks information that is neither relevant
 10 nor necessary to the claims and defenses in the instant Action.
 11          Plaintiffs object to this Interrogatory to the extent that it calls for information
 12 that is protected by the attorney-client privilege and/or work product doctrine.
 13          Subject to the foregoing specific objections and the General Objections,
 14 Plaintiffs respond that the Amended complaint does not have a claim for the removal
 15 of copyright management information.
 16
 17 INTERROGATORY NO. 10:
 18          Describe all facts supporting the allegations in Paragraph 20 of Plaintiffs'
 19 Complaint that the Photograph contained "copyright management information".
 20 RESPONSE TO INTERROGATORY NO. 10:
 21          Plaintiffs object to this Interrogatory as vague, indefinite, and overly broad,
 22 particularly with respect to the terms “all facts”.
 23          Plaintiffs further object to this Interrogatory to the extent it requests
 24 information that is not relevant to any party’s claims or defenses and is not
 25 proportional to the needs of the case.
 26          Plaintiffs object to this Interrogatory to the extent that it seeks production of
 27 confidential information prior to the entry of a protective order by the Court. Plaintiffs
 28
                                                     14
         PLAINTIFF SUNNY KHACHATRYAN, AN INDIVIDUAL, RESPONSES TO DEFENDANTS 1 HOTEL WEST
      HOLLYWOOD, L.L.C.; SH GROUP OPERATIONS, L.L.C.; SH GROUP GLOBAL IP HOLDINGS, L.L.C.'S FIRST SET
                          OF INTERROGATORIES TO PLAINTIFF SUNNY KHACHATRYAN
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  1 further object to this Interrogatory because it seeks information that is neither relevant
  2 nor necessary to the claims and defenses in the instant Action.
  3          Plaintiffs object to this Interrogatory to the extent that it calls for information
  4 that is protected by the attorney-client privilege and/or work product doctrine.
  5          Plaintiffs object to this Request as unduly burdensome to the extent that it is
  6 duplicative of Request No. 9.
  7          Subject to the foregoing specific objections and the General Objections,
  8 Plaintiff refers to its Response to Request No. 9. Subject to the foregoing specific
  9 objections and the General Objections, Plaintiffs respond that the Amended complaint
 10 does not have a claim for the removal of copyright management information.
 11
 12 INTERROGATORY NO. 11:
 13          Describe all facts supporting the allegations contained in Paragraph 5 of
 14 Plaintiffs' Complaint regarding Minor Plaintiffs' appearance in "television
 15 commercials, print ads, and other paid commercial uses of their images and likeness."
 16 State with specificity each commercial, ad or other paid use of their image(s) from
 17 January 1, 2020 through present day, and provide the relevant payment and terms for
 18 each.
 19 RESPONSE TO INTERROGATORY NO. 11:
 20          Plaintiffs object to this Interrogatory as vague, indefinite, and overly broad,
 21 particularly with respect to the terms “all facts” and “each commercial, ad or other
 22 paid use”.
 23          Plaintiffs further object to this Interrogatory to the extent it requests
 24 information that is not relevant to any party’s claims or defenses and is not
 25 proportional to the needs of the case.
 26          Plaintiffs object to this Interrogatory to the extent that it seeks production of
 27 confidential information prior to the entry of a protective order by the Court.
 28
                                                     15
         PLAINTIFF SUNNY KHACHATRYAN, AN INDIVIDUAL, RESPONSES TO DEFENDANTS 1 HOTEL WEST
      HOLLYWOOD, L.L.C.; SH GROUP OPERATIONS, L.L.C.; SH GROUP GLOBAL IP HOLDINGS, L.L.C.'S FIRST SET
                          OF INTERROGATORIES TO PLAINTIFF SUNNY KHACHATRYAN
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  1          Plaintiffs object to this Interrogatory to the extent that it calls for information
  2 that is protected by the attorney-client privilege and/or work product doctrine.
  3
  4 INTERROGATORY NO. 12:
  5          Describe all facts supporting the allegations contained in Paragraph 5 of
  6 Plaintiffs' Complaint regarding Minor Plaintiffs' modeling contracts with Adidas.
  7 RESPONSE TO INTERROGATORY NO. 12:
  8          Plaintiffs object to this Interrogatory as vague, indefinite, and overly broad,
  9 particularly with respect to the terms “all facts” and “each commercial, ad or other
 10 paid use”.
 11          Plaintiffs further object to this Interrogatory to the extent it requests
 12 information that is not relevant to any party’s claims or defenses and is not
 13 proportional to the needs of the case.
 14          Plaintiffs object to this Interrogatory to the extent that it seeks production of
 15 confidential information prior to the entry of a protective order by the Court.
 16          Plaintiffs object to this Interrogatory to the extent that it calls for information
 17 that is protected by the attorney-client privilege and/or work product doctrine.
 18
 19 INTERROGATORY NO. 13:
 20          Describe all facts supporting the allegations contained in Paragraph 17 of
 21 Plaintiffs' Complaint regarding Minor Plaintiffs' multiple modeling contracts for
 22 "several five-star hotel chains" and consideration for a "multi-million-dollar hotel
 23 endorsement".
 24 RESPONSE TO INTERROGATORY NO. 13:
 25          Plaintiffs object to this Interrogatory as vague, indefinite, and overly broad,
 26 particularly with respect to the terms “all facts” and “consideration.”
 27
 28
                                                     16
         PLAINTIFF SUNNY KHACHATRYAN, AN INDIVIDUAL, RESPONSES TO DEFENDANTS 1 HOTEL WEST
      HOLLYWOOD, L.L.C.; SH GROUP OPERATIONS, L.L.C.; SH GROUP GLOBAL IP HOLDINGS, L.L.C.'S FIRST SET
                          OF INTERROGATORIES TO PLAINTIFF SUNNY KHACHATRYAN
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  1          Plaintiffs further object to this Interrogatory to the extent it requests
  2 information that is not relevant to any party’s claims or defenses and is not
  3 proportional to the needs of the case.
  4          Plaintiffs object to this Interrogatory to the extent that it seeks production of
  5 confidential information prior to the entry of a protective order by the Court. Plaintiffs
  6 further object to this Interrogatory because it seeks information that is neither relevant
  7 nor necessary to the claims and defenses in the instant Action.
  8          Plaintiffs object to this Interrogatory to the extent that it calls for information
  9 that is protected by the attorney-client privilege and/or work product doctrine. As
 10 phrased, Plaintiffs cannot discern what non-privileged information Defendant is
 11 specifically seeking in this Interrogatory that is relevant to any claim or defense, and
 12 proportional to the needs of the case at this stage in the action, and therefore cannot
 13 provide a further response unless and until Defendant provides a more particularized
 14 Interrogatory.
 15
 16 INTERROGATORY NO. 14:
 17          State all social media accounts that You have had from January 1, 2020,
 18 through the present (e.g. Facebook, Twitter (or X), Instagram, Snapchat, Google+,
 19 etc.) and, for each, state when You first created the account.
 20 RESPONSE TO INTERROGATORY NO. 14:
 21          Plaintiffs object to this Interrogatory as vague, indefinite, and overly broad,
 22 particularly with respect to the terms “all social media accounts”, “You”, and “when
 23 You first created the account.”
 24          Plaintiffs further object to this Interrogatory to the extent it requests
 25 information that is not relevant to any party’s claims or defenses and is not
 26 proportional to the needs of the case.
 27          Plaintiffs object to this Interrogatory to the extent that it seeks production of
 28 confidential information prior to the entry of a protective order by the Court. Plaintiffs
                                                 17
         PLAINTIFF SUNNY KHACHATRYAN, AN INDIVIDUAL, RESPONSES TO DEFENDANTS 1 HOTEL WEST
      HOLLYWOOD, L.L.C.; SH GROUP OPERATIONS, L.L.C.; SH GROUP GLOBAL IP HOLDINGS, L.L.C.'S FIRST SET
                          OF INTERROGATORIES TO PLAINTIFF SUNNY KHACHATRYAN
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  1 further object to this Interrogatory because it seeks information that is neither relevant
  2 nor necessary to the claims and defenses in the instant Action.
  3          Plaintiffs object to this Interrogatory to the extent that it calls for information
  4 that is protected by the attorney-client privilege and/or work product doctrine. As
  5 phrased, Plaintiffs cannot discern what non-privileged information Defendant is
  6 specifically seeking in this Interrogatory that is relevant to any claim or defense, and
  7 proportional to the needs of the case at this stage in the action, and therefore cannot
  8 provide a further response unless and until Defendant provides a more particularized
  9 Interrogatory.
 10
 11 INTERROGATORY NO. 15:
 12          State all social media accounts that Minor Plaintiffs have had from January 1,
 13 2020, through the present (e.g. Facebook, Twitter (or X), Instagram, Snapchat,
 14 Google+, etc.) and, for each, state when and who first created the account.
 15 RESPONSE TO INTERROGATORY NO. 15:
 16          Plaintiffs object to this Interrogatory as vague, indefinite, and overly broad,
 17 particularly with respect to the terms “all social media accounts” and “when and who
 18 first created the account.”
 19          Plaintiffs further object to this Interrogatory to the extent it requests
 20 information that is not relevant to any party’s claims or defenses and is not
 21 proportional to the needs of the case.
 22          Plaintiffs object to this Interrogatory to the extent that it seeks production of
 23 confidential information prior to the entry of a protective order by the Court. Plaintiffs
 24 further object to this Interrogatory because it seeks information that is neither relevant
 25 nor necessary to the claims and defenses in the instant Action.
 26          Plaintiffs object to this Interrogatory to the extent that it calls for information
 27 that is protected by the attorney-client privilege and/or work product doctrine.
 28
                                                     18
         PLAINTIFF SUNNY KHACHATRYAN, AN INDIVIDUAL, RESPONSES TO DEFENDANTS 1 HOTEL WEST
      HOLLYWOOD, L.L.C.; SH GROUP OPERATIONS, L.L.C.; SH GROUP GLOBAL IP HOLDINGS, L.L.C.'S FIRST SET
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  1 Plaintiffs also object to this Request as unduly burdensome to the extent that it is
  2 duplicative of Request No. 14.
  3          Subject to the foregoing specific objections and the General Objections,
  4 Plaintiffs refer to its Response to Request No. 14.
  5
  6 INTERROGATORY NO. 16:
  7          Describe each and every website or social media account that You own,
  8 operate, or which is operated on Plaintiffs behalf.
  9 RESPONSE TO INTERROGATORY NO. 16:
 10          Plaintiffs object to this Interrogatory as vague, indefinite, and overly broad,
 11 particularly with respect to the terms “each and every” and “You own, operate, or
 12 which is operated on Plaintiffs behalf.”
 13          Plaintiffs further object to this Interrogatory to the extent it requests
 14 information that is not relevant to any party’s claims or defenses and is not
 15 proportional to the needs of the case.
 16          Plaintiffs object to this Interrogatory to the extent that it seeks production of
 17 confidential information prior to the entry of a protective order by the Court. Plaintiffs
 18 further object to this Interrogatory because it seeks information that is neither relevant
 19 nor necessary to the claims and defenses in the instant Action.
 20          Plaintiffs object to this Interrogatory to the extent that it calls for information
 21 that is protected by the attorney-client privilege and/or work product doctrine. As
 22 phrased, Plaintiffs cannot discern what non-privileged information Defendant is
 23 specifically seeking in this Interrogatory that is relevant to any claim or defense, and
 24 proportional to the needs of the case at this stage in the action, and therefore cannot
 25 provide a further response unless and until Defendant provides a more particularized
 26 Interrogatory.
 27
 28
                                                     19
         PLAINTIFF SUNNY KHACHATRYAN, AN INDIVIDUAL, RESPONSES TO DEFENDANTS 1 HOTEL WEST
      HOLLYWOOD, L.L.C.; SH GROUP OPERATIONS, L.L.C.; SH GROUP GLOBAL IP HOLDINGS, L.L.C.'S FIRST SET
                          OF INTERROGATORIES TO PLAINTIFF SUNNY KHACHATRYAN
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  1 INTERROGATORY NO. 17:
  2          Describe in detail how and when Plaintiffs first identified the Photograph on
  3 Defendants' website.
  4 RESPONSE TO INTERROGATORY NO. 17:
  5          Plaintiffs object to this Interrogatory as vague, indefinite, and overly broad,
  6 particularly with respect to the terms “how and when” and “first identified the
  7 Photograph on Defendants’ website.”
  8          Plaintiffs further object to this Interrogatory to the extent it requests
  9 information that is not relevant to any party’s claims or defenses and is not
 10 proportional to the needs of the case.
 11          Plaintiffs object to this Interrogatory to the extent that it seeks production of
 12 confidential information prior to the entry of a protective order by the Court. Plaintiffs
 13 further object to this Interrogatory because it seeks information that is neither relevant
 14 nor necessary to the claims and defenses in the instant Action.
 15          Plaintiffs object to this Interrogatory to the extent that it calls for information
 16 that is protected by the attorney-client privilege and/or work product doctrine.
 17 As phrased, Plaintiffs cannot discern what non-privileged information Defendant is
 18 specifically seeking in this Interrogatory that is relevant to any claim or defense, and
 19 proportional to the needs of the case at this stage in the action, and therefore cannot
 20 provide a further response unless and until Defendant provides a more particularized
 21 Interrogatory.
 22
 23 INTERROGATORY NO. 18:
 24          Describe in detail any and all profits, wages, or other compensation Minor
 25 Plaintiffs have received from January 1, 2020, through present.
 26 RESPONSE TO INTERROGATORY NO. 18:
 27          Plaintiffs object to this Interrogatory as vague, indefinite, and overly broad,
 28
                                                     20
         PLAINTIFF SUNNY KHACHATRYAN, AN INDIVIDUAL, RESPONSES TO DEFENDANTS 1 HOTEL WEST
      HOLLYWOOD, L.L.C.; SH GROUP OPERATIONS, L.L.C.; SH GROUP GLOBAL IP HOLDINGS, L.L.C.'S FIRST SET
                          OF INTERROGATORIES TO PLAINTIFF SUNNY KHACHATRYAN
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  1 particularly with respect to the terms “any and all” and “profits, wages, or
  2 compensation.”
  3          Plaintiffs further object to this Interrogatory to the extent it requests
  4 information that is not relevant to any party’s claims or defenses and is not
  5 proportional to the needs of the case.
  6          Plaintiffs object to this Interrogatory to the extent that it seeks production of
  7 confidential information prior to the entry of a protective order by the Court. Plaintiffs
  8 further object to this Interrogatory because it seeks information that is neither relevant
  9 nor necessary to the claims and defenses in the instant Action.
 10          Plaintiffs object to this Interrogatory to the extent that it calls for information
 11 that is protected by the attorney-client privilege and/or work product doctrine.
 12          As phrased, Plaintiffs cannot discern what non-privileged information
 13 Defendant is specifically seeking in this Interrogatory that is relevant to any claim or
 14 defense, and proportional to the needs of the case at this stage in the action, and
 15 therefore cannot provide a further response unless and until Defendant provides a
 16 more particularized Interrogatory.
 17
 18
 19
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 21
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                                                     21
         PLAINTIFF SUNNY KHACHATRYAN, AN INDIVIDUAL, RESPONSES TO DEFENDANTS 1 HOTEL WEST
      HOLLYWOOD, L.L.C.; SH GROUP OPERATIONS, L.L.C.; SH GROUP GLOBAL IP HOLDINGS, L.L.C.'S FIRST SET
                          OF INTERROGATORIES TO PLAINTIFF SUNNY KHACHATRYAN
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  1 DATED: July 12, 2024                     TARTER KRINSKY & DROGIN LLP
  2
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 17                                          Attorneys for Plaintiffs Sunny Khachatryan,
 18                                          Tatevik Khachatryan, B.A.J, a minor and I.M, a
                                             minor
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28
                                                     22
         PLAINTIFF SUNNY KHACHATRYAN, AN INDIVIDUAL, RESPONSES TO DEFENDANTS 1 HOTEL WEST
      HOLLYWOOD, L.L.C.; SH GROUP OPERATIONS, L.L.C.; SH GROUP GLOBAL IP HOLDINGS, L.L.C.'S FIRST SET
                          OF INTERROGATORIES TO PLAINTIFF SUNNY KHACHATRYAN
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  1                     CERTIFICATE OF SERVICE
            SUNNY KHACHATRYAN, an individual, et al. v. 1 HOTEL WEST
  2
                          HOLLYWOOD, L.L.C
  3
  4
      STATE OF CALIFORNIA, COUNTY OF LOS ANGELES

  5
          At the time of service, I was over 18 years of age and not a party to this
    action. I am employed in the County of Los Angeles, State of California. My
  6 business address is 2029 Century Park East, Suite 400N, Los Angeles, CA 90067.
  7
           On July 15, 2024, I served true copies of the following document(s) described
  8   as PLAINTIFF SUNNY KHACHATRYAN, AN INDIVIDUAL, RESPONSES
  9   TO DEFENDANTS 1 HOTEL WEST HOLLYWOOD, L.L.C.; SH GROUP
      OPERATIONS, L.L.C.; SH GROUP GLOBAL IP HOLDINGS, L.L.C.'S
 10   FIRST SET OF INTERROGATORIES TO PLAINTIFF SUNNY
 11   KHACHATRYAN on the interested parties in this action as follows:

 12           CLARK HILL LLP                         Attorneys for Defendants 1
 13           Myriah Jaworski                        HOTEL WESTHOLLYWOOD,
              mjaworski@clarkhill.com                L.L.C.; SH GROUP
 14           One America Plaza                      OPERATIONS, L.L.C.;
 15           600 West Broadway, Suite 500           SH GROUP GLOBAL IP
              San Diego, CA 92101                    HOLDINGS, L.L.C.
 16           Telephone: (619) 557-0404
 17           Facsimile: (619) 557-0460

 18        BY E-MAIL OR ELECTRONIC TRANSMISSION: I caused a copy of
    the document(s) to be sent from e-mail address BGenser@tarterkrinsky.com to the
 19 persons at the e-mail addresses listed in the Service List. I did not receive, within a
    reasonable time after the transmission, any electronic message or other indication
 20 that the transmission was unsuccessful.
 21
           I declare under penalty of perjury under the laws of the State of California that
 22 the foregoing  is true and correct.
 23          Executed on July 15, 2024, at Los Angeles, California.
 24
 25
                                                    /s/ Brooke M. Genser
 26                                                 Brooke M. Genser
 27
 28
                                                     23
         PLAINTIFF SUNNY KHACHATRYAN, AN INDIVIDUAL, RESPONSES TO DEFENDANTS 1 HOTEL WEST
      HOLLYWOOD, L.L.C.; SH GROUP OPERATIONS, L.L.C.; SH GROUP GLOBAL IP HOLDINGS, L.L.C.'S FIRST SET
                          OF INTERROGATORIES TO PLAINTIFF SUNNY KHACHATRYAN
                                                                             Case No. 2:23-cv-10829-ODW(Ex)
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                             Exhibit 8
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   1    CLARK HILL LLP
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   3    600 West Broadway, Suite 500
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   5
        Attorneys for Defendants 1 HOTEL WEST
   6    HOLLYWOOD, L.L.C.; SH GROUP OPERATIONS,
        L.L.C.; SH GROUP GLOBAL IP HOLDINGS, L.L.C.
   7

   8                           UNITED STATES DISTRICT COURT
   9                          CENTRAL DISTRICT OF CALIFORNIA
  10

  11
       SUNNY KHACHATRYAN, AN                            Case No. 2:23-cv-10829-ODW-E
  12   INDIVIDUAL; TATEVIK
       KHACHATRYAN, AN INDIVIDUAL;
  13   BRAVE ANGELO JOHNSON, A                          DEFENDANTS 1 HOTEL WEST
       MINOR; AND ISABELLA MURRAY,                      HOLLYWOOD, L.L.C.; SH GROUP
  14   A MINOR,                                         OPERATIONS, L.L.C.; SH GROUP
                                                        GLOBAL IP HOLDINGS, L.L.C.’S
  15                                  Plaintiffs,       FIRST SET OF REQUESTS FOR
                                                        PRODUCTION TO PLAINTIFFS
  16          v.
  17   1 HOTEL WEST HOLLYWOOD,
       L.L.C.; SH GROUP OPERATIONS,
  18   L.L.C.; SH GROUP GLOBAL IP
       HOLDINGS, L.L.C.; AND DOES 1
  19   THROUGH 70, INCLUSIVE,
  20                               Defendants.
  21

  22         Pursuant to Rule 34 of the Federal Rules of Civil Procedure, Defendants
  23   1Hotel West Hollywood, L.L.C.; SH Group Operations, L.L.C.; and SH Group
  24   Global IP Holdings, L.L.C. (collectively, “Defendants”), through its counsel,
  25   requires that Plaintiffs Sunny Khachatryan, Tatevik Khachatryan, B.A.J, and I.M.
  26   provide full and complete answers, in writing and under oath, to the following
  27   interrogatories within 30 days of the date of service hereof:
  28
                                                    1                 CASE NO.: 2:23-CV-10829-ODW-E

        DEFENDANTS 1 HOTEL WEST HOLLYWOOD, L.L.C.; SH GROUP OPERATIONS, L.L.C.; SH GROUP GLOBAL IP
                 HOLDINGS, L.L.C.’S FIRST SET OF REQUESTS FOR PRODUCTION TO PLAINTIFFS
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   1                                          INSTRUCTIONS
   2          A.     All requests shall be answered as required by Rule 34 of the Federal
   3   Rules of Civil Procedure within thirty (30) days of service of these requests for
   4   production.
   5          B.     All documents are to be produced as they are kept in the usual course
   6   of business with any identifying labels, file markings, or similar identifying features,
   7   or shall be organized and labeled to correspond to the categories requested herein. If
   8   there are no documents in response to a particular request or if you withhold any
   9   responsive documents or categories of documents based on any objections, you shall
  10   state so in writing.
  11          C.     Electronically stored information (ESI) must be produced in its original
  12   native format with its accompanying metadata.
  13          D.     These requests call for the production of all responsive documents in
  14   your possession, custody, or control, or in the possession, custody, or control of your
  15   employees, predecessors, successors, parents, subsidiaries, divisions, affiliates,
  16   partners, joint venturers, brokers, accountants, financial advisors, representatives,
  17   and agents or other persons acting on your behalf, without regard to the physical
  18   location of such documents.
  19          E.     In responding to these requests, include documents obtained on your
  20   behalf by your counsel, employees, agents, or any other persons acting on your
  21   behalf. If your response is that the documents are not within your possession or
  22   custody, describe in detail the unsuccessful efforts you made to locate each such
  23   document. If your response is that documents are not under your control, identify
  24   who has the control and the location of the documents.
  25          F.     In responding to these requests and interrogatories, you are required to
  26   divulge all information and/or documents which are in the possession, custody, or
  27   control of You, Your attorneys, investigators, agents, employees, or other
  28   representatives, or their agents or persons or entities acting or purporting to act on
                                                     2                 CASE NO.: 2:23-CV-10829-ODW-E

         DEFENDANTS 1 HOTEL WEST HOLLYWOOD, L.L.C.; SH GROUP OPERATIONS, L.L.C.; SH GROUP GLOBAL IP
                  HOLDINGS, L.L.C.’S FIRST SET OF REQUESTS FOR PRODUCTION TO PLAINTIFFS
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   1   Your or their behalf. In responding, you must furnish all information available.
   2         G.        If you cannot answer any request set forth herein in full, after exercising
   3   due diligence to secure the information, so state and answer to the fullest extent
   4   possible, specifying the reasons for Your inability to answer the remainder and
   5   stating whatever information or knowledge You have concerning the unanswered
   6   portion.
   7         H.        If You object to any request or interrogatory set forth herein, state the
   8   reasons for the objection with specificity.
   9         I.        If you object to any request or any portion of an request on the ground
  10   that the answer reflects or would reveal the substance of a privileged
  11   communication, identify:
  12              (a) the nature of the privilege claimed;
  13              (b) the person who made the communication, whether oral or in writing;
  14              (c) if the communication was oral, all persons present while the
  15                   communication was made;
  16              (d) if the communication was written, the author, addressees, and any other
  17                   recipients;
  18              (e) the relationship of the author of the communication to each recipient;
  19              (f) the relationship of the persons present to the person who made the
  20                   communication;
  21              (g) the date and place of the communication; and
  22              (h) the general subject matter of the communication.
  23         J.        Wherever the singular form of a noun is used, it is intended to and does
  24   apply as well to the plural form of the noun. Whenever the plural form of a noun is
  25   used, it is intended to and does apply as well to the singular form of the noun unless
  26   otherwise specified.
  27         K.        For the convenience of the parties, each request should be quoted in full
  28   immediately preceding the response.
                                                     3                CASE NO.: 2:23-CV-10829-ODW-E

        DEFENDANTS 1 HOTEL WEST HOLLYWOOD, L.L.C.; SH GROUP OPERATIONS, L.L.C.; SH GROUP GLOBAL IP
                 HOLDINGS, L.L.C.’S FIRST SET OF REQUESTS FOR PRODUCTION TO PLAINTIFFS
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   1          L.     These requests are continuing requests and require that You supplement
   2   Your answers setting forth any and all information within the scope of each request
   3   and interrogatory as may be acquired by You, Your agents, attorneys or
   4   representatives following the service of Your original answers.
   5                                        DEFINITIONS
   6          1.     “Defendants” means Defendants 1Hotel West Hollywood, L.L.C., SH
   7   Group Operations, L.L.C., and SH Group Global IP Holdings, L.L.C., the
   8   Defendants in the above-captioned proceeding.
   9          2.     “Plaintiff”, “you,” or “your” means Plaintiff Sunny Khachatryan.
  10          3.     “Plaintiffs” means Plaintiffs Sunny Khachatryan, Tatevik Khachatryan,
  11   B.A.J., and I.M.
  12          4.     “Concerning” means consisting of, referring to, relating to, reflecting,
  13   or being in any way logically or factually connected with the matter discussed.
  14          5.     “Communication” means the transmittal of information (in the form of
  15   facts, ideas, inquiries, or otherwise).
  16          6.     “Date” means the exact day, month, and year if ascertainable, or, if not,
  17   the best available approximation (including relationship to other events).
  18          7.     “Describe” means set forth fully and unambiguously every fact relevant
  19   to the subject of the interrogatory, of which you (including your agents and
  20   representatives) have knowledge or information.
  21          8.     “Document” is synonymous in meaning and equal in scope to its usage
  22   in Federal Rule of Civil Procedure 34(a)(1)(A). The term “document” refers to any
  23   document now or at any time in Plaintiff’s possession, custody, or control. A person
  24   is deemed in control of a document if the person has any ownership, possession, or
  25   custody of the document, or the right to secure the document or a copy thereof from
  26   any person or public or private entity having physical possession thereof.
  27          9.     “Identify” with respect to a person who is an individual means to state
  28   that person’s full name, present or last known address, and current or last known
                                                     4                 CASE NO.: 2:23-CV-10829-ODW-E

         DEFENDANTS 1 HOTEL WEST HOLLYWOOD, L.L.C.; SH GROUP OPERATIONS, L.L.C.; SH GROUP GLOBAL IP
                  HOLDINGS, L.L.C.’S FIRST SET OF REQUESTS FOR PRODUCTION TO PLAINTIFFS
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   1   place of employment.
   2         10.      “Identify” with respect to a person that is not an individual means to
   3   state its: full name, legal form, date of organization, state of incorporation or
   4   organization or other business or license authority, present or last known address and
   5   telephone number, and the identity of its chief executive officer, partners, or persons
   6   in equivalent positions.
   7         11.      “Identify” with respect to a document means to give, to the extent
   8   known, the (a) type of document; (b) general subject matter; (c) date of the
   9   document; and (d) author(s), addressee(s) and recipient(s). In the alternative, the
  10   responding party may produce the documents, together with identifying information
  11   sufficient to satisfy Rule 33 of the Federal Rules of Civil Procedure.
  12         12.      “Identify” with respect to communications means to give, to the extent
  13   known, (a) a description of the substance of the communication; (b) the form of the
  14   communication (e.g., telephone, facsimile, email, etc.); (c) the identity of each
  15   person that was a party to and/or present at the time of the communication, as well
  16   as the full name, present or last known address, and the current or last known place
  17   of employment of each person; (d) the identity of the person whom you contend
  18   initiated the communication; and (e) the time, date, and place of the communication.
  19         13.      “Minor Plaintiffs” means Plaintiffs B.A.J., a minor, and I.M, a minor.
  20         14.      “Photograph” means the photograph created on or about January 3,
  21   2021, and at issue in the Complaint. See Compl. ¶16, et. seq.
  22         15.      The term “person” means any natural person or any legal entity,
  23   including, but not limited to, any business or governmental entity, organization, or
  24   association.
  25         16.      The terms “and” and “or” shall be construed either conjunctively or
  26   disjunctively as necessary to bring within the scope of the interrogatory all responses
  27   that might otherwise fall outside the scope of this interrogatory.
  28         17.      The term “identity” refers to any attribute of an individual to an
                                                    5                 CASE NO.: 2:23-CV-10829-ODW-E

        DEFENDANTS 1 HOTEL WEST HOLLYWOOD, L.L.C.; SH GROUP OPERATIONS, L.L.C.; SH GROUP GLOBAL IP
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   1   ordinary, reasonable viewer or listener, including but not limited to (i) name, (ii)
   2   signature, (iii) photograph, (iv) (v) signature, (vi) photograph, (vii) image, (viii)
   3   address, or (ix) family member identity information.
   4          18.    The terms “all,” “any,” or “each” encompass any and all of the matter
   5   discussed.
   6          19.    The use of singular form includes plural, and vice versa.
   7          20.    The use of present tense includes past tense, and vice versa.
   8          21.    The masculine form shall also be construed to include the feminine and
   9   vice versa.
  10                             REQUESTS FOR PRODUCTION
  11          1.     Any and all documents that support or refute any of Plaintiffs answers
  12   to Defendants’ interrogatories directed at You and/or Plaintiffs.
  13          2.     Any and all documents that relate to, support, or refute Plaintiffs’
  14   claims for statutory damages, actual damages, attorneys’ fees, litigation expenses,
  15   costs and any other damages Plaintiffs seek as a result of the allegations contained
  16   in the Complaint.
  17          3.     Any and all documents reflecting Plaintiffs public facing social media
  18   accounts (Facebook, Instagram, Twitter, etc.).
  19          4.     Any and all documents reflecting correspondence between Plaintiffs
  20   and Plaintiffs’ counsel prior to signing an engagement agreement.
  21          5.     Any and all documents evidencing communications between you and
  22   any third-party relating to the claims in this case.
  23          6.     Any and all documents evidencing actual or attempted monetization
  24   related to the use or value of Minor Plaintiffs’ identity.
  25          7.     Any and all documents relating to a photo shoot, modeling job, acting
  26   job, or brand influence promotion in which Minor Plaintiffs have performed since
  27   January 1, 2020, through present, including any documents that evidence, reflect, or
  28   otherwise refer to monetary payments for and the transfer or assignment of any
                                                     6                 CASE NO.: 2:23-CV-10829-ODW-E

         DEFENDANTS 1 HOTEL WEST HOLLYWOOD, L.L.C.; SH GROUP OPERATIONS, L.L.C.; SH GROUP GLOBAL IP
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   1   intellectual property rights relating to said shoot/job/promotion.
   2          8.     Any and all contracts or agreements that were ever entered into, and/or
   3   was in effect, between Minor Plaintiffs and any talent agent or talent management
   4   representative or since January 1, 2020, through present.
   5          9.     Any and all documents and/or communications related to the copyright
   6   registration of the Photograph as alleged in Paragraphs 16 through 22 of Plaintiffs’
   7   Complaint.
   8          10.    Any and all documents and/or communications related to the issue of
   9   consent of use of the Photograph as alleged in Paragraph 30 of Plaintiffs’ Complaint.
  10          11.    Any and all documents and/or communications detailing any profits,
  11   wages, or other compensation Minor Plaintiffs have received from January 1, 2020,
  12   through present.
  13          12.    Any and all documents supporting or refuting any claim in this case.
  14          13.    Any and all documents supporting or refuting any claim for damages in
  15   this case.
  16

  17   Dated: June 14, 2024                       CLARK HILL LLP
  18

  19                                              By: /s/ Myriah V. Jaworski        ___
                                                      Myriah V. Jaworski (SBN 336898)
  20

  21                                                     Attorneys for Defendants 1 HOTEL
                                                         WEST HOLLYWOOD, L.L.C.; SH
  22                                                     GROUP OPERATIONS, L.L.C.; SH
                                                         GROUP GLOBAL IP HOLDINGS,
  23                                                     L.L.C
  24

  25

  26

  27

  28
                                                     7                 CASE NO.: 2:23-CV-10829-ODW-E

         DEFENDANTS 1 HOTEL WEST HOLLYWOOD, L.L.C.; SH GROUP OPERATIONS, L.L.C.; SH GROUP GLOBAL IP
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                             Exhibit 9
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 12 a minor and I.M, a minor
 13
                           UNITED STATES DISTRICT COURT
 14
                         CENTRAL DISTRICT OF CALIFORNIA
 15
      SUNNY KHACHATRYAN, an
 16 individual; TATEVIK                          CASE NO. 2:23-cv-10829-ODW(Ex)
      KHACHATRYAN, an individual; B. A.          PLAINTIFFS SUNNY
 17 J, a minor; and I.M, a minor,
                                                 KHACHATRYAN, AN
 18                  Plaintiffs,                 INDIVIDUAL; TATEVIK
                                                 KHACHATRYAN, AN
 19                     vs.                      INDIVIDUAL; B. A. J, A MINOR;
                                                 AND I.M, A MINOR’S RESPONSES
 20                                              TO DEFENDANTS 1 HOTEL WEST
                                                 HOLLYWOOD, L.L.C.; SH GROUP
 21 1 HOTEL WEST HOLLYWOOD,                      OPERATIONS, L.L.C.; SH GROUP
    L.L.C.; SH GROUP OPERATIONS,                 GLOBAL IP HOLDINGS, L.L.C.'S
 22 L.L.C.; SH GROUP GLOBAL IP                   FIRST SET OF REQUESTS FOR
    HOLDINGS, L.L.C; and DOES 1                  PRODUCTION OF DOCUMENTS
 23 through 70, inclusive,
 24                 Defendants.

 25
 26
 27
 28
                                                 1
      PLAINTIFFS’ RESPONSES TO DEFENDANTS’ FIRST SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS
                                                                       Case No. 2:23-cv-10829-ODW-E
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  1 PROPOUNDING PARTY:                DEFENDANTS 1 HOTEL WEST HOLLYWOOD,
  2                                   L.L.C.; SH GROUP OPERATIONS, L.L.C.; SH
  3                                   GROUP GLOBAL IP HOLDINGS, L.L.C
  4 RESPONDING PARTY:                 PLAINTIFFS SUNNY KHACHATRYAN, AN
  5                                   INDIVIDUAL; TATEVIK KHACHATRYAN, AN
  6                                   INDIVIDUAL; B. A. J, A MINOR; AND I.M, A
  7                                   MINOR PLAINTIFFS SUNNY KHACHATRYAN,
  8                                   AN INDIVIDUAL; TATEVIK KHACHATRYAN,
  9                                   AN INDIVIDUAL; B. A. J, A MINOR; AND I.M, A
 10                                   MINOR
 11 SET NO.:                          ONE
 12 REQUEST NOS.:                     1–13
 13         Pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure, Plaintiffs
 14 Sunny Khachatryan, Tatevik Khachatryan, B.A.J, a minor and I.M, a minor, by and
 15 through their counsel, hereby submits these objections and responses to Defendants 1
 16 HOTEL WEST HOLLYWOOD, L.L.C.; SH GROUP OPERATIONS, L.L.C.; SH
 17 GROUP GLOBAL IP HOLDINGS, L.L.C. “Defendants”) Requests for Production
 18 of Documents as follows”
 19                            PRELIMINARY STATEMENT
 20         Responding Party’s investigation, discovery and analysis are ongoing, and
 21 Responding Party’s response to each of these Document Requests is based on
 22 information and documents presently available to Responding Party after reasonable
 23 inquiry. Responding Party reserves the right to supplement or amend these responses
 24 in the event further information and/or documents are disclosed or discovered. In
 25 addition, Responding Party’s responses are given without prejudice to its right to
 26 introduce as evidence at trial any subsequently discovered or unintentionally omitted
 27 information and/or documents.
 28
                                                 2
      PLAINTIFFS’ RESPONSES TO DEFENDANTS’ FIRST SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS
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  1         Specific objections to each of these Document Requests are made on an
  2 individual basis in the responses below. In addition to these specific objects,
  3 Responding Party makes certain continuing objections (“General Objections”) to the
  4 Document Requests. These General Objections are hereby incorporated by reference
  5 into the responses made with respect to each separate document request. For
  6 particular emphasis, Responding Party has, from time to time, expressly included one
  7 or more of the General Objections in certain of its response below. Responding
  8 Party’s response to each individual request is submitted without prejudice to, and
  9 without in any respect waiving, any General Objections not expressly set forth in that
 10 response. Accordingly, the inclusion of any specific objection in a response to a
 11 document request below is neither intended as, nor shall in any way be deemed to
 12 be, a waiver of any General Objections or of any specific objection made herein or
 13 that may be asserted at a later date. In addition, the failure to include at this time any
 14 continuing or specific objection to a document request is neither intended as, nor
 15 shall in any way be deemed to be, a waiver of Responding Party’s right to assert that
 16 or any other objection at a later date.
 17         No incidental or implied admissions are intended by the responses herein.
 18 Responding Party’s response and/or objections to a particular document request shall
 19 not be taken as an admission that Responding Party accepts or admits the existence
 20 of any “fact” set forth in or assumed by that document request.
 21                               GENERAL OBJECTIONS
 22         Responding Party makes the following General Objections to Defendants’
 23 Document Requests, including without limitation, the Instructions and Definitions
 24 set forth therein, whether or not separately set forth in each response to each
 25 individual document request:
 26         1.     Responding Party objects to the Document Requests to the extent they
 27 seek information protected by any relevant privilege or legal protection, including,
 28 without limitation, the attorney-client privilege, the work product doctrine, the joint
                                                 3
      PLAINTIFFS’ RESPONSES TO DEFENDANTS’ FIRST SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS
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  1 defense privilege, the settlement or settlement negotiation privilege, settlement
  2 materials, or trial preparation materials. Any statement herein to the effect that
  3 Responding Party will provide information in response to a document request is
  4 limited to information that does not fall within the scope of any relevant privilege.
  5         2.    Responding Party objects to any requirement that it identify or provide
  6 a list of any materials withheld from discovery pursuant to either the attorney-client
  7 communications privilege and/or the attorney work product immunity and which
  8 materials were created on or after December 27, 2023, the date on which this lawsuit
  9 was filed. Such a requirement would be unduly burdensome and would interfere with
 10 Responding Party’s defense of this lawsuit by deterring the creation of such
 11 documents.
 12         3.    Responding Party objects to the Document Requests to the extent they
 13 seek information that is irrelevant to any claim or defense and not reasonably
 14 calculated to lead to the discovery of admissible evidence.
 15         4.    Responding Party objects to the Document Requests on the grounds that
 16 they are vague, ambiguous, and use unlimited, undefined, subjective or open-ended
 17 terms or phrases.
 18         5.    Responding Party objects to the Document Requests to the extent that
 19 the purported benefit of the discovery sought by the Document Requests is
 20 outweighed by the burden and expense of responding to the Document Requests
 21 pursuant to Rules 26(b)(1) and 26(b)(2) of the Federal Rules of Civil Procedure.
 22         6.    Responding Party objects to the Document Requests to the extent they
 23 purport to require complete responses from Responding Party within 30 days of
 24 service. Responding Party’s investigation of the claims and defenses at issue in this
 25 Action is continuing, and Responding Party expressly reserves the right to
 26 supplement these responses as necessary.
 27         7.    Responding Party objects to the Document Requests to the extent they
 28 attempt to impose burdens on Responding Party inconsistent with, or in excess of,
                                           4
      PLAINTIFFS’ RESPONSES TO DEFENDANTS’ FIRST SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS
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  1 the requirements of the Federal Rules of Civil Procedure, the Central District of
  2 California Local Rules, or any applicable orders of this Court.
  3         8.    Responding Party objects to the Document Requests to the extent they
  4 seek information unknown to Responding Party, that refers to persons, entities or
  5 events not known to Responding Party, or that relates to documents not within
  6 Responding Party’s possession, custody, or control. Such a requirement would
  7 exceed Responding Party’s obligations under the Federal Rules and applicable Local
  8 Rules and would subject Responding Party to unreasonable and undue oppression,
  9 burden and expense. In responding to these Document Requests, Responding Party
 10 shall respond only on behalf of itself and shall not undertake the burden and expense
 11 of attempting to provide information presently unknown to Responding Party or
 12 relating to documents outside Responding Party’s possession, custody, or control.
 13         9.    Responding Party objects to the Document Requests to the extent that
 14 they seek publicly-available information, or information that is equally available to
 15 Plaintiff from sources other than Responding Party, on the grounds that such
 16 Document Requests are unduly burdensome, oppressive, and harassing.
 17         10.   Responding Party objects to the Document Requests to the extent they
 18 call for legal conclusions or contain express or implied assumptions of fact or law
 19 with respect to matters at issue in this Action. Nothing in Responding Party’s
 20 responses or objections may be construed to reflect an agreement or concurrence by
 21 Responding Party with Plaintiff’s characterizations of any factual or legal issues.
 22 Responding Party expressly reserves the right to contest any such characterization as
 23 inaccurate and to provide and supplement its legal contentions in an appropriate
 24 format on an appropriate schedule.
 25         11.   Responding Party objects to the Document Requests to the extent they
 26 fail to specify a relevant time period, or to the extent any specified time period is
 27 irrelevant to any claim or defense at issue in this Action, on the grounds that the
 28 Document Requests are overly broad, unduly burdensome, and seek information that
                                             5
      PLAINTIFFS’ RESPONSES TO DEFENDANTS’ FIRST SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS
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  1 is neither relevant nor reasonably calculated to lead to the discovery of admissible
  2 evidence.
  3         12.   Responding Party objects to the Document Requests to the extent they
  4 fail to specify a relevant geographic area, or to the extent any specified geographic
  5 area is irrelevant to any claim or defense at issue in this Action, on the grounds that
  6 the Document Requests are overly broad, unduly burdensome, and seek information
  7 that is neither relevant nor reasonably calculated to lead to the discovery of
  8 admissible evidence.
  9         13.   Responding Party objects to the Document Requests to the extent they
 10 seek “all” documents or communications relating to a particular topic or category of
 11 information on the grounds that the Document Requests are overly broad, unduly
 12 burdensome, and seek information that is neither relevant nor reasonably calculated
 13 to lead to the discovery of admissible evidence.
 14         14.   Responding Party objects to Plaintiff’s definition of the terms “YOU”
 15 and “YOUR” as vague and ambiguous, especially to the extent it seeks discovery
 16 regarding Responding Party’s “including its agents, attorneys, investigators,
 17 affiliates and/or representatives, and any other person or entity who at any time has
 18 acted or purported to act on behalf of Responding Party Sunny Khachatryan, and any
 19 person answering these Requests.” Responding Party also objects to this definition
 20 as overly broad and exceeding the scope of allowable discovery to the extent it
 21 includes entities and individuals not named as parties (some of whom may be
 22 unknown to Responding Party) in the instant Action, and over whom Responding
 23 Party exercises no control. In responding to these Interrogatories, Responding Party
 24 shall interpret the terms “YOU” and “YOUR” to refer only to Responding Party
 25 Sunny Khachatryan.
 26         15.   Responding Party objects to the requests to the extent that they seek
 27 confidential, proprietary business documents and information. Responding Party
 28 notes that no protective order has yet been entered by the Court. Until such time as a
                                                 6
      PLAINTIFFS’ RESPONSES TO DEFENDANTS’ FIRST SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS
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  1 protective order is entered, Responding Party shall withhold production of all
  2 documents so that they may be endorsed with the appropriate level of confidentiality
  3 at the time of production.
  4         16.   Responding Party’s response to any specific document request below is
  5 not an admission that responsive, non-privileged information or documents exist in
  6 its possession, custody, or control.
  7         17.   Each and all of these General Objections shall be deemed incorporated
  8 by reference into each and every objection made herein to a specific document
  9 request.
 10         Without waiver of the foregoing, Responding Party further responds as
 11 follows:
 12                 RESPONSES TO DEMANDS FOR PRODUCTION
 13 DEMAND FOR PRODUCTION NO. 1:
 14         Any and all documents that support or refute any of Plaintiffs answers to
 15 Defendants' interrogatories directed at You and/or Plaintiffs.
 16 RESPONSE TO DEMAND FOR PRODUCTION NO. 1:
 17         Plaintiffs object to this Request on the grounds that it is overbroad, vague and
 18 ambiguous, unduly burdensome, not proportional to the case, and seeks the
 19 production of documents not related or relevant to the matter in controversy. The
 20 Request is also indefinite as to time and is without reasonable limitation in its scope.
 21 Specifically, Plaintiffs object to this Request as vague, indefinite, and overly broad,
 22 particularly with respect to the terms “Any and all documents” and “directed at You
 23 and/Plaintiffs” responses.”
 24         Plaintiffs also object to this Request as unduly burdensome to the extent that it
 25 requests information already known to Defendant.
 26         Plaintiffs object to this Request to the extent that it seeks production of
 27 confidential information prior to the entry of a protective order by the Court.
 28
                                                  7
      PLAINTIFFS’ RESPONSES TO DEFENDANTS’ FIRST SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS
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  1         Plaintiffs object to this Request to the extent that it calls for information that is
  2 protected by the attorney-client privilege and/or work product doctrine. Plaintiffs also
  3 object to this Request to the extent that it calls for a legal conclusion.
  4         Subject to the foregoing specific objections and the General Objections,
  5 Plaintiff will produce relevant, non-privileged documents in its possession, custody,
  6 or control that can be located without undue burden, referenced in its responses to
  7 Defendant’s Request, after entry of a protective order by the Court.
  8
  9 DEMAND FOR PRODUCTION NO. 2:
 10         Any and all documents that relate to, support, or refute Plaintiffs' claims for
 11 statutory damages, actual damages, attorneys' fees, litigation expenses, costs and any
 12 other damages Plaintiffs seek as a result of the allegations contained in the Complaint.
 13 RESPONSE TO DEMAND FOR PRODUCTION NO. 2:
 14         Plaintiffs object to this Request on the grounds that it is overbroad, vague and
 15 ambiguous, unduly burdensome, not proportional to the case, and seeks the
 16 production of documents not related or relevant to the matter in controversy. The
 17 Request is also indefinite as to time and is without reasonable limitation in its scope.
 18 Specifically, Plaintiffs object to this Request as vague, indefinite, and overly broad,
 19 particularly with respect to the terms “Any and all documents” and “relate to, support,
 20 or refute.”
 21         Plaintiffs also object to this Request as unduly burdensome to the extent that it
 22 requests information already known to Defendant.
 23         Plaintiffs object to this Request to the extent that it seeks production of
 24 confidential information prior to the entry of a protective order by the Court.
 25         Plaintiffs object to this Request to the extent that it calls for information that is
 26 protected by the attorney-client privilege and/or work product doctrine. Plaintiffs also
 27 object to this Request to the extent that it calls for a legal conclusion.
 28
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      PLAINTIFFS’ RESPONSES TO DEFENDANTS’ FIRST SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS
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  1         Subject to the foregoing specific objections and the General Objections,
  2 Plaintiff will produce relevant, non-privileged documents in its possession, custody,
  3 or control that can be located without undue burden, referenced in its responses to
  4 Defendant’s Request, after entry of a protective order by the Court.
  5
  6 DEMAND FOR PRODUCTION NO. 3:
  7         Any and all documents reflecting Plaintiffs public facing social media accounts
  8 (Facebook, Instagram, Twitter, etc.).
  9 RESPONSE TO DEMAND FOR PRODUCTION NO. 3:
 10         Plaintiffs object to this Request on the grounds that it is overbroad, vague and
 11 ambiguous, unduly burdensome, not proportional to the case, and seeks the
 12 production of documents not related or relevant to the matter in controversy. The
 13 Request is also indefinite as to time and is without reasonable limitation in its scope.
 14 Specifically, Plaintiffs object to this Request as vague, indefinite, and overly broad,
 15 particularly with respect to the terms “Any and all documents” and “reflecting
 16 Plaintiffs public facing social media accounts.”
 17         Plaintiffs also object to this Request as unduly burdensome to the extent that it
 18 requests information already known to Defendant.
 19         Plaintiffs object to this Request to the extent that it seeks production of
 20 confidential information prior to the entry of a protective order by the Court.
 21         Plaintiffs object to this Request to the extent that it calls for information that is
 22 protected by the attorney-client privilege and/or work product doctrine. Plaintiffs also
 23 object to this Request to the extent that it calls for a legal conclusion.
 24         Subject to the foregoing specific objections and the General Objections,
 25 Plaintiff will produce relevant, non-privileged documents in its possession, custody,
 26 or control that can be located without undue burden, referenced in its responses to
 27 Defendant’s Request, after entry of a protective order by the Court.
 28
                                                   9
      PLAINTIFFS’ RESPONSES TO DEFENDANTS’ FIRST SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS
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  1 DEMAND FOR PRODUCTION NO. 4:
  2         Any and all documents reflecting correspondence between Plaintiffs and
  3 Plaintiffs' counsel prior to signing an engagement agreement.
  4 RESPONSE TO DEMAND FOR PRODUCTION NO. 4:
  5         Plaintiffs object to this Request on the grounds that it is overbroad, vague and
  6 ambiguous, unduly burdensome, not proportional to the case, and seeks the
  7 production of documents not related or relevant to the matter in controversy. The
  8 Request is also indefinite as to time and is without reasonable limitation in its scope.
  9 Specifically, Plaintiffs object to this Request as vague, indefinite, and overly broad,
 10 particularly with respect to the terms “Any and all documents” and “correspondence
 11 between Plaintiffs and Plaintiffs’ counsel prior to signing an engagement agreement.”
 12         Plaintiffs also object to this Request as unduly burdensome to the extent that it
 13 requests information already known to Defendant.
 14         Plaintiffs object to this Request to the extent that it seeks production of
 15 confidential information prior to the entry of a protective order by the Court.
 16         Plaintiffs object to this Request to the extent that it calls for information that is
 17 protected by the attorney-client privilege and/or work product doctrine. Plaintiffs also
 18 object to this Request to the extent that it calls for a legal conclusion.
 19         Plaintiff cannot discern what non-privileged information Defendant is
 20 specifically seeking in this Request that is relevant to any claim or defense, and
 21 proportional to the needs of the case at this stage in the action, and therefore cannot
 22 provide a further response unless and until Defendant provides a more particularized
 23 Request.
 24
 25 DEMAND FOR PRODUCTION NO. 5:
 26         Any and all documents evidencing communications between you and any third-
 27 party relating to the claims in this case.
 28
                                                   10
      PLAINTIFFS’ RESPONSES TO DEFENDANTS’ FIRST SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS
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  1 RESPONSE TO DEMAND FOR PRODUCTION NO. 5:
  2         Plaintiffs object to this Request on the grounds that it is overbroad, vague and
  3 ambiguous, unduly burdensome, not proportional to the case, and seeks the
  4 production of documents not related or relevant to the matter in controversy. The
  5 Request is also indefinite as to time and is without reasonable limitation in its scope.
  6 Specifically, Plaintiffs object to this Request as vague, indefinite, and overly broad,
  7 particularly with respect to the terms “Any and all documents”, “evidencing
  8 communications”, and “between you and any third-party.”
  9         Plaintiffs also object to this Request as unduly burdensome to the extent that it
 10 requests information already known to Defendant.
 11         Plaintiffs object to this Request to the extent that it seeks production of
 12 confidential information prior to the entry of a protective order by the Court.
 13         Plaintiffs object to this Request to the extent that it calls for information that is
 14 protected by the attorney-client privilege and/or work product doctrine. Plaintiffs also
 15 object to this Request to the extent that it calls for a legal conclusion.
 16         Plaintiff cannot discern what non-privileged information Defendant is
 17 specifically seeking in this Request that is relevant to any claim or defense, and
 18 proportional to the needs of the case at this stage in the action, and therefore cannot
 19 provide a further response unless and until Defendant provides a more particularized
 20 Request.
 21
 22 DEMAND FOR PRODUCTION NO. 6:
 23         Any and all documents evidencing actual or attempted monetization related to
 24 the use or value of Minor Plaintiffs' identity.
 25 RESPONSE TO DEMAND FOR PRODUCTION NO. 6:
 26         Plaintiffs object to this Request on the grounds that it is overbroad, vague and
 27 ambiguous, unduly burdensome, not proportional to the case, and seeks the
 28 production of documents not related or relevant to the matter in controversy. The
                                            11
      PLAINTIFFS’ RESPONSES TO DEFENDANTS’ FIRST SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS
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  1 Request is also indefinite as to time and is without reasonable limitation in its scope.
  2 Specifically, Plaintiffs object to this Request as vague, indefinite, and overly broad,
  3 particularly with respect to the terms “Any and all documents”, “evidencing actual or
  4 attempted monetization”, and “the use or value of Minor Plaintiffs’ identit[ies].”
  5         Plaintiffs also object to this Request as unduly burdensome to the extent that it
  6 requests information already known to Defendant.
  7         Plaintiffs object to this Request to the extent that it seeks production of
  8 confidential information prior to the entry of a protective order by the Court.
  9         Plaintiffs object to this Request to the extent that it calls for information that is
 10 protected by the attorney-client privilege and/or work product doctrine. Plaintiffs also
 11 object to this Request to the extent that it calls for a legal conclusion.
 12         Plaintiff cannot discern what non-privileged information Defendant is
 13 specifically seeking in this Request that is relevant to any claim or defense, and
 14 proportional to the needs of the case at this stage in the action, and therefore cannot
 15 provide a further response unless and until Defendant provides a more particularized
 16 Request.
 17
 18 DEMAND FOR PRODUCTION NO. 7:
 19         Any and all documents relating to a photo shoot, modeling job, acting job, or
 20 brand influence promotion in which Minor Plaintiffs have performed since January 1,
 21 2020, through present, including any documents that evidence, reflect, or otherwise
 22 refer to monetary payments for and the transfer or assignment of any intellectual
 23 property rights relating to said shoot/job/promotion.
 24 RESPONSE TO DEMAND FOR PRODUCTION NO. 7:
 25         Plaintiffs object to this Request on the grounds that it is overbroad, vague and
 26 ambiguous, unduly burdensome, not proportional to the case, and seeks the
 27 production of documents not related or relevant to the matter in controversy.
 28 Specifically, Plaintiffs object to this Request as vague, indefinite, and overly broad,
                                                12
      PLAINTIFFS’ RESPONSES TO DEFENDANTS’ FIRST SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS
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  1 particularly with respect to the terms “Any and all documents” and “any documents
  2 that evidence, reflect, or otherwise refer to monetary payments for and the transfer or
  3 assignment of any intellectual property rights.”
  4         Plaintiffs also object to this Request as unduly burdensome to the extent that it
  5 requests information already known to Defendant.
  6         Plaintiffs object to this Request to the extent that it seeks production of
  7 confidential information prior to the entry of a protective order by the Court.
  8         Plaintiffs object to this Request to the extent that it calls for information that is
  9 protected by the attorney-client privilege and/or work product doctrine. Plaintiffs also
 10 object to this Request to the extent that it calls for a legal conclusion.
 11         Subject to the foregoing specific objections and the General Objections,
 12 Plaintiff will produce relevant, non-privileged documents in its possession, custody,
 13 or control that can be located without undue burden, referenced in its responses to
 14 Defendant’s Request, after entry of a protective order by the Court.
 15
 16 DEMAND FOR PRODUCTION NO. 8:
 17         Any and all contracts or agreements that were ever entered into, and/or was in
 18 effect, between Minor Plaintiffs and any talent agent or talent management
 19 representative or since January 1, 2020, through present.
 20 RESPONSE TO DEMAND FOR PRODUCTION NO. 8:
 21         Plaintiffs object to this Request on the grounds that it is overbroad, vague and
 22 ambiguous, unduly burdensome, not proportional to the case, and seeks the
 23 production of documents not related or relevant to the matter in controversy.
 24 Specifically, Plaintiffs object to this Request as vague, indefinite, and overly broad,
 25 particularly with respect to the terms “Any and all contracts or agreements” and “that
 26 were ever entered into.”
 27         Plaintiffs also object to this Request as unduly burdensome to the extent that it
 28 requests information already known to Defendant.
                                             13
      PLAINTIFFS’ RESPONSES TO DEFENDANTS’ FIRST SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS
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   1         Plaintiffs object to this Request to the extent that it seeks production of
   2 confidential information prior to the entry of a protective order by the Court.
   3         Plaintiffs object to this Request to the extent that it calls for information that is
   4 protected by the attorney-client privilege and/or work product doctrine. Plaintiffs also
   5 object to this Request to the extent that it calls for a legal conclusion.
   6         Subject to the foregoing specific objections and the General Objections,
   7 Plaintiff will produce relevant, non-privileged documents in its possession, custody,
   8 or control that can be located without undue burden, referenced in its responses to
   9 Defendant’s Request, after entry of a protective order by the Court.
  10
  11 DEMAND FOR PRODUCTION NO. 9:
  12         Any and all documents and/or communications related to the copyright
  13 registration of the Photograph as alleged in Paragraphs 16 through 22 of Plaintiffs'
  14 Complaint.
  15 RESPONSE TO DEMAND FOR PRODUCTION NO. 9:
  16         Plaintiffs object to this Request on the grounds that it is overbroad, vague and
  17 ambiguous, unduly burdensome, not proportional to the case, and seeks the
  18 production of documents not related or relevant to the matter in controversy. The
  19 Request is also indefinite as to time and is without reasonable limitation in its scope.
  20 Specifically, Plaintiffs object to this Request as vague, indefinite, and overly broad,
  21 particularly with respect to the terms “Any and all documents” and “and/or
  22 communications.”
  23         Plaintiffs also object to this Request as unduly burdensome to the extent that it
  24 requests information already known to Defendant.
  25         Plaintiffs object to this Request to the extent that it seeks production of
  26 confidential information prior to the entry of a protective order by the Court.
  27
  28
                                                    14
       PLAINTIFFS’ RESPONSES TO DEFENDANTS’ FIRST SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS
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   1         Plaintiffs object to this Request to the extent that it calls for information that is
   2 protected by the attorney-client privilege and/or work product doctrine. Plaintiffs also
   3 object to this Request to the extent that it calls for a legal conclusion.
   4         Subject to the foregoing specific objections and the General Objections,
   5 Plaintiff will produce relevant, non-privileged documents in its possession, custody,
   6 or control that can be located without undue burden, referenced in its responses to
   7 Defendant’s Request, after entry of a protective order by the Court.
   8
   9 DEMAND FOR PRODUCTION NO. 10:
  10         Any and all documents and/or communications related to the issue of consent
  11 of use of the Photograph as alleged in Paragraph 30 of Plaintiffs' Complaint.
  12 RESPONSE TO DEMAND FOR PRODUCTION NO. 10:
  13         Plaintiffs object to this Request on the grounds that it is overbroad, vague and
  14 ambiguous, unduly burdensome, not proportional to the case, and seeks the
  15 production of documents not related or relevant to the matter in controversy. The
  16 Request is also indefinite as to time and is without reasonable limitation in its scope.
  17 Specifically, Plaintiffs object to this Request as vague, indefinite, and overly broad,
  18 particularly with respect to the terms “Any and all documents” and “and/or
  19 communications.”
  20         Plaintiffs also object to this Request as unduly burdensome to the extent that it
  21 requests information already known to Defendant.
  22         Plaintiffs object to this Request to the extent that it seeks production of
  23 confidential information prior to the entry of a protective order by the Court.
  24         Plaintiffs object to this Request to the extent that it calls for information that is
  25 protected by the attorney-client privilege and/or work product doctrine. Plaintiffs also
  26 object to this Request to the extent that it calls for a legal conclusion.
  27         Subject to the foregoing specific objections and the General Objections,
  28 Plaintiff will produce relevant, non-privileged documents in its possession, custody,
                                                 15
       PLAINTIFFS’ RESPONSES TO DEFENDANTS’ FIRST SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS
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   1 or control that can be located without undue burden, referenced in its responses to
   2 Defendant’s Request, after entry of a protective order by the Court.
   3
   4 DEMAND FOR PRODUCTION NO. 11:
   5         Any and all documents and/or communications detailing any profits, wages, or
   6 other compensation Minor Plaintiffs have received from January 1, 2020, through
   7 present.
   8 RESPONSE TO DEMAND FOR PRODUCTION NO. 11:
   9         Plaintiffs object to this Request on the grounds that it is overbroad, vague and
  10 ambiguous, unduly burdensome, not proportional to the case, and seeks the
  11 production of documents not related or relevant to the matter in controversy.
  12 Specifically, Plaintiffs object to this Request as vague, indefinite, and overly broad,
  13 particularly with respect to the terms “Any and all documents” and “and/or
  14 communications detailing any profits, wages, or other compensation.”
  15         Plaintiffs also object to this Request as unduly burdensome to the extent that it
  16 requests information already known to Defendant.
  17         Plaintiffs object to this Request to the extent that it seeks production of
  18 confidential information prior to the entry of a protective order by the Court.
  19         Plaintiffs object to this Request to the extent that it calls for information that is
  20 protected by the attorney-client privilege and/or work product doctrine. Plaintiffs also
  21 object to this Request to the extent that it calls for a legal conclusion.
  22         Subject to the foregoing specific objections and the General Objections,
  23 Plaintiff will produce relevant, non-privileged documents in its possession, custody,
  24 or control that can be located without undue burden, referenced in its responses to
  25 Defendant’s Request, after entry of a protective order by the Court.
  26
  27 DEMAND FOR PRODUCTION NO. 12:
  28         Any and all documents supporting or refuting any claim in this case.
                                                    16
       PLAINTIFFS’ RESPONSES TO DEFENDANTS’ FIRST SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS
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   1 RESPONSE TO DEMAND FOR PRODUCTION NO. 12:
   2          Plaintiffs object to this Request on the grounds that it is overbroad, vague and
   3 ambiguous, unduly burdensome, not proportional to the case, and seeks the
   4 production of documents not related or relevant to the matter in controversy. The
   5 Request is also indefinite as to time and is without reasonable limitation in its scope.
   6 Specifically, Plaintiffs object to this Request as vague, indefinite, and overly broad,
   7 particularly with respect to the terms “Any and all documents” and “any claim in this
   8 case.”
   9          Plaintiffs also object to this Request as unduly burdensome to the extent that it
  10 requests information already known to Defendant.
  11          Plaintiffs object to this Request to the extent that it seeks production of
  12 confidential information prior to the entry of a protective order by the Court.
  13          Plaintiffs object to this Request to the extent that it calls for information that is
  14 protected by the attorney-client privilege and/or work product doctrine. Plaintiffs also
  15 object to this Request to the extent that it calls for a legal conclusion.
  16          Plaintiff cannot discern what non-privileged information Defendant is
  17 specifically seeking in this Request that is proportional to the needs of the case at this
  18 stage in the action, and therefore cannot provide a further response unless and until
  19 Defendant provides a more particularized Request.
  20
  21 DEMAND FOR PRODUCTION NO. 13:
  22          Any and all documents supporting or refuting any claim for damages in this
  23 case.
  24 RESPONSE TO DEMAND FOR PRODUCTION NO. 13:
  25          Plaintiffs object to this Request on the grounds that it is overbroad, vague and
  26 ambiguous, unduly burdensome, not proportional to the case, and seeks the
  27 production of documents not related or relevant to the matter in controversy. The
  28 Request is also indefinite as to time and is without reasonable limitation in its scope.
                                                  17
       PLAINTIFFS’ RESPONSES TO DEFENDANTS’ FIRST SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS
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   1 Specifically, Plaintiffs object to this Request as vague, indefinite, and overly broad,
   2 particularly with respect to the terms “Any and all documents” and “supporting or
   3 refuting any claim for damages in this case.”
   4         Plaintiffs also object to this Request as unduly burdensome to the extent that it
   5 requests information already known to Defendant.
   6         Plaintiffs object to this Request to the extent that it seeks production of
   7 confidential information prior to the entry of a protective order by the Court.
   8         Plaintiffs object to this Request to the extent that it calls for information that is
   9 protected by the attorney-client privilege and/or work product doctrine. Plaintiffs also
  10 object to this Request to the extent that it calls for a legal conclusion.
  11         Plaintiff cannot discern what non-privileged information Defendant is
  12 specifically seeking in this Request that is proportional to the needs of the case at this
  13 stage in the action, and therefore cannot provide a further response unless and until
  14 Defendant provides a more particularized Request.
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       PLAINTIFFS’ RESPONSES TO DEFENDANTS’ FIRST SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS
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   1 DATED: July 12, 2024                  TARTER KRINSKY & DROGIN LLP
   2
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  18                                       Tatevik Khachatryan, B.A.J, a minor and I.M, a
                                           minor
  19
  20
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       PLAINTIFFS’ RESPONSES TO DEFENDANTS’ FIRST SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS
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   1                    CERTIFICATE OF SERVICE
            SUNNY KHACHATRYAN, an individual, et al. v. 1 HOTEL WEST
   2
                          HOLLYWOOD, L.L.C
   3
   4
       STATE OF CALIFORNIA, COUNTY OF LOS ANGELES

   5
           At the time of service, I was over 18 years of age and not a party to this
     action. I am employed in the County of Los Angeles, State of California. My
   6 business address is 2029 Century Park East, Suite 400N, Los Angeles, CA 90067.
   7
             On July 15, 2024, I served true copies of the following document(s) described
   8   as PLAINTIFFS SUNNY KHACHATRYAN, AN INDIVIDUAL; TATEVIK
   9   KHACHATRYAN, AN INDIVIDUAL; B. A. J, A MINOR; AND I.M, A
       MINOR’S RESPONSES TO DEFENDANTS 1 HOTEL WEST
  10   HOLLYWOOD, L.L.C.; SH GROUP OPERATIONS, L.L.C.; SH GROUP
  11   GLOBAL IP HOLDINGS, L.L.C.'S FIRST SET OF REQUESTS FOR
       PRODUCTION OF DOCUMENTS on the interested parties in this action as
  12   follows:
  13
              CLARK HILL LLP                       Attorneys for Defendants 1
  14          Myriah Jaworski                      HOTEL WESTHOLLYWOOD,
  15          mjaworski@clarkhill.com              L.L.C.; SH GROUP
              One America Plaza                    OPERATIONS, L.L.C.;
  16          600 West Broadway, Suite 500         SH GROUP GLOBAL IP
  17          San Diego, CA 92101                  HOLDINGS, L.L.C.
              Telephone: (619) 557-0404
  18          Facsimile: (619) 557-0460
  19        BY E-MAIL OR ELECTRONIC TRANSMISSION: I caused a copy of
     thedocument(s)   to be sent from e-mail address BGenser@tarterkrinsky.com to the
  20 persons at the e-mail  addresses listed in the Service List. I did not receive, within a
     reasonable  time after the transmission, any electronic message or other indication
  21 that the transmission was   unsuccessful.
  22
            I declare under penalty of perjury under the laws of the State of California that
  23 the foregoing  is true and correct.
  24        Executed on July 15, 2024, at Los Angeles, California.
  25
  26                                             /s/ Brooke M. Genser
                                                 Brooke M. Genser
  27
  28
                                                  20
       PLAINTIFFS’ RESPONSES TO DEFENDANTS’ FIRST SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS
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                            Exhibit 10
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    5

    6     Attorneys for Defendant 1 HOTEL WEST
          HOLLYWOOD, L.L.C.
    7

    8                          UNITED STATES DISTRICT COURT
    9                         CENTRAL DISTRICT OF CALIFORNIA
   10

   11
         SUNNY KHACHATRYAN, AN        Case No. 2:23-cv-10829
   12    INDIVIDUAL; TATEVIK
         KHACHATRYAN, AN INDIVIDUAL;
   13    B.A.J., A MINOR; AND I.M., A STIPULATED PROTECTIVE
         MINOR,                       ORDER
   14
                                      Plaintiffs,
   15
                v.                                   Judge: Hon. Otis D. Wright II
   16                                                Magistrate Judge: Hon. Charles F. Eick
         1 HOTEL WEST HOLLYWOOD,
   17    L.L.C.,
   18                                Defendant.
   19

   20      I.        PURPOSES AND LIMITATIONS
   21           Discovery in this action is likely to involve production of confidential,
   22   proprietary or private information for which special protection from public
   23   disclosure and from use for any purpose other than pursuing this litigation may be
   24   warranted. Accordingly, the parties hereby stipulate to and petition the Court to enter
   25   the following Stipulated Protective Order. The parties acknowledge that this Order
   26   does not confer blanket protections on all disclosures or responses to discovery and
   27   that the protection it affords from public disclosure and use extends only to the
   28   limited information or items that are entitled to confidential treatment under the
   30                                         1                    CASE NO.: 2:23-CV-10829
          DEFENDANT’ PARTIAL ANSWER AND AFFIRMATIVE DEFENSES TO PLAINTIFFS’ COMPLAINT
   31

   32
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    1   applicable legal principles.
    2      II.      GOOD CAUSE STATEMENT
    3            This action is likely to personal information related to minors and other
    4   valuable commercial, financial, technical and/or proprietary information for which
    5   special protection from public disclosure and from use for any purpose other than
    6   prosecution of this action is warranted. Such confidential and proprietary materials
    7   and information consist of, among other things, confidential business or financial
    8   information, information regarding confidential business practices, or other
    9   confidential commercial information (including information implicating privacy
   10   rights of minors), information otherwise generally unavailable to the public, or
   11   which may be privileged or otherwise protected from disclosure under state or
   12   federal statutes, court rules, case decisions, or common law. Accordingly, to
   13   expedite the flow of information, to facilitate the prompt resolution of disputes over
   14   confidentiality of discovery materials, to adequately protect information the parties
   15   are entitled to keep confidential, to ensure that the parties are permitted reasonable
   16   necessary uses of such material in preparation for and in the conduct of trial, to
   17   address their handling at the end of the litigation, and serve the ends of justice, a
   18   protective order for such information is justified in this matter. It is the intent of the
   19   parties that information will not be designated as confidential for tactical reasons
   20   and that nothing be so designated without a good faith belief that it has been
   21   maintained in a confidential, non-public manner, and there is good cause why it
   22   should not be part of the public record of this case.
   23      III. ACKNOWLEDGEMENT OF UNDER SEAL FILING PROCEDURE
   24            The parties further acknowledge, as set forth in Section 14.3, below, that this
   25   Stipulated Protective Order does not entitle them to file confidential information
   26   under seal; Local Civil Rule 79-5 sets forth the procedures that must be followed
   27   and the standards that will be applied when a party seeks permission from the court
   28   to file material under seal. There is a strong presumption that the public has a right
   30                                               2                      CASE NO.: 2:23-CV-10829
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    1   of access to judicial proceedings and records in civil cases. In connection with non-
    2   dispositive motions, good cause must be shown to support a filing under seal. See
    3   Kamakana v. City and County of Honolulu, 447 F.3d 1172, 1176 (9th Cir. 2006),
    4   Phillips v. Gen. Motors Corp., 307 F.3d 1206, 1210-11 (9th Cir. 2002), Makar-
    5   Welbon v. Sony Electrics, Inc., 187 F.R.D. 576, 577 (E.D. Wis. 1999) (even
    6   stipulated protective orders require good cause showing), and a specific showing of
    7   good cause or compelling reasons with proper evidentiary support and legal
    8   justification, must be made with respect to Protected Material that a party seeks to
    9   file under seal. The parties’ mere designation of Disclosure or Discovery Material
   10   as CONFIDENTIAL does not – without the submission of competent evidence by
   11   declaration, establishing that the material sought to be filed under seal qualifies as
   12   confidential, privileged, or otherwise protectable – constitute good cause.
   13         Further, if a party requests sealing related to a dispositive motion or trial, then
   14   compelling reasons, not only good cause, for the sealing must be shown, and the
   15   relief sought shall be narrowly tailored to serve the specific interest to be protected.
   16   See Pintos v. Pacific Creditors Ass’n., 605 F.3d 665, 677-79 (9th Cir. 2010). For
   17   each item or type of information, document, or thing sought to be filed or introduced
   18   under seal, the party seeking protection must articulate compelling reasons,
   19   supported by specific facts and legal justification, for the requested sealing order.
   20   Again, competent evidence supporting the application to file documents under seal
   21   must be provided by declaration.
   22         Any document that is not confidential, privileged, or otherwise protectable in
   23   its entirety will not be filed under seal if the confidential portions can be redacted. If
   24   documents can be redacted, then a redacted version for public viewing, omitting only
   25   the confidential, privileged, or otherwise protectable portions of the document, shall
   26   be filed. Any application that seeks to file documents under seal in their entirety
   27   should include an explanation of why redaction is not feasible.
   28

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    1      IV. DEFINITIONS
    2          4.1    Action: this pending lawsuit captioned Sunny Khachatryan, et. al. v. 1
    3   Hotel West Hollywood, LLC, Case No. 2:23-cv-10829-ODW (C.D. Cal.).
    4          4.2    Challenging Party: a Party or Non-Party that challenges the designation
    5   of information or items under this Order.
    6          4.3    “CONFIDENTIAL” Information or Items: information (regardless of
    7   how it is generated, stored or maintained) or tangible things that qualify for
    8   protection under Federal Rule of Civil Procedure 26(c), and as specified above in
    9   the Good Cause Statement.
   10          4.4    Counsel: Outside Counsel of Record and House Counsel (as well as
   11   their support staff).
   12          4.5    Designating Party: a Party or Non-Party that designates information or
   13   items that it produces in disclosures or in responses to discovery as
   14   “CONFIDENTIAL.”
   15          4.6    Disclosure or Discovery Material: all items or information, regardless
   16   of the medium or manner in which it is generated, stored, or maintained (including,
   17   among other things, testimony, transcripts, and tangible Things), that are produced
   18   or generated in disclosures or responses to discovery.
   19          4.7    Expert: a person with specialized knowledge or experience in a matter
   20   pertinent to the litigation who has been retained by a Party or its counsel to serve as
   21   an expert witness or as a consultant in this Action.
   22          4.8    House Counsel: attorneys who are employees of a party to this Action.
   23   House Counsel does not include Outside Counsel of Record or any other outside
   24   counsel.
   25          4.9    Non-Party: any natural person, partnership, corporation, association or
   26   other legal entity not named as a Party to this action.
   27          4.10 Outside Counsel of Record: attorneys who are not employees of a party
   28   to this Action but are retained to represent a party to this Action and have appeared
   30                                               4                   CASE NO.: 2:23-CV-10829
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    1   in this Action on behalf of that party or are affiliated with a law firm that has
    2   appeared on behalf of that party, and includes support staff.
    3          4.11 Party: any party to this Action, including all of its officers, directors,
    4   employees, consultants, retained experts, and Outside Counsel of Record (and their
    5   support staffs).
    6          4.12 Producing Party: a Party or Non-Party that produces Disclosures or
    7   Discovery Material in this Action.
    8          4.13 Professional Vendors: persons or entities that provide litigation support
    9   services (e.g., photocopying, videotaping, translating, preparing exhibits or
   10   demonstrations, and organizing, storing, or retrieving data in any form or medium)
   11   and their employees and subcontractors.
   12          4.14 Protected Material: any Disclosure or Discovery Material that is
   13   designated as “CONFIDENTIAL.”
   14          4.15 Receiving Party: a Party that receives Disclosure or Discovery Material
   15   from a Producing Party.
   16      V. SCOPE
   17          The protections conferred by this Stipulation and Order cover not only
   18   Protected Material (as defined above), but also (1) any information copied or
   19   extracted from Protected Material; (2) all copies, excerpts, summaries, or
   20   compilations of Protected Material; and (3) any testimony, conversations, or
   21   presentations by Parties or their Counsel that might reveal Protected Material. Any
   22   use of Protected Material at trial shall be governed by the orders of the trial judge
   23   and other applicable authorities. This Order does not govern the use of Protected
   24   Material at trial.
   25      VI.    DURATION
   26          Once a case proceeds to trial, information that was designated as
   27   CONFIDENTIAL or maintained pursuant to this protective order used or introduced
   28   as an exhibit at trial becomes public and will be presumptively available to all
   30                                             5                     CASE NO.: 2:23-CV-10829
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    1   members of the public, including the press, unless compelling reasons supported by
    2   specific factual findings to proceed otherwise are made to the trial judge in advance
    3   of the trial. See Kamakana, 447 F.3d at 1180-81 (distinguishing “good cause”
    4   showing for sealing documents produced in discovery from “compelling reasons”
    5   standard when merits-related documents are part of court record). Accordingly, the
    6   terms of this protective order do not extend beyond the commencement of the trial.
    7      VII. DESIGNATING PROTECTED MATERIAL
    8         7.1    Exercise of Restraint and Care in Designating Material for Protection.
    9   Each Party or Non-Party that designates information or items for protection under
   10   this Order must take care to limit any such designation to specific material that
   11   qualifies under the appropriate standards. The Designating Party must designate for
   12   protection only those parts of material documents, items, or oral or written
   13   communications that qualify so that other portions of the material, documents, items
   14   or communications for which protection is not warranted are not swept unjustifiably
   15   within the ambit of this Order.
   16         Mass, indiscriminate or routinized designations are prohibited. Designations
   17   that are shown to be clearly unjustified or that have been made for an improper
   18   purpose (e.g., to unnecessarily encumber the case development process or to impose
   19   unnecessary expenses and burdens on other parties) may expose the Designating
   20   Party to sanctions.
   21         If it comes to a Designating Party’s attention that information or items that it
   22   designated for protection do not qualify for protection, that Designating Party must
   23   promptly notify all other Parties that it is withdrawing the inapplicable designation.
   24         7.2    Manner and Timing of Designations. Except as otherwise provided in
   25   this Order, or as otherwise stipulated or ordered, Disclosure of Discovery Material
   26   that qualifies for protection under this Order must be clearly so designated before
   27   the material is disclosed or produced.
   28         Designation in conformity with this Order requires:
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    1         (a) for information in documentary form (e.g., paper or electronic documents,
    2   but excluding transcripts of depositions or other pretrial or trial proceedings), that
    3   the Producing Party affix at a minimum, the legend “CONFIDENTIAL” (hereinafter
    4   “CONFIDENTIAL legend”), to each page that contains protected material. If only
    5   a portion of the material on a page qualifies for protection, the Producing Party also
    6   must clearly identify the protected portion(s) (e.g., by making appropriate markings
    7   in the margins). A Party or Non-Party that makes original documents available for
    8   inspection need not designate them for protection until after the inspecting Party has
    9   indicated which documents it would like copied and produced. During the inspection
   10   and before the designation, all of the material made available for inspection shall be
   11   deemed “CONFIDENTIAL.” After the inspecting Party has identified the
   12   documents it wants copied and produced, the Producing Party must determine which
   13   documents, or portions thereof, qualify for protection under this Order. Then, before
   14   producing the specified documents, the Producing Party must affix the
   15   “CONFIDENTIAL” legend to each page that contains Protected Material. If only a
   16   portion of the material on a page qualifies for protection, the Producing Party also
   17   must clearly identify the protected portion(s) (e.g., by making appropriate markings
   18   in the margins).
   19         (b) for testimony given in depositions that the Designating Party identifies the
   20   Disclosure or Discovery Material on the record, before the close of the deposition
   21   all protected testimony.
   22         (c) for information produced in some form other than documentary and for
   23   any other tangible items, that the Producing Party affix in a prominent place on the
   24   exterior of the container or containers in which the information is stored the legend
   25   “CONFIDENTIAL.” If only a portion or portions of the information warrants
   26   protection, the Producing Party, to the extent practicable, shall identify the protected
   27   portion(s).
   28

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    1         7.3     Inadvertent Failures to Designate. If timely corrected, an inadvertent
    2   failure to designate qualified information or items does not, standing alone, waive
    3   the Designating Party’s right to secure protection under this Order for such material.
    4   Upon timely correction of a designation, the Receiving Party must make reasonable
    5   efforts to assure that the material is treated in accordance with the provisions of this
    6   Order.
    7      VIII. CHALLENGING CONFIDENTIALITY DESIGNATIONS
    8         8.1.    Timing of Challenges. Any Party or Non-Party may challenge a
    9   designation of confidentiality at any time that is consistent with the Court’s
   10   Scheduling Order.
   11         8.2     Meet and Confer. The Challenging Party shall initiate the dispute
   12   resolution process under Local Rule 37-1 et. seq.
   13         8.3     Joint Stipulation. Any challenge submitted to the Court shall be via a
   14   joint stipulation pursuant to Local Rule 37-2.
   15         8.4     The burden of persuasion in any such challenge proceeding shall be on
   16   the Designating Party. Frivolous challenges, and those made for an improper
   17   purpose (e.g., to harass or impose unnecessary expenses and burdens on other
   18   parties) may expose the Challenging Party to sanctions. Unless the Designating Party
   19   has waived or withdrawn the confidentiality designation, all parties shall continue to
   20   afford the material in question the level of protection to which it is entitled under the
   21   Producing Party’s designation until the Court rules on the challenge.
   22      IX.      ACCESS TO AND USE OF PROTECTED MATERIAL
   23         9.1     Basic Principles. A Receiving Party may use Protected Material that is
   24   disclosed or produced by another Party or by a Non-Party in connection with this
   25   Action only for prosecuting, defending or attempting to settle this Action. Such
   26   Protected Material may be disclosed only to the categories of persons and under the
   27   conditions described in this Order. When the Action has been terminated, a
   28

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    1   Receiving Party must comply with the provisions of section 15 below (FINAL
    2   DISPOSITION).
    3         Protected Material must be stored and maintained by a Receiving Party at a
    4   location and in a secure manner that ensures that access is limited to the persons
    5   authorized under this Order.
    6         9.2    Disclosure of “CONFIDENTIAL” Information or Items. Unless
    7   otherwise ordered by the court or permitted in writing by the Designating Party, a
    8   Receiving    Party    may      disclose   any    information   or   item   designated
    9   “CONFIDENTIAL” only to:
   10         (a) the Receiving Party’s Outside Counsel of Record in this Action, as well as
   11   employees of said Outside Counsel of Record to whom it is reasonably necessary to
   12   disclose the information for this Action;
   13         (b) the officers, directors, and employees (including House Counsel) of the
   14   Receiving Party to whom disclosure is reasonably necessary for this Action;
   15         (c) Experts (as defined in this Order) of the Receiving Party to whom
   16   disclosure is reasonably necessary for this Action and who have signed the
   17   “Acknowledgment and Agreement to Be Bound” (Exhibit A) [TO BE
   18   NEGOTIATED AND PREPARED BY PARTIES AND ATTACHED TO
   19   STIPULATION AND PROPOSED ORDER];
   20         (d) the court and its personnel;
   21         (e) court reporters and their staff;
   22         (f) professional jury or trial consultants, mock jurors, and Professional
   23   Vendors to whom disclosure is reasonably necessary for this Action and who have
   24   signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
   25         (g) the author or recipient of a document containing the information or a
   26   custodian or other person who otherwise possessed or knew the information;
   27         (h) during their depositions, witnesses, and attorneys for witnesses, in the
   28   Action to whom disclosure is reasonably necessary provided: (1) the deposing party
   30                                                9                  CASE NO.: 2:23-CV-10829
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    1   requests that the witness sign the form attached as Exhibit A hereto; and (2) they
    2   will not be permitted to keep any confidential information unless they sign the
    3   “Acknowledgment and Agreement to Be Bound” (Exhibit A), unless otherwise
    4   agreed by the Designating Party or ordered by the court. Pages of transcribed
    5   deposition testimony or exhibits to depositions that reveal Protected Material may
    6   be separately bound by the court reporter and may not be disclosed to anyone except
    7   as permitted under this Stipulated Protective Order; and
    8           (i) any mediators or settlement officers and their supporting personnel,
    9   mutually agreed upon by any of the parties engaged in settlement discussions.
   10      X.      PROTECTED MATERIAL SUBPOENAED OR ORDERED
   11              PRODUCED IN OTHER LITIGATION
   12           If a Party is served with a subpoena or a court order issued in other litigation
   13   that compels disclosure of any information or items designated in this Action as
   14   “CONFIDENTIAL,” that Party must:
   15           (a) promptly notify in writing the Designating Party. Such notification shall
   16   include a copy of the subpoena or court order;
   17           (b) promptly notify in writing the party who caused the subpoena or order to
   18   issue in the other litigation that some or all of the material covered by the subpoena
   19   or order is subject to this Protective Order. Such notification shall include a copy of
   20   this Stipulated Protective Order; and
   21           (c) cooperate with respect to all reasonable procedures sought to be pursued
   22   by the Designating Party whose Protected Material may be affected. If the
   23   Designating Party timely seeks a protective order, the Party served with the
   24   subpoena or court order shall not produce any information designated in this action
   25   as “CONFIDENTIAL” before a determination by the court from which the subpoena
   26   or order issued, unless the Party has obtained the Designating Party’s permission.
   27   The Designating Party shall bear the burden and expense of seeking protection in
   28   that court of its confidential material and nothing in these provisions should be
   30                                              10                     CASE NO.: 2:23-CV-10829
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    1   construed as authorizing or encouraging a Receiving Party in this Action to disobey
    2   a lawful directive from another court.
    3      XI.    A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE
    4             PRODUCED IN THIS LITIGATION
    5         The terms of this Order are applicable to information produced by a Non-Party
    6   in this Action and designated as “CONFIDENTIAL.” Such information produced
    7   by Non-Parties in connection with this litigation is protected by the remedies and
    8   relief provided by this Order. Nothing in these provisions should be construed as
    9   prohibiting a Non-Party from seeking additional protections.
   10         In the event that a Party is required, by a valid discovery request, to produce
   11   a Non-Party’s confidential information in its possession, and the Party is subject to
   12   an agreement with the Non-Party not to produce the Non-Party’s confidential
   13   information, then the Party shall:
   14         (a) promptly notify in writing the Requesting Party and the NonParty that
   15   some or all of the information requested is subject to a confidentiality agreement
   16   with a Non-Party;
   17         (b) promptly provide the Non-Party with a copy of the Stipulated Protective
   18   Order in this Action, the relevant discovery request(s), and a reasonably specific
   19   description of the information requested; and
   20         (c) make the information requested available for inspection by the Non-Party,
   21   if requested.
   22         If the Non-Party fails to seek a protective order from this court within 14 days
   23   of receiving the notice and accompanying information, the Receiving Party may
   24   produce the Non-Party’s confidential information responsive to the discovery
   25   request. If the Non-Party timely seeks a protective order, the Receiving Party shall
   26   not produce any information in its possession or control that is subject to the
   27   confidentiality agreement with the Non-Party before a determination by the court.
   28

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    1   Absent a court order to the contrary, the Non-Party shall bear the burden and expense
    2   of seeking protection in this court of its Protected Material.
    3      XII. UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
    4         If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed
    5   Protected Material to any person or in any circumstance not authorized under this
    6   Stipulated Protective Order, the Receiving Party must immediately (a) notify in
    7   writing the Designating Party of the unauthorized disclosures, (b) use its best efforts
    8   to retrieve all unauthorized copies of the Protected Material, (c) inform the person
    9   or persons to whom unauthorized disclosures were made of all the terms of this
   10   Order, and (d) request such person or persons to execute the “Acknowledgment an
   11   Agreement to Be Bound” attached hereto as Exhibit A.
   12      XIII. INADVERTENT PRODUCTION OF PRIVILIGED OR
   13            OTHERWISE PROTECTED MATERIAL
   14         When a Producing Party gives notice to Receiving Parties that certain
   15   inadvertently produced material is subject to a claim of privilege or other protection,
   16   the obligations of the Receiving Parties are those set forth in Federal Rule of Civil
   17   Procedure 26(b)(5)(B). This provision is not intended to modify whatever procedure
   18   may be established in an e-discovery order that provides for production without prior
   19   privilege review. Pursuant to Federal Rule of Evidence 502(d) and (e), insofar as the
   20   parties reach an agreement on the effect of disclosure of a communication or
   21   information covered by the attorney-client privilege or work product protection, the
   22   parties may incorporate their agreement in the stipulated protective order submitted
   23   to the court.
   24      XIV. MISCELLANEOUS
   25         14.1 Right to Further Relief. Nothing in this Order abridges the right of any
   26   person to seek its modification by the Court in the future.
   27         14.2 Right to Assert Other Objections. By stipulating to the entry of this
   28   Protective Order, no Party waives any right it otherwise would have to object to
   30                                             12                     CASE NO.: 2:23-CV-10829
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    1   disclosing or producing any information or item on any ground not addressed in this
    2   Stipulated Protective Order. Similarly, no Party waives any right to object on any
    3   ground to use in evidence of any of the material covered by this Protective Order.
    4         14.3 Filing Protected Material. A Party that seeks to file under seal any
    5   Protected Material must comply with Local Civil Rule 79-5. Protected Material may
    6   only be filed under seal pursuant to a court order authorizing the sealing of the
    7   specific Protected Material. If a Party’s request to file Protected Material under seal
    8   is denied by the court, then the Receiving Party may file the information in the public
    9   record unless otherwise instructed by the court.
   10      XV. FINAL DISPOSITION
   11         After the final disposition of this Action, as defined in paragraph 6, within 60
   12   days of a written request by the Designating Party, each Receiving Party must return
   13   all Protected Material to the Producing Party or destroy such material. As used in
   14   this subdivision, “all Protected Material” includes all copies, abstracts, compilations,
   15   summaries, and any other format reproducing or capturing any of the Protected
   16   Material. Whether the Protected Material is returned or destroyed, the Receiving
   17   Party must submit a written certification to the Producing Party (and, if not the same
   18   person or entity, to the Designating Party) by the 60-day deadline that (1) identifies
   19   (by category, where appropriate) all the Protected Material that was returned or
   20   destroyed and (2) affirms that the Receiving Party has not retained any copies,
   21   abstracts, compilations, summaries or any other format reproducing or capturing any
   22   of the Protected Material. Notwithstanding this provision, Counsel are entitled to
   23   retain an archival copy of all pleadings, motion papers, trial, deposition, and hearing
   24   transcripts, legal memoranda, correspondence, deposition and trial exhibits, expert
   25   reports, attorney work product, and consultant and expert work product, even if such
   26   materials contain Protected Material. Any such archival copies that contain or
   27   constitute Protected Material remain subject to this Protective Order as set forth in
   28   Section 6 (DURATION).
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    1      XVI. VIOLATION
    2         Any violation of this Order may be punished by appropriate measures
    3   including, without limitation, contempt proceedings and/or monetary sanctions.
    4

    5   IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
    6

    7

    8   DATED: ________________              __________________________________
                                             Attorneys for Plaintiffs
    9
   10

   11
        DATED: ________________              __________________________________
   12
                                             Attorneys for Defendant
   13

   14

   15

   16   FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
   17

   18   DATED: _________________
   19

   20                                        _________________________________
   21                                        OTIS D. WIRIGHT, II
                                             United States Magistrate Judge
   22

   23

   24

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                            Exhibit 11
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         L.L.C.; SH GROUP GLOBAL IP HOLDINGS, L.L.C.
    7

    8                           UNITED STATES DISTRICT COURT
    9                          CENTRAL DISTRICT OF CALIFORNIA
   10

   11
        SUNNY KHACHATRYAN, AN              Case No. 2:23-cv-10829-ODW-E
   12   INDIVIDUAL; TATEVIK
        KHACHATRYAN, AN INDIVIDUAL;
   13   B.A.J., A MINOR; AND I.M., A       DEFENDANTS 1 HOTEL WEST
        MINOR,                             HOLLYWOOD, L.L.C.; SH GROUP
   14                                      OPERATIONS, L.L.C.; SH GROUP
                               Plaintiffs, GLOBAL IP HOLDINGS, L.L.C.’S
   15                                      NOTICE OF DEPOSITION OF
              v.                           PLAINTIFF SUNNY
   16                                      KHACHATRYAN
        1 HOTEL WEST HOLLYWOOD,
   17   L.L.C.; SH GROUP OPERATIONS,
        L.L.C.; SH GROUP GLOBAL IP
   18   HOLDINGS, L.L.C.; AND DOES 1
        THROUGH 70, INCLUSIVE,
   19
                                    Defendants.
   20

   21
              PLEASE TAKE NOTICE that that on August 7, 2024, or as agreed upon by
   22
        the parties, Defendants will take the deposition upon oral examination of Plaintiff
   23
        Sunny Khachatryan pursuant to Fed. R. Civ. P. 30(b), at the law offices of Clark
   24
        Hill PLC, 555 South Flower Street, 24th Floor, Los Angeles, CA 90071. The
   25
        deposition will be recorded by stenographic means and/or video recording before an
   26
        officer authorized to administer oaths. If necessary, the deposition will be adjourned
   27
        until completed.
   28
                                                     1                 CASE NO.: 2:23-CV-10829-ODW-E

         DEFENDANTS 1 HOTEL WEST HOLLYWOOD, L.L.C.; SH GROUP OPERATIONS, L.L.C.; SH GROUP GLOBAL IP
                 HOLDINGS, L.L.C.’S NOTICE OF DEPOSITION OF PLAINTIFF SUNNY KHACHATRYAN
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                                      ID #:512


    1

    2   Dated: July 9, 2024                       CLARK HILL LLP
    3

    4                                             By: /s/ Myriah V. Jaworski        ___
                                                      Myriah V. Jaworski (SBN 336898)
    5

    6                                                    Attorneys for Defendants 1 HOTEL
                                                         WEST HOLLYWOOD, L.L.C.; SH
    7                                                    GROUP OPERATIONS, L.L.C.; SH
                                                         GROUP GLOBAL IP HOLDINGS,
    8                                                    L.L.C
    9

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   28
                                                     2                 CASE NO.: 2:23-CV-10829-ODW-E

         DEFENDANTS 1 HOTEL WEST HOLLYWOOD, L.L.C.; SH GROUP OPERATIONS, L.L.C.; SH GROUP GLOBAL IP
                 HOLDINGS, L.L.C.’S NOTICE OF DEPOSITION OF PLAINTIFF SUNNY KHACHATRYAN
Case 2:23-cv-10829-ODW-E   Document 49-2 Filed 08/19/24   Page 125 of 136 Page
                                  ID #:513




                            Exhibit 12
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                                           ID #:514




 Nicolas V. Dolce                                              Clark Hill
 D (312) 360-2113                                              130 E. Randolph Street, Suite 3900
 Email:ndolce@clarkhill.com                                    Chicago, Illinois 60601
                                                               T (312) 985-5900
                                                               F (312) 985-5999




 July 16, 2024


 VIA EMAIL ONLY
 Tyler R. Dowdall, tdowdall@tarterkrinsky.com
 Renata A. Guidry, rguidry@tarterkrinsky.com
 Tarter Krinsky & Drogin LLP
 2029 Century Park East, Suite 400N
 Los Angeles, California 90067

 Brian Bloom, bbloom@tarterkrinsky.com
 Eliezer Lekht, elekht@tarterkrinsky.com
 Tarter Krinsky & Drogin LLP
 1350 Broadway
 New York, New York 10018

         Re: Written Discovery Deficiency Correspondence L.R. 37-1 Correspondence
             Sunny Khachatryan, et. al. v. 1 Hotel West Hollywood, LLC
             Case No. 2:23-cv-10829-ODW (C.D. Cal.)

 Dear Counsel:

 We write pursuant to Local Civil Rule 37-1 and Fed. R. Civ. P. 37, to request Plaintiffs
 supplementation of the deficiencies in their July 15, 2024 responses to Defendant 1 Hotel West
 Hollywood, LLC’s (“1 Hotel”) Interrogatories (“Interrog.”) and Requests for Production (“RFP”)
 (collectively “Discovery Requests”).

 Pursuant to Local Rule 37-1, please either confirm that you will provide supplemental
 responses curing your complete failure to respond to discovery by July 24, 2024, or provide your
 availability for a telephonic conference on either July 18, 2024 or July 19, 2024. As this involves
 Plaintiffs’ complete refusal to answer Defendant’s Discovery Requests (rather than a dispute as to
 sufficiency of responses), Defendant will promptly move for Plaintiffs’ compliance if Plaintiffs do not
 either promptly confer or provide responses to Defendant’s Discovery Requests.

                                            *      *       *




                                                                                             clarkhill.com
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 Sunny Khachatryan, et. al. v. 1 Hotel West Hollywood, LLC
 Case No. 2:23-cv-10829-ODW (C.D. Cal.) – L.R. 37-1 Correspondence
 July 16, 2024
 Page 2

   I.    Plaintiffs’ Discovery Deficiencies

         a. Plaintiffs Complete Refusal to Respond to Defendants’ Discovery Requests

 Plaintiffs objected to and refused to respond to all of 1 Hotel’s Discovery Requests. In doing so,
 Plaintiffs relied on redundant boilerplate objections that provide no particularity for the basis of the
 objection. Most troublesome is that many of Plaintiffs’ objections are the most dubious of straw men
 – Plaintiffs improperly transcribed Defendants’ Discovery Requests in its responses and then
 asserted objections based on its own improper transcription.

 "[A]ttempt[s] to evade disclosure through reliance on boilerplate objections is an abuse of the
 discovery process.” Marti v. Baires, 1:08-CV-00653-AWI, 2012 WL 2029720, at *7 (E.D. Cal. June 5,
 2012). Defendant’s Discovery Requests are will within Fed. R. Civ. P. 26(b)(1) which allows
 “discovery regarding any nonprivileged matter that is relevant to any party's claim or defense.” See
 Insight Psychology & Addiction, Inc. v. City of Costa Mesa, 2021 WL 6102425, at *1 (C.D. Cal. Oct.
 29, 2021) (“[r]elevance under Rule 26(b)(1) is defined broadly”).

 Even if Plaintiffs could assert legitimate objections Defendant’s discovery requests “[g]eneral or
 boilerplate objections . . . are improper.” A. Farber & Partners, Inc. v. Garber, 234 F.R.D. 186, 188
 (C.D. Cal. 2006). Relevancy objections require an “explanation or argument why the requested
 documents are not relevant.” Id. “[B]urdensome and harassing” typically require “evidentiary
 declarations supporting such objection.” Id. (citing Paulsen v. Case Corp., 168 F.R.D. 285, 289 (C.D.
 Cal.1996)).

 "Courts need not tolerate flagrant abuses of the discovery process.” Campbell Indus. v. M/V Gemini,
 619 F.2d 24, 27 (9th Cir. 1980). Plaintiffs’ complete refusal to respond to a single discovery request,
 combined with its use of boilerplate objections, demonstrates an abject failure to participate in
 discovery in good faith. While Plaintiffs complete failure to participate in discovery warrants
 immediate court intervention, Defendant nonetheless submits this correspondence in compliance
 with L. Civ. R. 37. Please provide complete and proper responses to all discovery requests
 immediately.

         b. Improper Blanket Confidentiality Objection

 Plaintiffs’ objection to every Discovery Request is not in good faith. Much of the expected information
 requested by Defendant would not be subject to confidentiality. For example, information like social
 media account names, identities of persons with factual knowledge of the allegations, and
 documents supporting damages calculations are not confidential information.

 Highlighting Plaintiffs’ lack of good faith is their failure to negotiate a protective order with Defendant,
 despite the expected reliance on confidentiality objections. It is curious that Plaintiffs have delayed
 prosecution of their own claims through their reluctance to produce information supporting their
 own claims. Nonetheless, Defendants have prepared a draft protective order using the Central
 District’s model order.

 Please promptly (1) supplement your responses with all non-confidential information, and (2)
 provide proposed revisions or consent to entry of the protective order.


                                                                                               clarkhill.com
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 Sunny Khachatryan, et. al. v. 1 Hotel West Hollywood, LLC
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 Page 3

         c. Specific Requests for Supplementation

 Pursuant to L. Civ. R. 37.1, Defendant’s articulate the following deficiencies in Plaintiffs’ Responses
 to Defendant’s Discovery Requests:

        Interrog. No. 1. This request seeks basic information regarding the identity of the persons
         responsible for responding to these requests. Plaintiffs did not provide any particularized
         objection to this request. Please provide a full response.

        Interrog. No. 2; RFP Nos. 1, 12. These requests seek identification of any documents that
         support the allegations of the Amended Complaint. These documents are directly related to
         the issues of the case, specifically damages sought by Plaintiffs. Please produce the
         requested information.

        Interrog. No. 3; RFP Nos. 3, 13. These requests seek articulation of all damages incurred by
         Plaintiffs. Plaintiffs’ Amended Complaint seeks actual damages, 1 Hotel’s profits that are
         attributable to the alleged infringement, and restitution. Thus, Plaintiffs’ articulation of any
         actual injury suffered based on the foregoing conduct is directly relevant to Plaintiffs’
         demand for actual and/or compensatory damages. Please supplement these responses
         with (i) articulation of any alleged actual injuries Plaintiffs claimed they suffered, and (ii)
         identification of supporting documents.1

        Interrog. Nos. 4-5; RFP Nos. 4-5. These requests seek identification of any person(s) with
         knowledge of the allegations in the Amended Complaint, and the production of any
         documents or communications in those individuals’ possession. The identity of the
         person(s) is directly relevant to the issues of the case and necessary for 1 Hotel to fully
         investigate the allegations asserted and damages sought. Plaintiffs did not provide any
         particularized objection to this request. Please provide a full response.

        Interrog. No. 6. These requests seek information relating to Plaintiff’s involvement in other
         lawsuits. Plaintiff’s own participation in litigation is readily available to her, her responses
         provided no explanation as to why providing this information would entail undue burden of
         expense. Please provide a full response.

        Interrog. No. 7. These requests seek disclosure of criminal convictions of felonies, or those
         involving false statements or dishonesty. Evidence of such convictions is admissible to
         demonstrate a “witness’s character for truthfulness.” Fed. R. Evid. 609. Plaintiffs’ own
         criminal history is readily available to her, and her responses provided no explanation as to
         why providing this information would entail undue burden of expense. Plaintiffs did not
         provide any particularized objection to this request. Please provide a full response.

        Interrog. No. 8. This request seeks identification of every person(s) involved in the posting of
         the Photograph to Instagram as alleged in the Complaint (and re-alleged in the Amended


 1
   1 Hotel will withhold its request in Interrogatory No. 3 and RFP No. 3 for information related to Plaintiffs’
 incurred “attorneys’ fees and costs of suit” until the information becomes relevant.


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 Page 4

         Complaint in ¶ 20). The identity of the person(s) involved is directly relevant to the issues of
         the case, specifically the issue of consent. Plaintiffs did not provide any particularized
         objection to this request. Please provide a full response.

        Interrog. No. 10. This request seeks identification of every person(s) involved in the
         Instagram messaging communications with 1 Hotel, as described in the Defendant’s Partial
         Answer and Affirmative Defenses. The identity of the person(s) involved is directly relevant to
         the issues of the case, specifically the issue of consent. Plaintiffs did not provide any
         particularized objection to this request. Please provide a full response.

        Interrog. Nos. 11-13; RFP Nos. 6-8. These requests seek information and documents related
         to the purported modeling and acting careers of the Minor Plaintiffs as alleged in the
         Amended Complaint. This information is directly relevant to value of Plaintiffs’ claims and
         the alleged damages sought. The information is also necessary for 1 Hotel to properly
         evaluate the relief sought and determine the appropriateness of the calculation Plaintiffs’
         use to reach the value of damages sought. Plaintiffs did not provide any particularized
         objection to this request. Please produce the requested information.

        Interrog. Nos. 14-16; RFP No. 3. These requests seek identification of Plaintiffs’ social
         media accounts. These requests are relevant to issues of consent; in particular, whether
         Plaintiffs consented to the use of her information through these providers terms of service
         and/or through voluntarily provision. Plaintiffs did not provide any particularized objection to
         this request. Please produce the requested information.

        Interrog. No. 17. This request seeks basic identification of how and when Plaintiffs first
         identified the use of the Photograph on 1 Hotel’s website. This request is directly relevant to
         the issues of consent and mitigation of damages. This information is personally known to
         Plaintiffs and there is attendant burden in responding to this interrogatory. Plaintiffs did not
         provide any particularized objection to this request. Please produce the requested
         information.

        RFP No. 10. This request seeks identification of any documents and/or communications
         between Plaintiffs and 1 Hotel. The production of such information is directly relevant to the
         issues of the case, specifically the issue of consent. Plaintiffs did not provide any
         particularized objection to this request. Please produce the requested information.

        Interrog. No. 18; RFP No. 11. These requests seek information and documents related to
         profits, wages, or other compensation received by the Minor Plaintiffs during the relevant
         period. This information is directly relevant to value of Plaintiffs’ claims and the alleged
         damages sought. The information is also necessary for 1 Hotel to properly evaluate the relief
         sought and determine the appropriateness of the calculation Plaintiffs’ use to reach the
         value of damages sought. Plaintiffs did not provide any particularized objection to this
         request. Please produce the requested information.

                                             *       *       *




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 Page 5

 As stated above, "[c]ourts need not tolerate flagrant abuses of the discovery process.” Campbell,
 619 F.2d at 27.

 Pursuant to Local Rule 37-1, please:

      (1) either confirm that you will provide supplemental responses curing your complete
          failure to respond to discovery by July 24, 2024, or provide your availability for a
          telephonic conference on either July 18, 2024 or July 19, 2024; and

      (2) either promptly provide your revisions to the enclosed protective order, or confirm
          your consent to entry by joint stipulation.

 We look forward to seeing Plaintiffs’ discovery responses.



                                                      Sincerely,



                                                      Nicolas V. Dolce




                                                                                      clarkhill.com
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                            Exhibit 13
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                                                  ID #:520

Dolce, Nicolas

From:                            Jaworski, Myriah
Sent:                            Tuesday, July 30, 2024 1:37 PM
To:                              Tyler R. Dowdall; Dolce, Nicolas; Brian A. Bloom; Eliezer Lekht; Lisa Niewdach; Renata
                                 Guidry
Cc:                              Brooke Genser; Patel, Chirag
Subject:                         RE: Khachatryan v. SH Group - Plaintiffs' Responses and Objections to Defendants'
                                 Discovery Requests


Tyler and Brian,

We would like to schedule a pre-ﬁling conference of counsel under Local Rule 37-1. We are available on Thursday 8/1
between 12-3pm PST or Monday 8/5 between 2-5pm PST. Please let us know a me and date that works for you.

We would like to confer on:
    Plain ﬀs’ Deﬁcient Rule 26(a)(1) damages disclosures, see 7/12 email from SH Group counsel.
    Plain ﬀs’ Failure to provide substan ve response to SH Group Interrogatories – completely outstanding/no
      responses provided by Plain ﬀs.
    Plain ﬀs’ 7/26 produc on deﬁciencies
           o Relevant meframe – no informa on provided from 2022-present day.
           o No produc on concerning Plain ﬀs Brave Johnson or Sunny Khachatryan
           o Communica ons, emails, correspondences produced at all.
    SH Group’s Deposi on no ce to S. Khachatryan

Thanks,
Myriah



From: Tyler R. Dowdall <tdowdall@tarterkrinsky.com>
Sent: Monday, July 22, 2024 11:53 AM
To: Jaworski, Myriah <mjaworski@clarkhill.com>; Dolce, Nicolas <ndolce@clarkhill.com>; Brian A. Bloom
<bbloom@tarterkrinsky.com>; Eliezer Lekht <elekht@tarterkrinsky.com>; Lisa Niewdach
<lniewdach@tarterkrinsky.com>; Renata Guidry <rguidry@tarterkrinsky.com>
Cc: Brooke Genser <bgenser@tarterkrinsky.com>; Patel, Chirag <cpatel@clarkhill.com>
Subject: RE: Khachatryan v. SH Group - Plaintiffs' Responses and Objections to Defendants' Discovery Requests

[External Message]


Myriah,

The assertion that our o ice is “only now gathering information” or that we have otherwise abrogated our
responsibilities as counsel is resoundingly rejected. Your o ice served RFPs and we are working on
gathering responsive information and documents to your discovery. That is a normal part of litigation.

Your email asserts that you are giving us until July 19 (last Friday, ie, three days ago) to serve
supplemental responses. On the assumption that you hit a ‘1’ instead of a ‘2’, we will endeavor to serve
supplemental responses by July 29.

                                                           1
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                                                      ID #:521

Thank you,

                     Tyler R. Dowdall | Partner
                     T: 424-330-8580| F: 212-216-8001
                     tdowdall@tarterkrinsky.com| Bio
                     Tarter Krinsky & Drogin LLP
                     2029 Century Park East, Suite 400N| Los Angeles | CA| 90067
                     www.tarterkrinsky.com| LinkedIn


                     Crain's 2023 best places to work in NYC
From: Jaworski, Myriah <mjaworski@clarkhill.com>
Sent: Monday, July 22, 2024 8:46 AM
To: Tyler R. Dowdall <tdowdall@tarterkrinsky.com>; Dolce, Nicolas <ndolce@clarkhill.com>; Brian A. Bloom
<bbloom@tarterkrinsky.com>; Eliezer Lekht <elekht@tarterkrinsky.com>; Lisa Niewdach
<lniewdach@tarterkrinsky.com>; Renata Guidry <rguidry@tarterkrinsky.com>
Cc: Brooke Genser <bgenser@tarterkrinsky.com>; Patel, Chirag <cpatel@clarkhill.com>
Subject: [EXT] RE: Khachatryan v. SH Group - Plaintiffs' Responses and Objections to Defendants' Discovery Requests


Tyler and Brian:

Since before this claim was ﬁled, SH Group has asked for records/documents suppor ng your clients claims and
damages. As a party to li ga on, and as counsel to a party in li ga on, both the Khachatryan’s and Tarter Krinsky as
their counsel are obligated to search for and preserve relevant documents at the outset. The representa on that you
are only now gathering informa on and documents – days a er your clients responses and produc ons to SH Groups
discovery demands were due on 7/15 – is totally unacceptable.

Produce responsive documents to us by COB Friday, July 19. We will move to compel and/or for other discovery
sanc ons if a produc on is not made by this date.

Myriah

From: Tyler R. Dowdall <tdowdall@tarterkrinsky.com>
Sent: Friday, July 19, 2024 4:28 PM
To: Jaworski, Myriah <mjaworski@clarkhill.com>; Dolce, Nicolas <ndolce@clarkhill.com>; Brian A. Bloom
<bbloom@tarterkrinsky.com>; Eliezer Lekht <elekht@tarterkrinsky.com>; Lisa Niewdach
<lniewdach@tarterkrinsky.com>; Renata Guidry <rguidry@tarterkrinsky.com>
Cc: Brooke Genser <bgenser@tarterkrinsky.com>; Patel, Chirag <cpatel@clarkhill.com>
Subject: RE: Khachatryan v. SH Group - Plaintiffs' Responses and Objections to Defendants' Discovery Requests

[External Message]


Myriah,

We will serve supplemental responses.

Can we have a bit more time please? We had to object to preserve our rights but need additional time to
gather information/documents from the client. We will not be able to get everything together by July 24. I
am also prepping for a trial starting 7/31 which is limiting my availability to assist.

                                                                 2
      Case 2:23-cv-10829-ODW-E                 Document 49-2 Filed 08/19/24            Page 134 of 136 Page
                                                      ID #:522
Thanks,

                     Tyler R. Dowdall | Partner
                     T: 424-330-8580| F: 212-216-8001
                     tdowdall@tarterkrinsky.com| Bio
                     Tarter Krinsky & Drogin LLP
                     2029 Century Park East, Suite 400N| Los Angeles | CA| 90067
                     www.tarterkrinsky.com| LinkedIn


                     Crain's 2023 best places to work in NYC
From: Jaworski, Myriah <mjaworski@clarkhill.com>
Sent: Wednesday, July 17, 2024 2:53 PM
To: Dolce, Nicolas <ndolce@clarkhill.com>; Brian A. Bloom <bbloom@tarterkrinsky.com>; Tyler R. Dowdall
<tdowdall@tarterkrinsky.com>; Eliezer Lekht <elekht@tarterkrinsky.com>; Lisa Niewdach
<lniewdach@tarterkrinsky.com>; Renata Guidry <rguidry@tarterkrinsky.com>
Cc: Brooke Genser <bgenser@tarterkrinsky.com>; Patel, Chirag <cpatel@clarkhill.com>
Subject: [EXT] RE: Khachatryan v. SH Group - Plaintiffs' Responses and Objections to Defendants' Discovery Requests


Counsel – Per the below, please advise on your availability for a meet and confer tomorrow or Friday.

From: Dolce, Nicolas <ndolce@clarkhill.com>
Sent: Tuesday, July 16, 2024 9:43 PM
To: Brian A. Bloom <bbloom@tarterkrinsky.com>; Tyler R. Dowdall <tdowdall@tarterkrinsky.com>; Eliezer Lekht
<elekht@tarterkrinsky.com>; Lisa Niewdach <lniewdach@tarterkrinsky.com>; Renata Guidry
<rguidry@tarterkrinsky.com>
Cc: Brooke Genser <bgenser@tarterkrinsky.com>; Jaworski, Myriah <mjaworski@clarkhill.com>; Patel, Chirag
<cpatel@clarkhill.com>
Subject: RE: Khachatryan v. SH Group - Plaintiffs' Responses and Objections to Defendants' Discovery Requests

Counsel,

Pursuant to Local Civil Rule 37-1, please ﬁnd a ached Defendant 1 Hotel’s discovery correspondence concerning
deﬁciencies in Plain ﬀs’ July 15, 2024 Discovery Responses. In accordance with the local rules, we request to meet and
confer via telephonic conference on either July 18th or July 19th – please let us know your availability on those dates.

Respec ully,

Nicolas V. Dolce
Attorney at Law
Clark Hill
130 E. Randolph Street, Suite 3900, Chicago, IL 60601
+1 312.360.2113 (office) | +1 312.517.7580 (fax)
ndolce@clarkhill.com | www.clarkhill.com


From: Brooke Genser <bgenser@tarterkrinsky.com>
Sent: Tuesday, July 16, 2024 12:35 AM
To: Jaworski, Myriah <mjaworski@clarkhill.com>; Dolce, Nicolas <ndolce@clarkhill.com>; Patel, Chirag
<cpatel@clarkhill.com>
Cc: Eliezer Lekht <elekht@tarterkrinsky.com>; Lisa Niewdach <lniewdach@tarterkrinsky.com>; Tyler R. Dowdall
<tdowdall@tarterkrinsky.com>; Brian A. Bloom <bbloom@tarterkrinsky.com>; Renata Guidry
<rguidry@tarterkrinsky.com>
Subject: Khachatryan v. SH Group - Plaintiffs' Responses and Objections to Defendants' Discovery Requests
                                                                 3
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                                                                    ID #:523

[External Message]


Counsel:

For electronic service, please ﬁnd a ached Plain ﬀs’ responses to:

           1) Defendants’ Request for Interrogatories – Set One; and
           2) Defendants’ Request for Produc on of Documents – Set One.

Thank you,
                             Brooke Genser| Litigation Paralegal
                             T: 424-330-8579| F: 315-519-4074
                             bgenser@tarterkrinsky.com
                             Tarter Krinsky & Drogin LLP
                             2029 Century Park East, Suite 400N| Los Angeles | CA| 90067
                             www.tarterkrinsky.com


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Tarter Krinsky & Drogin is fully operational in-person. However, because of anticipated delays in receiving regular mail and other deliveries, please e-mail copies of
anything you send by regular mail or delivery, including issuing remittances electronically. Please contact our receptionist at reception@tarterkrinsky.com or by
phone at 212-216-8000 with any questions. Thank you in advance for your courtesies.

NOTE: If regular mailing or other specific transmission type is required by terms of a contract, order or statute, please comply with those obligations and transmit
the materials by the means set forth in the agreement, order or statute as well as by email.

Confidentiality Disclosure: This information in this email and in attachments is confidential and intended solely for the attention and use of the named
(addressee(s). This information may be subject to attorney/client privilege or may otherwise be protected by work product privilege or other legal rules. It must not
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Tarter Krinsky & Drogin LLP, Attorneys-at-Law.




Tarter Krinsky & Drogin is fully operational in-person. However, because of anticipated delays in receiving regular mail and other deliveries, please e-mail copies of
anything you send by regular mail or delivery, including issuing remittances electronically. Please contact our receptionist at reception@tarterkrinsky.com or by
phone at 212-216-8000 with any questions. Thank you in advance for your courtesies.

NOTE: If regular mailing or other specific transmission type is required by terms of a contract, order or statute, please comply with those obligations and transmit
the materials by the means set forth in the agreement, order or statute as well as by email.

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(addressee(s). This information may be subject to attorney/client privilege or may otherwise be protected by work product privilege or other legal rules. It must not
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Tarter Krinsky & Drogin LLP, Attorneys-at-Law.




                                                                                    4
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anything you send by regular mail or delivery, including issuing remittances electronically. Please contact our receptionist at reception@tarterkrinsky.com or by
phone at 212-216-8000 with any questions. Thank you in advance for your courtesies.

NOTE: If regular mailing or other specific transmission type is required by terms of a contract, order or statute, please comply with those obligations and transmit
the materials by the means set forth in the agreement, order or statute as well as by email.

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(addressee(s). This information may be subject to attorney/client privilege or may otherwise be protected by work product privilege or other legal rules. It must not
be disclosed to any person without our authority. If you are not the intended recipient, or a person responsible for delivering it to the intended recipient, you are not
authorized to disclose, and must not disclose, copy, distribute, or retain this message or any part of it.

This email is an informal communication that is not meant to be legally binding upon the sender unless expressly noted to the contrary.

Tarter Krinsky & Drogin LLP, Attorneys-at-Law.




                                                                                    5
